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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                               )
In re:                                                         ) Chapter 11
                                                               )
THE READER’S DIGEST ASSOCIATION,                               ) Case No. 09-23529 (RDD)
INC., et al.,                                                  )
                                                               )
                           Debtors.                            ) Jointly Administered
                                                               )

                NOTICE OF FILING OF THE FIRST AMENDED
         PROPOSED JOINT CHAPTER 11 PLAN OF REORGANIZATION OF
     THE READER’S DIGEST ASSOCIATION, INC. AND ITS DEBTOR AFFILIATES

       PLEASE TAKE NOTICE that on October 9, 2009, The Reader’s Digest Association,
Inc. and certain of its affiliates, as debtors and debtors in possession (collectively, the
“Debtors”),1 filed (i) the Disclosure Statement for the Proposed Joint Chapter 11 Plan of
Reorganization of The Reader’s Digest Association, Inc. and Its Debtor Affiliates [Docket No.
162] (the “Disclosure Statement”) and (ii) the Proposed Joint Chapter 11 Plan of
Reorganization of The Reader’s Digest Association, Inc. and Its Debtor Affiliates [Docket No.
163] (as may be amended, supplemented or modified, the “Plan”) with the United States
Bankruptcy Court for the Southern District of New York (the “Court”).2 On October 21, 2009,
the Debtors filed the Debtors’ Motion for Entry of an Order (i) Approving the Adequacy of the


1    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: Alex Inc. (5531); Allrecipes.com, Inc. (3797); Ardee Music Publishing, Inc. (2291); Christmas
     Angel Productions, Inc. (2729); CompassLearning, Inc. (6535); Direct Entertainment Media Group, Inc. (2306);
     Direct Holdings Americas Inc. (1045); Direct Holdings Custom Publishing Inc. (7452); Direct Holdings
     Customer Service, Inc. (9015); Direct Holdings Education Inc. (5535); Direct Holdings Libraries Inc. (7299);
     Direct Holdings U.S. Corp. (4998); Funk & Wagnalls Yearbook Corp. (3787); Gareth Stevens, Inc. (2742);
     Home Service Publications, Inc. (9525); Pegasus Asia Investments Inc. (0077); Pegasus Investment, Inc.
     (4252); Pegasus Sales, Inc. (3259); Pleasantville Music Publishing, Inc. (2289); R.D. Manufacturing
     Corporation (0230); RD Large Edition, Inc. (1489); RD Publications, Inc. (9115); RD Walking, Inc. (6509);
     RDA Holding Co. (7045); RDA Sub Co. (0501); Reader’s Digest Children’s Publishing, Inc. (6326); Reader’s
     Digest Consumer Services, Inc. (8469); Reader’s Digest Entertainment, Inc. (4742); Reader’s Digest Financial
     Services, Inc. (7291); Reader’s Digest Latinoamerica, S.A. (5836); Reader’s Digest Sales and Services, Inc.
     (2377); Reader’s Digest Sub Nine, Inc. (2727); Reader’s Digest Young Families, Inc. (6158); Reiman
     Manufacturing, LLC (8760); Reiman Media Group, Inc. (1192); Retirement Living Publishing Company, Inc.
     (9118); Saguaro Road Records, Inc. (2310); Taste of Home Media Group, Inc. (1190); Taste of Home
     Productions, Inc. (1193); The Reader’s Digest Association, Inc. (6769); Travel Publications, Inc. (2927); W.A.
     Publications, LLC (0229); WAPLA, LLC (9272); Weekly Reader Corporation (3780); Weekly Reader Custom
     Publishing, Inc. (3276); World Almanac Education Group, Inc. (3781); World Wide Country Tours, Inc.
     (1189); WRC Media, Inc. (6536). The location of the Debtors’ corporate headquarters is: 1 Reader’s Digest
     Road, Pleasantville, NY 10570.

2    Capitalized terms used but not defined in this notice have the meanings set forth in the Plan.



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Disclosure Statement; (ii) Fixing Dates and Deadlines Related to Confirmation of the Plan; (iii)
Approving Certain Procedures for Soliciting and Tabulating the Votes on, and for Objecting to,
the Plan; (iv) Approving the Procedures Related to the Rights Offering and Authorizing the
Retention of Financial Balloting Group LLC in Connection Therewith; and (V) Approving the
Manner and Form of the Various Notices and Documents Relating Thereto [Docket No. 187]
(the “Solicitation Procedures Motion”).

        PLEASE TAKE FURTHER NOTICE that the Debtors have amended the Disclosure
Statement and the Plan to, among other things, reflect events that have transpired since the filing
of the Disclosure Statement and Plan, modify, add or amend certain language on account of
comments received from various parties in interest in the Debtors’ chapter 11 cases and correct
various clerical and typographical errors. A copy of the revised Plan is attached hereto as
Exhibit 1, and a copy marked against the version filed with the Court on October 9, 2009, is
attached as Exhibit 2. The Debtors have filed a copy of the revised Disclosure Statement,
together with a similarly marked copy, with the Court concurrently herewith. Additional copies
of the Disclosure Statement, Plan, Solicitation Procedures Motion or other any other document
filed in these chapter 11 cases are available upon request from Kurtzman Carson Consultants
LLC by calling (866) 967-0491 or emailing KCC_RDA@kccllc.com, or may be downloaded
from http://www.kccllc.net/readers. You may also obtain copies for a fee via PACER at
http://www.nysb.uscourts.gov.
        PLEASE TAKE FURTHER NOTICE that a hearing on the Disclosure Statement and
Solicitation Procedures Motion is currently scheduled for 2:00 p.m. prevailing Eastern Time
on November 5, 2009, before the Honorable Robert D. Drain, United States Bankruptcy Judge,
at the Bankruptcy Court, One Bowling Green, New York, New York 10004-1408. This hearing
may be continued by the Court or the Debtors without further notice other than by announcement
of same in open court and/or by filing and service, as applicable, of a notice of adjournment.
Dated: November 2, 2009                 /s/ Nicole L. Greenblatt
       New York, New York               James H.M. Sprayregen P.C.
                                        Paul M. Basta
                                        Nicole L. Greenblatt
                                        KIRKLAND & ELLIS LLP
                                        601 Lexington Avenue
                                        New York, New York 10022-4611
                                        Telephone:     (212) 446-4800
                                        Facsimile:     (212) 446-4900

                                        Counsel to the Debtors and Debtors in Possession


               IF YOU HAVE ANY QUESTIONS REGARDING THIS NOTICE,
           PLEASE CONTACT THE RESTRUCTURING HOTLINE AT (866) 967-0491




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                                       Exhibit 1

                                  First Amended Plan




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Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                   )
In re:                                             ) Chapter 11
                                                   )
THE READER’S DIGEST ASSOCIATION,                   ) Case No. 09-23529 (RDD)
INC., et al.,                                      )
                                                   )
                     Debtors.                      ) Jointly Administered
                                                   )




 FIRST AMENDED PROPOSED JOINT CHAPTER 11 PLAN OF REORGANIZATION
 OF THE READER’S DIGEST ASSOCIATION, INC. AND ITS DEBTOR AFFILIATES

THIS DRAFT PLAN OF REORGANIZATION IS NOT AN OFFER WITH RESPECT TO ANY
SECURITIES OR SOLICITATION OF ACCEPTANCES OF A CHAPTER 11 PLAN PURSUANT TO
SECTION 1125 OF THE BANKRUPTCY CODE. ANY SUCH OFFER OR SOLICITATION WILL BE
MADE ONLY IN COMPLIANCE WITH ALL APPLICABLE SECURITIES LAWS AND/OR
PROVISIONS OF THE BANKRUPTCY CODE.

Dated: November 3, 2009




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                     PROPOSED JOINT CHAPTER 11 PLAN OF REORGANIZATION OF
                 THE READER’S DIGEST ASSOCIATION, INC. AND ITS DEBTOR AFFILIATES



          The Reader’s Digest Association, Inc. and 48 of its debtor affiliates as debtors and debtors in possession
(collectively, the “Debtors”)1 propose the following joint plan of reorganization for the resolution of the outstanding
claims against, and equity interests in, the Debtors. None of the Debtors’ subsidiaries located outside of the United
States are chapter 11 Debtors. These Chapter 11 Cases have been consolidated for procedural purposes only and are
being jointly administered pursuant to an order of the Bankruptcy Court. Capitalized terms used in the Plan and not
otherwise defined herein shall have the meanings ascribed to such terms in Article I.B of the Plan.

         Reference is made to the Disclosure Statement, filed contemporaneously with the Plan, for a discussion of
the Debtors’ history, businesses, results of operations, historical financial information, projections and future
operations, as well as a summary and analysis of the Plan and certain related matters, including distributions to be
made under this Plan. Each of the Debtors is a proponent of the Plan contained herein within the meaning of section
1129 of the Bankruptcy Code.

                                                              ARTICLE I.

                                  RULES OF INTERPRETATION, COMPUTATION
                                 OF TIME, GOVERNING LAW AND DEFINED TERMS

A.         Rules of Interpretation, Computation of Time and Governing Law

          For purposes herein: (a) in the appropriate context, each term, whether stated in the singular or the plural,
shall include both the singular and the plural, and pronouns stated in the masculine, feminine or neuter gender shall
include the masculine, feminine and the neuter gender; (b) any reference herein to a contract, lease, instrument,
release, indenture or other agreement or document being in a particular form or on particular terms and conditions
means that the referenced document shall be substantially in that form or substantially on those terms and
conditions; (c) any reference herein to an existing document or exhibit having been filed or to be filed shall mean
that document or exhibit, as it may thereafter be amended, modified or supplemented in accordance with the terms
of such document or exhibit and subject to the Restructuring Support Agreement; (d) unless otherwise specified, all
references herein to “Articles” are references to Articles hereof or hereto; (e) unless otherwise stated, the words
‘‘herein,’’ “hereof” and ‘‘hereto’’ refer to the Plan in its entirety rather than to a particular portion of the Plan;
(f) captions and headings to Articles are inserted for convenience of reference only and are not intended to be a part
of or to affect the interpretation hereof; (g) the rules of construction set forth in section 102 of the Bankruptcy Code


1    The Debtors in these chapter 11 cases who are proponents of this Plan, along with the last four digits of each Debtor’s federal tax
     identification number, are: Alex Inc. (5531); Allrecipes.com, Inc. (3797); Ardee Music Publishing, Inc. (2291); Christmas Angel
     Productions, Inc. (2729); CompassLearning, Inc. (6535); Direct Entertainment Media Group, Inc. (2306); Direct Holdings Americas Inc.
     (1045); Direct Holdings Custom Publishing Inc. (7452); Direct Holdings Customer Service, Inc. (9015); Direct Holdings Education Inc.
     (5535); Direct Holdings Libraries Inc. (7299); Direct Holdings U.S. Corp. (4998); Funk & Wagnalls Yearbook Corp. (3787); Gareth
     Stevens, Inc. (2742); Home Service Publications, Inc. (9525); Pegasus Asia Investments Inc. (0077); Pegasus Investment, Inc. (4252);
     Pegasus Sales, Inc. (3259); Pleasantville Music Publishing, Inc. (2289); R.D. Manufacturing Corporation (0230); RD Large Edition, Inc.
     (1489); RD Publications, Inc. (9115); RD Walking, Inc. (6509); RDA Holding Co. (7045); RDA Sub Co. (0501); Reader’s Digest
     Children’s Publishing, Inc. (6326); Reader’s Digest Consumer Services, Inc. (8469); Reader’s Digest Entertainment, Inc. (4742); Reader’s
     Digest Financial Services, Inc. (7291); Reader’s Digest Latinoamerica, S.A. (5836); Reader’s Digest Sales and Services, Inc. (2377);
     Reader’s Digest Sub Nine, Inc. (2727); Reader’s Digest Young Families, Inc. (6158); Reiman Manufacturing, LLC (8760); Reiman Media
     Group, Inc. (1192); Retirement Living Publishing Company, Inc. (9118); Saguaro Road Records, Inc. (2310); Taste of Home Media Group,
     Inc. (1190); Taste of Home Productions, Inc. (1193); The Reader’s Digest Association, Inc. (6769); Travel Publications, Inc. (2927); W.A.
     Publications, LLC (0229); WAPLA, LLC (9272); Weekly Reader Corporation (3780); Weekly Reader Custom Publishing, Inc. (3276);
     World Almanac Education Group, Inc. (3781); World Wide Country Tours, Inc. (1189); WRC Media, Inc. (6536). The location of the
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shall apply; and (h) any term used in capitalized form herein that is not otherwise defined but that is used in the
Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or
the Bankruptcy Rules, as the case may be.

        The provisions of Bankruptcy Rule 9006(a) shall apply in computing any period of time prescribed or
allowed herein.

B.         Defined Terms

           The following terms shall have the following meanings when used in capitalized form herein:

          1.      “Accrued Professional Compensation” means, at any given moment, all accrued, contingent
and/or unpaid fees and expenses (including, without limitation, Allowed success fees and Allowed Professional
Compensation) for legal, financial advisory, accounting and other services and reimbursement of expenses that are
awardable and Allowed under sections 328, 330(a) or 331 of the Bankruptcy Code or otherwise rendered allowable
prior to the Confirmation Date by any Retained Professionals in the Chapter 11 Cases, or that are awardable and
allowable under section 503(b)(3)(F) of the Bankruptcy Code for the Creditors’ Committee, that the Bankruptcy
Court has not denied by a Final Order, to the extent that any such fees and expenses have not been previously paid
regardless of whether a fee application has been filed for any such amount. To the extent that the Bankruptcy Court
or any higher court denies or reduces by a Final Order any amount of a Retained Professional’s fees or expenses or
Creditors’ Committee Member’s expenses, then those reduced or denied amounts shall no longer constitute Accrued
Professional Compensation.

         2.       “Adequate Protection Claims” shall have the meaning ascribed to “Section 507(b) Claims” as
defined in paragraph 13(b) of the Final DIP Order.

         3.       “Administrative Claim” means a Claim (other than the Adequate Protection Claims and DIP
Facility Claims) that has been timely filed, pursuant to the deadline and procedure set forth in the Confirmation
Order (except as otherwise provided by a separate order of the Bankruptcy Court), for costs and expenses of
administration under sections 503(b), 507(b) or 1114(e)(2) of the Bankruptcy Code, including, but not limited to:
(a) the actual and necessary costs and expenses incurred after the Commencement Date and through the Effective
Date of preserving the Estates and operating the businesses of the Debtors; (b) Accrued Professional Compensation
(to the extent Allowed by the Bankruptcy Court); and (c) all fees and charges assessed against the Estates under
chapter 123 of title 28 United States Code, 28 U.S.C. §§ 1911 1930. Administrative Claims do not include DIP
Facility Claims, which are separately treated under the Plan.

           4.      “Affiliate” has the meaning set forth at section 101(2) of the Bankruptcy Code.

          5.       “Allowed” means, with respect to Claims: (a) any Claim, proof of which is timely filed by the
applicable Claims Bar Date or which, pursuant to the Bankruptcy Code or a Final Order is not required to be filed;
(b) any Claim that is listed in the Schedules as of the Effective Date as neither contingent, unliquidated or disputed,
and for which no Proof of Claim has been timely filed; or (c) any Claim Allowed pursuant to the Plan; provided,
however, that with respect to any Claim described in clause (a) above, such Claim shall be considered Allowed only
if and to the extent that with respect to any Claim no objection to the allowance thereof has been interposed within
the applicable period of time fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules or the Bankruptcy Court
or such an objection is so interposed and the Claim shall have been Allowed for distribution purposes only by a
Final Order. Any Claim that has been or is hereafter listed in the Schedules as contingent, unliquidated or disputed,
and for which no Proof of Claim has been timely filed, is not considered Allowed and shall be expunged without
further action by the Debtors or the Reorganized Debtors and without any further notice to or action, order or
approval of the Bankruptcy Court.

         6.       “Amended and Restated Bylaws” means the bylaws of Reorganized Holdings, substantially in the
form included in the Plan Supplement.




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        7.       “Amended and Restated Certificate of Incorporation” means the certificates of incorporation of
the Reorganized Debtors, substantially in the form included in the Plan Supplement.

          8.     “Avoidance Actions” means any and all claims and causes of action which any of the Debtors, the
debtors in possession, the Estates, or other appropriate party in interest has asserted or may assert under sections
502, 510, 542, 544, 545, or 547 through 553 of the Bankruptcy Code or under similar or related state or federal
statutes and common law, including fraudulent transfer laws.

         9.       “Ballots” means the ballots accompanying the Disclosure Statement upon which certain Holders
of Impaired Claims entitled to vote shall, among other things, indicate their acceptance or rejection of the Plan in
accordance with the Plan and the procedures governing the solicitation process, and which must be actually received
on or before the Voting Deadline.

           10.    “Bankruptcy Code” means Chapter 11 of the Bankruptcy Code, 11 U.S.C. §§ 101-1532.

           11.    “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of New
York.

         12.       “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as promulgated by the
United States Supreme Court under section 2075 of title 28 of the United States Code, 28 U.S.C. § 2075, as
applicable to the Chapter 11 Cases, and the general, local and chambers rules of the Bankruptcy Court.

        13.     “Business Day” means any day, other than a Saturday, Sunday or “legal holiday” (as defined in
Bankruptcy Rule 9006(a)).

         14.     “Case Management Order” means that certain Order Establishing Certain Notice, Case
Management and Administrative Procedures, entered by the Bankruptcy Court on September 17, 2009 [Docket
No. 92], as may be amended from time to time.

           15.    “Cash” means the legal tender of the United States of America or the equivalent thereof.

           16.      “Causes of Action” means all actions, causes of action (including Avoidance Actions), Claims,
liabilities, obligations, rights, suits, debts, damages, judgments, remedies, demands, setoffs, defenses, recoupments,
crossclaims, counterclaims, third-party claims, indemnity claims, contribution claims or any other claims disputed or
undisputed, suspected or unsuspected, foreseen or unforeseen, direct or indirect, choate or inchoate, existing or
hereafter arising, in law, equity or otherwise, based in whole or in part upon any act or omission or other event
occurring prior to the Commencement Date or during the course of the Chapter 11 Cases, including through the
Effective Date.

        17.       “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the chapter 11
case pending for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and (b) when used
with reference to all Debtors, the procedurally consolidated chapter 11 cases pending for the Debtors in the
Bankruptcy Court.

           18.    “Claim” means any claim against a Debtor as defined in section 101(5) of the Bankruptcy Code.

         19.     “Claims Bar Date” means, as applicable, (a) 5:00 p.m. prevailing Pacific Time on November 16,
2009, (b) the Governmental Bar Date or (c) such other period of limitation as may be specifically fixed by an order
of the Bankruptcy Court for filing such Claims, pursuant to the Claims Bar Date Order.

         20.     “Claims Bar Date Order” means that certain Order (I) Setting Bar Dates for Filing Proofs of
Claim, (II) Approving Procedures for Filing Proofs of Claim and (III) Approving Notice Thereof, entered by the
Bankruptcy Court on October 7, 2009 [Docket No. 154], as may be amended from time to time.




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         21.      “Claims Objection Bar Date” means, for each Claim, the later of (a) 180 days after the Effective
Date and (b) such other period of limitation as may be specifically fixed by an order of the Bankruptcy Court for
objecting to such Claims, as the same may be modified or extended from time to time by the Bankruptcy Court or on
motion of a party in interest approved by the Bankruptcy Court.

           22.    “Claims Register” means the official register of Claims maintained by the Noticing and Claims
Agent.

         23.      “Class” means a category of Holders of Claims or Interests as set forth in Article III of the Plan
pursuant to section 1122(a) of the Bankruptcy Code.

        24.      “Commencement Date” means August 24, 2009, the date on which the Debtors commenced the
Chapter 11 Cases.

           25.    “Commission” means the United States Securities and Exchange Commission.

         26.      “Compensation and Benefits Programs” means all employment and severance policies, and all
compensation and benefit plans, policies and programs and other arrangements (and all amendments and
modifications thereto), in each case in place as of the Effective Date, applicable to the Debtors’ employees, former
employees, retirees and non-employee directors and employees, former employees and retirees of their subsidiaries,
including, without limitation, all savings plans, retirement plans (other than the Non-Qualified Retirement Plans),
health care plans, disability plans, severance benefit plans, incentive plans and life, accidental death and
dismemberment insurance plans.

         27.       “Confirmation” means the entry of the Confirmation Order on the docket of the Chapter 11 Cases,
subject to all conditions specified in Article VIII.A of the Plan having been: (a) satisfied; or (b) waived pursuant to
Article VIII.B of the Plan.

        28.      “Confirmation Date” means the date upon which the Bankruptcy Court enters the Confirmation
Order on the docket of the Chapter 11 Cases, within the meaning of Bankruptcy Rules 5003 and 9021.

         29.      “Confirmation Hearing” means the hearing held by the Bankruptcy Court on Confirmation of the
Plan pursuant to section 1129 of the Bankruptcy Code, as such hearing may be continued from time to time.

         30.      “Confirmation Order” means the order, in form and in substance reasonably satisfactory to the
Debtors, the Prepetition Agent and the Required Consenting Lenders, of the Bankruptcy Court confirming the Plan
pursuant to section 1129 of the Bankruptcy Code.

       31.        “Consenting Lenders” means those Prepetition Lenders party to the Restructuring Support
Agreement.

        32.    “Consenting Shareholders” means those Holders of Equity Interests party to the Restructuring
Support Agreement.

           33.    “Consummation” means the occurrence of the Effective Date.

         34.     “Contract/Lease Schedule Date” means the latest date by which the Debtors shall file their list of
Executory Contracts and Unexpired Leases to be rejected pursuant to the Plan, which date shall be no fewer than
twenty (20) days prior to the Confirmation Hearing.

        35.      “Creditors’ Committee” means the official committee of unsecured creditors of the Debtors
appointed by the Office of the United States Trustee for the Southern District of New York in the Chapter 11 Cases
on August 31, 2009, pursuant to section 1102 of the Bankruptcy Code, comprising the Creditors’ Committee
Members, as may be reconstituted from time to time.



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         36.      “Creditors’ Committee Members” means the members of the Creditors’ Committee, as may be
reconstituted from time to time, namely: (a) The Bank of New York Mellon; (b) Wilfrid Aubrey LLC; (c) Thomas
M. Kenney; (d) RR Donnelley & Sons Company; (e) Madison Paper Company (ALSIP Location); (f) Williams Lea,
Inc.; (g) New Page Corporation; (h) Michael John Bohane; (i) Peter Davenport; (j) Ross Jones; and (k) HCL
Technologies, Ltd.

         37.      “Cure” means the payment of Cash by the applicable Debtors, or the distribution of other
property (as the applicable Debtors and the counterparty to the Executory Contract or Unexpired Lease may agree or
the Bankruptcy Court may order), as necessary to (a) cure a monetary default by the Debtors in accordance with the
terms of an Executory Contract or Unexpired Lease of the Debtors and (b) permit the Debtors to assume such
Executory Contract or Unexpired Lease under sections 365 and 1123 of the Bankruptcy Code.

           38.   “Debtor” means one of the Debtors, in its individual capacity as a debtor in these Chapter 11
Cases.

        39.       “Debtors in Possession” means, collectively, the Debtors, as debtors in possession in these
Chapter 11 Cases.

        40.       “DIP Agent” means JPMorgan Chase Bank, N.A., in its capacity as syndication agent,
administrative agent and collateral agent pursuant to the DIP Facility.

         41.      “DIP Facility” means that certain $150 million Credit and Guarantee Agreement, dated as of
August 26, 2009, among The Reader’s Digest Association, Inc., as borrower, and RDA Holding Co. and each direct
and indirect, existing and future domestic subsidiary of The Reader’s Digest Association, Inc., as guarantors, the
DIP Agent, J.P. Morgan Securities Inc., as sole lead arranger and sole bookrunner, General Electric Capital
Corporation, as senior managing agent, and the DIP Lenders, as may be amended, modified, ratified, extended,
renewed, restated or replaced.

           42.   “DIP Facility Claim” means any Claim arising under or related to the DIP Facility.

         43.       “DIP Lenders” means the DIP Agent and the banks, financial institutions and other lenders party
to the DIP Facility from time to time.

         44.      “Disclosure Statement” means this Disclosure Statement for the Proposed Joint Plan of
Reorganization of The Reader’s Digest Association, Inc. and Its Debtor Affiliates Under Chapter 11 of the
Bankruptcy Code, as amended, supplemented or modified from time to time, including all exhibits and schedules
thereto and references therein that relate to the Plan, that is prepared and distributed in accordance with the
Bankruptcy Code, Bankruptcy Rules, the Solicitation Procedures Order and any other applicable law, and which is
reasonably satisfactory to the Prepetition Agent and the Required Consenting Lenders in all material respects.

           45.   “Disputed Claim” means, with respect to any Claim, any Claim that is not yet Allowed.

         46.      “Distribution Agent” means any Entity or Entities chosen by the Debtors, which Entities may
include, without limitation, the Noticing and Claims Agent, to make or to facilitate distributions required by the
Plan.

         47.       “Distribution Record Date” means the date for determining which Holders of Claims are eligible
to receive distributions hereunder and shall be the Voting Deadline or such other date as designated in an order of
the Bankruptcy Court.

          48.      “D&O Liability Insurance Policies” means all insurance policies for directors and officers’
liability maintained by the Debtors as of the Commencement Date.

           49.   “DTC” means Depository Trust Company.



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         50.       “Effective Date” means the day that is the first Business Day after the Confirmation Date on
which: (a) no stay of the Confirmation Order is in effect; and (b) all conditions specified in Article VIIIA of the Plan
have been: (i) satisfied; or (ii) waived pursuant to Article VIII.B of the Plan.

         51.       “Eligible Noteholder” means any Holder of Senior Subordinated Notes that is an “Accredited
Investor” within the meaning defined in Rule 501 of Regulation D promulgated under the Securities Act or a
“Qualified Institutional Buyer” within the meaning defined in Rule 144A promulgated under the Securities Act.

         52.       “Enterprise Value Maximization Plan” means that certain post-Effective Date director and officer
compensation program to be approved and implemented by the New Board as set forth in Article IV of the Plan,
substantially in the form set forth in the Plan Supplement.

           53.    “Entity” has the meaning set forth at section 101(15) of the Bankruptcy Code.

         54.      “Equity Interest” means any issued or unissued share of common stock, preferred stock or other
instrument evidencing an ownership interest in a Debtor, whether or not transferable, and any option, warrant or
right, contractual or otherwise, to acquire any such interest in a Debtor that existed immediately prior to the
Effective Date; provided, however, that Equity Interest does not include any Intercompany Interest.

         55.      “Estate” means, as to each Debtor, the estate created for the Debtor in its Chapter 11 Case
pursuant to section 541 of the Bankruptcy Code.

           56.    “Exculpated Parties” means, collectively, the Reorganized Debtors and the Released Parties.

           57.    “Exculpation” means the exculpation provision set forth in Article IX.G of the Plan.

         58.     “Executory Contract” means a contract to which one or more of the Debtors is a party that is
subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

        59.       “Exit Credit Agreement” means an agreement substantially in the form set forth in the Plan
Supplement on account of (a)(i) the New First Priority Term Loan or (ii) an alternative exit-financing facility
provided that the DIP Facility is paid in full in Cash on the Effective Date and (b) the Reinstated Euro Term Loan.

        60.       “Final DIP Order” means that certain Final Order Under 11 U.S.C. §§ 105, 361, 362, 363(c),
364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1) AND 364(e) and Bankruptcy Rules 2002, 4001 and 9014 (I) Authorizing
the Debtors to Obtain Postpetition Financing, (II) Authorizing the Debtors to Use Cash Collateral and (III) Granting
Adequate Protection to Prepetition Secured Lenders, entered by the Bankruptcy Court on October 7, 2009 [Docket
No. 152], as may be amended from time to time in accordance with the terms thereof and the DIP Facility.

          61.      “Final Order” means an order or judgment of the Bankruptcy Court, or other court of competent
jurisdiction with respect to the subject matter, as entered on the docket in any Chapter 11 Case or the docket of any
court of competent jurisdiction, that has not been reversed, stayed, modified or amended, and as to which the time to
appeal, or seek certiorari or move for a new trial, reargument or rehearing has expired and no appeal or petition for
certiorari or other proceedings for a new trial, reargument or rehearing been timely taken, or as to which any appeal
that has been taken or any petition for certiorari that has been timely filed has been withdrawn or resolved by the
highest court to which the order or judgment was appealed or from which certiorari was sought or the new trial,
reargument or rehearing shall have been denied, resulted in no modification of such order or has otherwise been
dismissed with prejudice; provided, however, that the possibility that a motion under Rule 60 of the Federal Rules of
Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be filed relating to such order shall not
cause such order to not be a Final Order.

           62.    “GAAP” means generally accepted accounting principles.

         63.      “Governmental Bar Date” means 4:00 p.m. prevailing Pacific Time on February 20, 2010, or
such other period of limitation as may be specifically fixed by an order of the Bankruptcy Court.


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           64.    “Holder” means an Entity holding a Claim against or an Interest in any of the Debtors.

         65.      “Impaired” means any impaired Claim or Interest in an Impaired Class within the meaning of
section 1124 of the Bankruptcy Code.

           66.    “Impaired Class” means an impaired Class within the meaning of section 1124 of the Bankruptcy
Code.

         67.      “Indemnification Obligation” means a Debtor’s obligation under an Executory Contract assumed
in the Chapter 11 Cases or otherwise to indemnify directors, officers, employees or agents of such Debtor who
served in such capacity at any time, with respect to or based upon any act or omission taken or omitted in any of
such capacitates, or for or on behalf of any Debtor, pursuant to and to the maximum extent provided by such
Debtor’s respective certificate of incorporations, certificates of formation, bylaws, similar corporate documents and
applicable law, as in effect as of the Effective Date.

        68.      “Indenture Trustee” means The Bank of New York Mellon as indenture trustee with respect to the
Senior Subordinated Notes.

         69.       “Initial Distribution Date” means the date that is as soon as practicable after the Effective Date,
but no later than thirty (30) days after the Effective Date, when distributions under the Plan shall commence.

         70.       “Intercompany Claim” means, collectively, any Claim held by a Debtor against another Debtor or
an Affiliate of a Debtor or any Claim held by an Affiliate of a Debtor against a Debtor.

           71.    “Intercompany Interest” means an Equity Interest in a Debtor held by another Debtor.

           72.    “Interest” means, collectively, Equity Interests and Intercompany Interests.

        73.      “Interim Compensation Order” means that certain Order Establishing Procedures for Interim
Compensation and Reimbursement of Expenses for Professionals, entered by the Bankruptcy Court on September
17, 2009 [Docket No. 90], as may be amended from time to time, including by an order entered by the Bankruptcy
Court approving the retention of a specific Retained Professional.

           74.    “Letters of Credit” means the letters of credit referenced in paragraph 13(c) of the Final DIP
Order.

         75.      “Local Bankruptcy Rules” means the Local Bankruptcy Rules for the Southern District of New
York, as applicable to all cases in the Southern District of New York governed by the Bankruptcy Code.

          76.      “Management Equity Plan” means that certain post-Effective Date director and officer
compensation program to be approved and implemented by the New Board as set forth in Article IV of the Plan,
substantially in the form set forth in the Plan Supplement. Equity awards in the form of restricted stock, options or
warrants for 7.5% of the New Common Stock to be issued under the Plan will be allocated to the Management
Equity Plan (on a fully-diluted basis); provided that such equity grant shall not include more than 2.5% in the form
of restricted New Common Stock.

        77.        “New Board” means the initial board of directors of Reorganized Holdings and Reorganized RDA,
which shall initially be mirror boards.

         78.     “New Common Stock” means the common equity in Reorganized Holdings to be authorized,
issued or reserved on the Effective Date pursuant to the Plan, which shall constitute all of the direct or indirect
common equity of Reorganized Holdings.

        79.       “New First Priority Term Loan” means the first priority term loan facility to be converted from
the DIP Facility in an amount equal to the aggregate amount, up to a maximum amount of $150 million, of loans


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outstanding under the DIP Facility on the date of conversion, to be issued on the Effective Date pursuant to the Exit
Credit Agreement on terms consistent with those set forth on Annex 1 to the Restructuring Term Sheet.

          80.      “New Second Priority Term Loan” means that certain $300 million second priority term loan
facility having a maturity not earlier than the latest to occur of the maturity of the New First Priority Term Loan and
the maturity of the Reinstated Euro Term Loan, to be issued on the Effective Date pursuant to the New Second
Priority Term Loan Agreement on terms consistent with those set forth on Annex 1 to the Restructuring Term Sheet.

         81.       “New Second Priority Term Loan Agreement” means that certain $300 million second lien term
loan agreement among The Reader’s Digest Association, Inc., as borrower, and RDA Holding Co. and each direct
and indirect, existing and future domestic subsidiary of The Reader’s Digest Association, Inc., as guarantors, and the
Holders of Prepetition Credit Agreement Claims, substantially in the form of the agreement set forth in the Plan
Supplement.

         82.      “Non-Qualified Retirement Plans” means, collectively, the Debtors’ unfunded, non-qualified
retirement plans or deferred compensation arrangements, including, but not limited to, the plans or arrangements
known as: (a) the Excess Benefit Retirement Plan; (b) the Executive Retirement Plan; (c) the Executive Cash
Balance Plan; (d) the 1988 Supplemental Employee Retirement Plan and related agreements; (e) the Director and
Roving Editors Plan and/or related agreements or arrangements; and (f) the Reader’s Digest Deferred Compensation
Plan or deferred compensation arrangements provided by any other Debtor.

        83.       “Noticing and Claims Agent” means Kurtzman Carson Consultants LLC, in its capacity as notice,
claims and balloting agent for the Debtors, pursuant to that certain Order Authorizing and Approving the Retention
of Kurtzman Carson Consultants LLC as Notice and Claims Agent, entered by the Bankruptcy Court on August 28,
2009 [Docket No. 44], as may be amended from time to time.

         84.       “Other General Unsecured Claim” means any unsecured Claim, other than Unsecured Ongoing
Operations Claims and Senior Subordinated Note Claims, against one or more of the Debtors including, but not
limited to (a) Claims arising from the rejection of Unexpired Leases and Executory Contracts to which a Debtor is a
party, (b) claims arising from the rejection or termination of the Debtors’ Non-Qualified Retirement Plans and
(b) Claims arising from any litigation or other court, administrative or regulatory proceeding, including, without
limitation, damages or judgments entered against, or settlement amounts owing by a Debtor related thereto.

           85.    “Other General Unsecured Claims Distribution” means $3 million.

        86.     “Ordinary Course Professionals Order” means that certain Order Authorizing the Debtors’
Retention and Compensation of Certain Professionals Utilized in the Ordinary Course of Business Nunc Pro Tunc to
the Commencement Date, entered by the Bankruptcy Court on September 17, 2009 [Docket No. 89], as may be
amended from time to time.

         87.      “Other Priority Claim” means any Claim accorded priority in right of payment under section
507(a) of the Bankruptcy Code, other than a Priority Tax Claim or Claims entitled to administrative expense priority
pursuant to section 503(b)(9) of the Bankruptcy Code.

         88.      “Other Secured Claim” means any secured Claim against the Debtors not specifically described in
the Plan, provided, however, that Other Secured Claims shall not include DIP Facility Claims and Prepetition Credit
Agreement Claims.

         89.      “Pension Plan” means The Reader’s Digest Association, Inc. Retirement Plan, which is a defined
benefit pension plan.

        90.     “Periodic Distribution Date” means the first day of the month immediately following the month in
which a Claim becomes Allowed, when distributions shall be made to Holders of any such then-Allowed Claims.

           91.    “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.


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         92.      “Plan” means the Proposed Joint Plan of Reorganization of The Reader’s Digest Associations,
Inc. and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code dated October 9, 2009, as may have been
and may further be amended, supplemented or modified from time to time in accordance with its terms, including,
without limitation, by the Plan Supplement, which is incorporated in the Plan by reference, subject to the terms of
the Restructuring Support Agreement.

           93.    “Plan Equity Value” means between $475 million and $625 million.

          94.      “Plan Supplement” means the compilation of documents and forms of documents, schedules and
exhibits to be filed on the Plan Supplement Filing Date, as amended, modified or supplemented from time to time in
accordance with the terms of the Plan and the applicable provisions of the Bankruptcy Code and the Bankruptcy
Rules, comprising, without limitation, the following documents: (a) the form of the Exit Credit Agreement; (b) the
form of the New Second Priority Term Loan Agreement; (c) the list of the Compensation and Benefit Programs to
be rejected and/or assumed; (d) the Registration Rights Agreement (e) the Shareholders Agreement; (f) the
Amended and Restated Certificate of Incorporation; (g) the Amended and Restated Bylaws; and (h) the forms of the
Enterprise Value Maximization Plan and the Variable Compensation Plan.

           95.    “Plan Supplement Filing Date” means the date that is five (5) days prior to the Voting Deadline.

          96.      “Prepetition Agent” means JPMorgan Chase Bank, N.A., in its capacity as administrative and
collateral agent pursuant to the Prepetition Credit Agreement.

        97.       “Prepetition Credit Agreement” means that certain Credit Agreement dated as of March 2, 2007,
among The Reader’s Digest Association, Inc., certain of its subsidiaries, the Prepetition Agent and the Prepetition
Lenders party thereto, as amended, supplemented or otherwise modified.

         98.      “Prepetition Credit Agreement Claims” means all claims arising under or in connection with the
Prepetition Credit Agreement and/or the Prepetition Loan Documents, including, without limitation, all Adequate
Protection Claims.

         99.       “Prepetition Lenders” means those lenders party to the Prepetition Credit Agreement from time to
time and their affiliates holding Swap Claims.

         100.     “Prepetition Loan Documents” means each of the documents, agreements and instruments
(including, without limitation, all collateral documents) executed and delivered from time to time in connection with
the Prepetition Credit Agreement.

        101.      “Priority Tax Claim” means any Claim of a governmental unit of the kind specified in section
507(a)(8) of the Bankruptcy Code.

           102.   “Proof of Claim” means a proof of claim filed against any of the Debtors in the Chapter 11 Cases.

         103.    “Pro Rata” means the proportion that an Allowed Claim in a particular Class bears to the
aggregate amount of Allowed Claims in that Class, or the proportion that Allowed Claims in a particular Class bear
to the aggregate amount of Allowed Claims in a particular Class and other Classes entitled to share in the same
recovery as such Allowed Claim under the Plan.

           104.   “Record Date” means 5:00 p.m. prevailing Eastern Time on [November 5], 2009.

         105.     “Registration Rights Agreement” means a registration rights agreement substantially in the form
set forth in the Plan Supplement obligating the Reorganized Debtors to register for resale certain shares of New
Common Stock under the Securities Act in accordance with the terms set forth in such agreement, which shall be in
form and substance satisfactory to the Required Consenting Lenders in all material respects.




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        106.      “Reinstated Euro Term Loan” means that certain Euro denominated term loan facility incurred
pursuant to the terms of the Prepetition Credit Agreement as amended as of the Commencement Date and as such
term loan will be further amended and restated on the terms set forth in, and forming part of, the Exit Credit
Agreement and subject to the Restructuring Support Agreement.

          107.     “Released Parties” means, collectively, (a) the Debtors and the Debtors’ current and former
officers and directors, (b) the Prepetition Agent and the Prepetition Lenders, (c) the DIP Agent and the DIP Lenders,
(d) the Creditors’ Committee and the Creditors’ Committee Members, (e) the Consenting Shareholders and (f) with
respect to each of the Persons named in (a) — (e) above, such Entity’s directors, officers, shareholders, partners,
members, employees, agents, affiliates, parents, subsidiaries, predecessors, successors, heirs, executors and assigns,
attorneys, financial advisors, accountants, and other professionals or representatives when acting in any such
capacities and (g) with respect to each of the Entities named in (a) — (f) above, each in their respective capacities
set forth in such clause.

          108.      “Releasing Parties” means, collectively, (a) the Prepetition Agent and the Prepetition Lenders,
(b) the DIP Agent and the DIP Lenders, (c) the Consenting Shareholders and (d) each Holder of a Claim or Equity
Interest that affirmatively votes in favor of this Plan.

        109.      “Reorganized Debtors” means the Debtors, in each case, or any successor thereto, by merger,
consolidation or otherwise, on or after the Effective Date.

         110.     “Reorganized Holdings” means RDA Holding, Inc., as reorganized pursuant to and under the Plan,
or any successor thereto, by merger, consolidation, or otherwise, on or after the Effective Date.

         111.     “Reorganized RDA” means The Reader’s Digest Association, Inc., as reorganized pursuant to and
under the Plan, or any successor thereto, by merger, consolidation, or otherwise, on or after the Effective Date.

        112.   “Required Consenting Lenders” has the meaning ascribed to such term in the Restructuring
Support Agreement.

       113.      “Restructuring Support Agreement” means that certain restructuring support agreement, dated as
of August 17, 2009, among the Debtors, the Consenting Lenders and the Consenting Shareholders, as amended,
supplemented or otherwise modified from time to time subject to the terms thereof.

        114.   “Restructuring Term Sheet” means the term sheet annexed as Exhibit A to the Restructuring
Support Agreement.

         115.     “Retained Professional” means any Entity: (a) employed in these Chapter 11 Cases pursuant to a
Final Order in accordance with sections 327 and 1103 of the Bankruptcy Code and to be compensated for services
rendered prior to the Effective Date, pursuant to sections 327, 328, 329, 330 or 331 of the Bankruptcy Code; or
(b) for which compensation and reimbursement has been allowed by the Bankruptcy Court pursuant to
section 503(b)(4) of the Bankruptcy Code.

         116.     “Rights Offering” means that certain rights offering by Reorganized Holdings pursuant to which
Eligible Noteholders shall have the right to purchase up to $50 million of New Common Stock at Plan Equity Value,
which shall represent approximately 8% of the New Common Stock (subject to dilution by the Management Equity
Plan).

         117.     “Schedules” mean, collectively, the schedules of assets and liabilities, schedules of Executory
Contracts and Unexpired Leases and statements of financial affairs filed by the Debtors on September 24, 2009,
pursuant to section 521 of the Bankruptcy Code and in substantial accordance with the Official Bankruptcy Forms,
as the same may have been amended, modified or supplemented from time to time.

        118.      “Section 510(b) Claim” means any Claim against the Debtors arising from the rescission of a
purchase or sale of a security of the Debtors or an Affiliate of the Debtors, for damages arising from the purchase or


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sale of such a security or for reimbursement or contribution allowed under section 502 of the Bankruptcy Code on
account of such a Claim.

           119.   “Securities Act” means the United States Securities Act of 1933, as amended.

        120.    “Senior Subordinated Note Claim” means any Claim derived from or based upon the Senior
Subordinated Notes Indenture.

         121.    “Senior Subordinated Notes” means the 9% Senior Subordinated Notes due 2017, issued by The
Reader’s Digest Association, Inc. and guaranteed by RDA Holding Co. and each direct and indirect, existing and
future domestic subsidiary of The Reader’s Digest Association, Inc. pursuant to the Senior Subordinated Notes
Indenture.

         122.    “Senior Subordinated Notes Indenture” means that certain Indenture, dated as of March 2, 2007,
among The Reader’s Digest Association, Inc., as issuer, and RDA Holding Co. and each direct and indirect, existing
and future domestic subsidiary of The Reader’s Digest Association, Inc. as guarantors, and the Indenture Trustee.

         123.      “Shareholders Agreement” means the stockholders’ agreement with respect to the New Common
Stock as set forth in the Plan Supplement, which shall be in material form and substance satisfactory to the Required
Consenting Lenders and shall include an option for Holders to hold limited voting securities.

        124.     “Solicitation Procedures Order” means that certain Order Approving the Debtors’ Disclosure
Statement and Relief Related Thereto, entered by the Bankruptcy Court on [November 5], 2009, as may be amended
from time to time, and which shall be in form and substance satisfactory to the Prepetition Agent and the Required
Consenting Lenders.

        125.      “Subscription Procedures” means those procedures set forth on Exhibit G to the Disclosure
Statement.

        126.      “Swap Claims” means those secured Claims arising from hedging arrangements under, or in
connection with, the Prepetition Credit Agreement with certain of the Prepetition Lenders or their Affiliates.

          127.     “Tort Claim” means any Claim that has not been settled, compromised or otherwise resolved that:
(a) arises out of allegations of personal injury, wrongful death, property damage, products liability or similar legal
theories of recovery; or (b) arises under any federal, state or local statute, rule, regulation or ordinance governing,
regulating or relating to protection of human health, safety or the environment.

        128.      “Unexpired Lease” means a lease to which one or more of the Debtors is a party that is subject to
assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

        129.     “Unimpaired” means any unimpaired Claim or Interest in an Unimpaired Class within the
meaning of section 1124 of the Bankruptcy Code.

        130.    “Unimpaired Class” means an unimpaired Class within the meaning of section 1124 of the
Bankruptcy Code.

         131.      “Unsecured Ongoing Operations Claims” means all general unsecured Claims directly relating to
and arising solely from the receipt of goods and services by the Debtors arising with and held by Persons with whom
the Debtors are conducting, and will continue to conduct, business as of the Effective Date; provided, however, that
Unsecured Ongoing Operations Claims shall not include Administrative Claims.

         132.      “Variable Compensation Plan” means that certain post-Effective Date director and officer variable
compensation plan to be approved and implemented by the New Board as set forth in Article IV of the Plan,
substantially in the form set forth in the Plan Supplement.



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           133.    “Voting Classes” means, collectively, Classes 3, 4 and 5.

           134.    “Voting Deadline” means 4:00 p.m. prevailing Pacific Time on [December 7], 2009.

                                                    ARTICLE II.

                     ADMINISTRATIVE, DIP FACILITY AND PRIORITY TAX CLAIMS

          In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, DIP Facility Claims
and Priority Tax Claims have not been classified and thus are excluded from the Classes of Claims and Equity
Interests set forth in Article III.

A.         Administrative Claims

         Subject to the provisions of sections 328, 330(a) and 331 of the Bankruptcy Code, except to the extent that
a Holder of an Allowed Administrative Claim and the applicable Debtors agree to less favorable treatment to such
Holder, each Holder of an Allowed Administrative Claim will be paid the full unpaid amount of such Allowed
Administrative Claim in Cash: (a) on the Effective Date or as soon as reasonably practicable thereafter or, if not then
due, when such Allowed Administrative Claim is due or as soon as reasonably practicable thereafter; (b) if an
Administrative Claim is Allowed after the Effective Date, on the date such Administrative Claim is Allowed or as
soon as reasonably practicable thereafter or, if not then due, when such Allowed Administrative Claim is due; (c) at
such time and upon such terms as may be agreed upon by such Holder and the Debtors or the Reorganized Debtors,
as the case may be; or (d) at such time and upon such terms as set forth in an order of the Bankruptcy Court;
provided that, Allowed Administrative Claims that arise in the ordinary course of the Debtors’ or Reorganized
Debtors’ business shall be paid in full in Cash in the ordinary course of business in accordance with the terms and
subject to the conditions of any agreements governing, instruments evidencing, or other documents relating to, such
transactions; provided, further, that Allowed Administrative Claims do not include Claims filed after the applicable
deadline set forth in the Confirmation Order (except as otherwise provided by a separate order of the Bankruptcy
Court).

B.         DIP Facility Claims

          Notwithstanding anything to the contrary herein, in full and final satisfaction, settlement, release and
discharge of and in exchange for release of all DIP Facility Claims (other than Claims under the DIP Facility that
expressly survive the termination thereof), on the Effective Date, the DIP Facility Claims shall (i) subject to the
terms of the DIP Facility, convert into the New First Priority Term Loan pursuant to the Exit Credit Agreement or
(ii) be paid off in full in Cash.

C.         Priority Tax Claims

         Each Holder of an Allowed Priority Tax Claim due and payable on or prior to the Effective Date shall
receive, as soon as reasonably practicable after the Effective Date, on account of such Claim: (1) Cash in an amount
equal to the amount of such Allowed Priority Tax Claim; (2) Cash in an amount agreed to by the applicable Debtor
or Reorganized Debtor, as applicable, and such Holder; provided, however, that such parties may further agree for
the payment of such Allowed Priority Tax Claim at a later date; or (3) at the option of the Debtors, Cash in an
aggregate amount of such Allowed Priority Claim payable in installment payments over a period not more than five
years after the Commencement Date, pursuant to section 1129(a)(9)(C) of the Bankruptcy Code. To the extent any
Allowed Priority Tax Claim is not due and owing on or before the Effective Date, such Claim shall be paid in full in
Cash in accordance with the terms of any agreement between the Debtors and such Holder, or as may be due and
payable under applicable non-bankruptcy law or in the ordinary course of business.




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                                                           ARTICLE III.

                                            CLASSIFICATION AND TREATMENT
                                          OF CLASSIFIED CLAIMS AND INTERESTS

A.         Summary

          This Plan constitutes a separate chapter 11 plan of reorganization for each Debtor. Except for the Claims
addressed in Article II above (or as otherwise set forth herein), all Claims against and Interests in a particular Debtor
are placed in Classes for each of the Debtors. In accordance with section 1123(a)(1) of the Bankruptcy Code, the
Debtors have not classified Administrative Claims, DIP Facility Claims and Priority Tax Claims, as described in
Article II.

          The categories of Claims and Interests listed below classify Claims and Interests for all purposes, including,
without limitation, voting, Confirmation and distribution pursuant hereto and pursuant to sections 1122 and
1123(a)(1) of the Bankruptcy Code. The Plan deems a Claim or Interest to be classified in a particular Class only to
the extent that the Claim or Interest qualifies within the description of that Class and shall be deemed classified in a
different Class to the extent that any remainder of such Claim or Interest qualifies within the description of such
different Class. A Claim or an Interest is in a particular Class only to the extent that any such Claim or Interest is
Allowed in that Class and has not been paid or otherwise settled prior to the Effective Date.

           1.            Summary of Classification and Treatment of Classified Claims and Interests

                 Class                                Claim                                Status          Voting Rights
                   1           Other Priority Claims                                     Unimpaired       Deemed to Accept
                   2           Other Secured Claims                                      Unimpaired       Deemed to Accept
                   3           Prepetition Credit Agreement Claims                        Impaired         Entitled to Vote
                   4           Unsecured Ongoing Operations Claims                        Impaired         Entitled to Vote
                   5           Other General Unsecured Claims                             Impaired         Entitled to Vote
                   6           Senior Subordinated Note Claims                            Impaired        Deemed to Reject
                   7           Section 510(b) Claims                                      Impaired        Deemed to Reject
                   8           Equity Interests                                           Impaired        Deemed to Reject
                   9           Intercompany Interests                                    Unimpaired       Deemed to Accept
                  10           Intercompany Claims                                       Unimpaired       Deemed to Accept

B.         Classification and Treatment of Claims and Interests

           1.     Class 1 – Other Priority Claims

                         (a)        Classification: Class 1 consists of Other Priority Claims against the Debtors.

                         (b)        Treatment: Except to the extent that a Holder of an Allowed Other Priority Claim against
                                    the Debtors agrees to less favorable treatment for such Holder, in exchange for full and
                                    final satisfaction, settlement, release and discharge of each Allowed Other Priority Claim
                                    against the Debtors, each Holder of such Allowed Other Priority Claim shall be paid in
                                    full in Cash on or as reasonably practicable after (i) the Effective Date, (ii) the date on
                                    which such Other Priority Claim against the Debtors becomes an Allowed Other Priority
                                    Claim or (iii) such other date as may be ordered by the Bankruptcy Court.

                         (c)        Voting: Class 1 is Unimpaired and the Holders of Class 1 Claims are conclusively
                                    deemed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
                                    Therefore, the Holders of Class 1 Claims are not entitled to vote to accept or reject the
                                    Plan.



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           2.    Class 2 – Other Secured Claims

                     (a)     Classification: Class 2 consists of Other Secured Claims against the Debtors.

                     (b)     Treatment: Except to the extent that a Holder of an Allowed Other Secured Claim agrees
                             to less favorable treatment for such Holder, in exchange for full and final satisfaction,
                             settlement, release and discharge of each Other Secured Claim, Holders of Allowed Other
                             Secured Claims shall receive one of the following treatments, in the sole discretion of the
                             applicable Debtor, in full and final satisfaction of such Allowed Other Secured Claims:
                             (i) the Debtors or the Reorganized Debtors shall pay such Allowed Other Secured Claims
                             in full in Cash including the payment of any interest required to be paid under section
                             506(b) of the Bankruptcy Code; (ii) the Debtors or the Reorganized Debtors shall deliver
                             the collateral securing any such Allowed Other Secured Claim; or (iii) the Debtors or the
                             Reorganized Debtors shall otherwise treat any Allowed Other Secured Claim in any other
                             manner such that the Claim shall be rendered Unimpaired.

                     (c)     Voting: Class 2 is Unimpaired and the Holders of Class 2 Claims are conclusively
                             deemed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
                             Therefore, the Holders of Class 2 Claims are not entitled to vote to accept or reject the
                             Plan.

           3.    Class 3 – Prepetition Credit Agreement Claims

                     (a)     Classification: Class 3 consists of Prepetition Credit Agreement Claims against the
                             Debtors.

                     (b)     Allowance: On the Effective Date, Prepetition Credit Agreement Claims shall be deemed
                             Allowed in the aggregate amount of $1.645 billion.

                     (c)     Treatment: In exchange for full and final satisfaction, settlement, release and discharge
                             of each Allowed Prepetition Credit Agreement Claim, each Holder of an Allowed
                             Prepetition Credit Agreement Claim shall receive their Pro Rata share of each of (i) the
                             Reinstated Euro Term Loan, (ii) the New Second Priority Term Loan and (iii) 100%
                             percent of the New Common Stock issued and outstanding as of the Effective Date
                             (subject to dilution on account of the Rights Offering and the Management Equity Plan);
                             provided that (x) the Euro Term Lenders (as defined in the Prepetition Credit Agreement)
                             as of the Distribution Record Date shall be the only Prepetition Lenders entitled to
                             receive the treatment set forth in clause (c)(i) on account of their exposure under the Euro
                             Term Loan (as defined in the Prepetition Credit Agreement) and (y) the Revolving
                             Lenders, U.S. Term Lenders (each as defined in the Prepetition Credit Agreement) and
                             Holders of Swap Claims as of the Distribution Record Date shall be the only Prepetition
                             Lenders entitled to receive the treatment set forth in clauses (c)(ii) and (iii) on account of
                             their exposures under the Revolver Loan, U.S. Term Loan (each as defined in the
                             Prepetition Credit Agreement) and Swap Claims.

                             The Letters of Credit shall continue to be treated as set forth in paragraph 13(c) of the
                             Final DIP Order.

                     (d)     Voting: Class 3 is Impaired and Holders of Class 3 Claims are entitled to vote to accept
                             or reject the Plan.




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           4.    Class 4 –Unsecured Ongoing Operations Claims

                     (a)     Classification: Class 4 consists of Unsecured Ongoing Operations Claims against the
                             Debtors.

                     (b)     Treatment: Except to the extent that a Holder of an Allowed Unsecured Ongoing
                             Operations Claim agrees to less favorable treatment, in exchange for full and final
                             satisfaction, settlement, release and discharge of each Allowed Unsecured Ongoing
                             Operations Claim, each Holder of an Allowed Unsecured Ongoing Operations Claim will
                             be paid in full in Cash (i) on the Effective Date or as soon as reasonably practicable
                             thereafter or (ii) in the ordinary course of business in accordance with the terms of any
                             agreement that governs such Allowed Unsecured Ongoing Operations Claim or in
                             accordance with the historical course of dealings between the Debtors and such Holder
                             with respect to such Allowed Unsecured Ongoing Operations Claim, provided, however,
                             that Holders of Unsecured Ongoing Operations Claims are not entitled to postpetition
                             interest, late fees or penalties on account of such Claims. Holders of Allowed Unsecured
                             Ongoing Operations Claims who received any payments from the Debtors during the
                             Chapter 11 Cases pursuant to any order of the Bankruptcy Court shall not be excluded
                             from receiving distributions under the Plan on account of such Claims unless such Claims
                             were fully satisfied by any prior payments from the Debtors or otherwise waived by
                             agreement of the parties. The Debtors reserve all rights to challenge the legal basis and
                             amount of any asserted Unsecured Ongoing Operations Claim, and each such Holder
                             reserves all rights and defenses with respect to any such challenge.

                     (c)     Voting: Class 4 is Impaired and Holders of Class 4 Claims are entitled to vote to accept
                             or reject the Plan.

           5.    Class 5 – Other General Unsecured Claims

                     (a)     Classification: Class 5 consists of Other General Unsecured Claims against the Debtors.

                     (b)     Treatment: Except to the extent that a Holder of an Allowed Other General Unsecured
                             Claim agrees to less favorable treatment, in exchange for full and final satisfaction,
                             settlement, release and discharge of each Allowed Other General Unsecured Claim, each
                             Holder of an Allowed Other General Unsecured Claim shall receive their Pro Rata share
                             of the Other General Unsecured Claims Distribution.

                     (c)     Voting: Class 5 is Impaired and Holders of Class 5 Claims are entitled to vote to accept
                             or reject the Plan.

           6.    Class 6 – Senior Subordinated Note Claims

                     (a)     Classification: Class 6 consists of Senior Subordinated Note Claims against the Debtors.

                     (b)     Allowance: On the Effective Date, Senior Subordinated Note Claims shall be deemed
                             Allowed in the aggregate amount of $628.2 million.

                     (c)     Treatment: Holders of Subordinated Note Claims shall not actually receive or retain any
                             interest or property under the Plan on account of such Senior Subordinated Note Claims.
                             The treatment of the Senior Subordinated Notes Claims under the Plan is in accordance
                             with and gives effect to the provisions of section 510(a) of the Bankruptcy Code.

                     (d)     Voting: Class 6 is Impaired and the Holders of Class 6 Claims are conclusively deemed
                             to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore,
                             the Holders of Class 6 Claims are not entitled to vote to accept or reject the Plan.


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           7.    Class 7 – Section 510(b) Claims

                     (a)      Classification: Class 7 consists of Section 510(b) Claims against the Debtors.

                     (b)      Treatment: Holders of Section 510(b) Claims shall not receive any distribution on
                              account of such Section 510(b) Claims. On the Effective Date, all Section 510(b) Claims
                              shall be discharged.

                     (c)      Voting: Class 7 is Impaired and Holders of Class 7 Claims are conclusively deemed to
                              have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore,
                              Holders of Section 510(b) Claims are not entitled to vote to accept or reject the Plan.

           8.    Class 8 – Equity Interests

                     (a)      Classification: Class 8 consists of RDA Holding Co. Equity Interests.

                     (b)      Treatment: Holders of RDA Holding Co. Equity Interests shall not receive any
                              distribution on account of such RDA Holding Co. Equity Interests. On the Effective
                              Date, all RDA Holding Co. Equity Interests shall be discharged, cancelled, released and
                              extinguished.

                     (c)      Voting: Class 8 is Impaired and Holders of Class 8 Equity Interests are conclusively
                              deemed to have rejected the Plan pursuant to 1126(g) of the Bankruptcy Code.
                              Therefore, Holders of RDA Holding Co. Equity Interests are not entitled to vote to accept
                              or reject the Plan.

           9.    Class 9 – Intercompany Interests

                     (a)      Classification: Class 9 consists of all Intercompany Interests in the Debtors.

                     (b)      Treatment: Intercompany Interests shall be reinstated on the Effective Date.

                     (c)      Voting: Class 9 is Unimpaired and Holders of Class 9 Intercompany Interests are
                              conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                              Bankruptcy Code. Therefore, Holders of Intercompany Interests are not entitled to vote
                              to accept or reject the Plan.

           10. Class 10 – Intercompany Claims

                     (a)      Classification: Class 10 consists of all Intercompany Claims.

                     (b)      Treatment: To preserve the Debtors’ corporate structure, Intercompany Claims may be
                              reinstated as of the Effective Date or, at the Debtors’ or Reorganized Debtors’ option, be
                              cancelled or compromised, and no distribution shall be made on account of such Claims.

                     (c)      Voting: Class 10 is Unimpaired, and Holders of Class 10 Intercompany Claims, by virtue
                              of their status as a Debtor or an Affiliate of a Debtor, are conclusively presumed to have
                              accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
                              Holders of Intercompany Claims are not entitled to vote to accept or reject the Plan.

C.         Special Provision Governing Unimpaired Claims

         Except as otherwise provided herein, nothing under the Plan shall affect the Debtors’ or the Reorganized
Debtors’ rights in respect of any Unimpaired Claims, including, without limitation, all rights in respect of legal and
equitable defenses to or setoffs or recoupments against any such Unimpaired Claims.


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D.          Acceptance or Rejection of the Plan

            1.   Presumed Acceptance of Plan

         Classes 1, 2, 9 and 10 are Unimpaired under the Plan, and are, therefore, presumed to have accepted the
Plan pursuant to section 1126(f) of the Bankruptcy Code.

            2.   Voting Classes

            Each Holder of an Allowed Claim in each of Classes 3, 4 and 5 shall be entitled to vote to accept or reject
the Plan.

            3.   Presumed Rejection of Plan

         Class 6 Senior Subordinated Notes Claims, Class 7 Section 510(b) Claims and Class 8 Equity Interests
shall receive no distribution under the Plan on account of their Claims and Equity Interests and are, therefore,
presumed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code.

            4.   Controversy Concerning Impairment

        If a controversy arises as to whether any Claims or Interests, or any Class thereof, are Impaired, the
Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the Confirmation Date.

E.          Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code

         Acceptance of the Plan by either Class 3, 4 or 5 will satisfy section 1129(a)(10) of the Bankruptcy Code.
The Debtors will seek confirmation of the Plan under section 1129(b) of the Bankruptcy Code with respect to any
rejecting class of Claims or Equity Interests.

F.          Elimination of Vacant Classes

         Any Class of Claims that is not occupied as of the date of commencement of the Confirmation Hearing by
the Holder of an Allowed Claim or a Claim temporarily Allowed under Bankruptcy Rule 3018 (i.e., no Ballots are
cast in a Class entitled to vote on the Plan) shall be deemed eliminated from the Plan for purposes of voting to
accept or reject the Plan and for purposes of determining acceptances or rejection of the Plan by such Class pursuant
to section 1129(a)(8) of the Bankruptcy Code.

                                                     ARTICLE IV.

                                  MEANS FOR IMPLEMENTATION OF THE PLAN

A.          General Settlement of Claims

         As discussed further in the Disclosure Statement and as otherwise provided herein, pursuant to section
1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the classification, Distributions,
releases, and other benefits provided under the Plan, upon the Effective Date, the provisions of the Plan shall
constitute a good faith compromise and settlements of all Claims and Equity Interests and controversies resolved
pursuant to the Plan. Distributions made to Holders of Allowed Claims in any Class are intended to be final.

B.          Restructuring Transactions

         On the Effective Date or as soon as reasonably practicable thereafter, the Reorganized Debtors may take all
actions as may be necessary or appropriate to effect any transaction described in, approved by, contemplated by or
necessary to effectuate the Plan, including: (1) the execution and delivery of appropriate agreements or other
documents of merger, consolidation or reorganization containing terms that are consistent with the terms of the Plan


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and that satisfy the requirements of applicable law; (2) the execution and delivery of appropriate instruments of
transfer, assignment, assumption or delegation of any property, right, liability, duty or obligation on terms consistent
with the terms of the Plan; (3) the filing of appropriate certificates of incorporation, merger or consolidation with the
appropriate governmental authorities pursuant to applicable law; and (4) all other actions that the Reorganized
Debtors determine are necessary or appropriate.

C.         Corporate Existence

          Subject to any restructuring transactions as permitted under Article IV(B), each Debtor shall continue to
exist after the Effective Date as a separate corporate entity or limited liability company, with all the powers of a
corporation or limited liability company pursuant to the applicable law in the jurisdiction in which each applicable
Debtor is incorporated or formed and pursuant to the respective certificate of incorporation and bylaws (or other
formation documents in the case of a limited liability company) in effect prior to the Effective Date, except to the
extent such certificate of incorporation or bylaws (or other formation documents in the case of a limited liability
company) are amended by or in connection with the Plan or otherwise and, to the extent such documents are
amended, such documents are deemed to be authorized pursuant hereto and without the need for any other
approvals, authorizations, actions or consents.

D.         Vesting of Assets in the Reorganized Debtors

          Except as otherwise provided herein or in any agreement, instrument or other document relating thereto, on
or after the Effective Date, all property of each Estate (including, without limitation, Causes of Action) and any
property acquired including by any of the Debtors pursuant hereto shall vest in each respective Reorganized Debtor,
free and clear of all liens, Claims, charges or other encumbrances. Except as may be provided herein, on and after
the Effective Date, each Reorganized Debtor may operate its business and may use, acquire or dispose of property
and compromise or settle any Claims without supervision or approval by the Bankruptcy Court and free of any
restrictions of the Bankruptcy Code or Bankruptcy Rules.

E.         Indemnification Provisions in Organizational Documents

          As of the Effective Date, each Debtor’s bylaws shall provide for the indemnification, defense,
reimbursement, exculpation, and/or limitation of liability of, and advancement of fees and expenses to, directors,
officers, employees or agents who were directors, officers, employees or agents of such Debtor, at any time prior to
the Effective Date at least to the same extent as the bylaws of each of the respective Debtors on the Commencement
Date, against any claims or Causes of Action whether direct or derivative, liquidated or unliquidated, fixed or
contingent, disputed or undisputed, matured or unmatured, known or unknown, foreseen or unforeseen, asserted or
unasserted, and none of the Reorganized Debtors shall amend and/or restate its certificate of incorporation or bylaws
before or after the Effective Date to terminate or materially adversely affect any of the Reorganized Debtors’
obligations or such directors’, officers’, employees’ or agents’ rights; provided that, with respect to former officers
and directors, the Debtors shall be obligated to indemnify such individuals only to the extent of available coverage
under their D&O Liability Insurance Policies (and payable from the proceeds of such D&O Liability Insurance
Policies), including the advancing of defense costs prior to final adjudication.

F.         Cancellation of Agreements, Senior Subordinated Notes and Equity Interests

         On the later of the Effective Date and the date on which distributions are made pursuant to the Plan, except
as otherwise specifically provided for in the Plan: (1) the obligations of the Debtors under the Prepetition Credit
Agreement, the Prepetition Loan Documents, the Senior Subordinated Notes Indenture and any other certificate,
equity security, share, note, bond, indenture, purchase right, option, warrant or other instrument or document
directly or indirectly evidencing or creating any indebtedness or obligation of or ownership interest in the Debtors
giving rise to any Claim or Equity Interest (except such certificates, notes or other instruments or documents
evidencing indebtedness or obligation of or ownership interest in the Debtors that are reinstated pursuant to the
Plan), shall be cancelled solely as to the Debtors and their Affiliates, and the Reorganized Debtors shall not have any
continuing obligations thereunder; and (2) the obligations of the Debtors and their Affiliates pursuant, relating or
pertaining to any agreements, indentures, certificates of designation, by-laws or certificate or articles of
incorporation or similar documents governing the shares, certificates, notes, bonds, indentures, purchase rights,

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options, or other instruments or documents evidencing or creating any indebtedness or obligation of or ownership
interest in the Debtors (except such agreements, certificates, notes or other instruments evidencing indebtedness or
obligation of or ownership interest in the Debtors that are specifically reinstated pursuant to the Plan) shall be
released and discharged; except that:

                 1.   The Prepetition Credit Agreement shall continue in effect solely for the purpose of: (a) allowing
                      Holders of the Prepetition Credit Agreement Claims to receive the distributions provided for
                      hereunder; (b) allowing the Prepetition Agent to receive distributions from the Debtors and to
                      make further distributions to the Holders of Prepetition Credit Agreement Claims on account of
                      such Claims, as set forth in Article VII.A of the Plan; and (c) preserving the Prepetition Agent’s
                      right to indemnification from the Debtors pursuant and subject to the terms of the Prepetition
                      Credit Agreement in respect of any claim or cause of action asserted against the Prepetition Agent;
                      provided that any claim or right to payment on account of such indemnification shall be an
                      unsecured claim and shall not be secured in any of the assets of the Debtors, the Reorganized
                      Debtors or their affiliates; and

                 2.   The foregoing shall not effect the cancellation of shares issued pursuant to the Plan nor any other
                      shares held by one Debtor in the capital of another Debtor; and provided, further, however, that to
                      the extent provided in the Exit Credit Agreement and the New Second Priority Term Loan
                      Agreement, the guarantees of and Liens securing obligations under the Prepetition Credit
                      Agreement shall not be cancelled and shall guarantee or secure obligations under and as set forth
                      in the Exit Credit Agreement and the New Second Priority Term Loan Agreement and only such
                      obligations.

G.         Sources of Cash for Plan Distributions and Transfers of Funds Among Debtors

          All Cash necessary for the Reorganized Debtors to make payments required pursuant to the Plan will be
funded with Cash on hand. Cash payments to be made pursuant to the Plan will be made by the Reorganized
Debtors; provided, however, that the Debtors and the Reorganized Debtors will be entitled to transfer funds between
and among themselves as they determine to be necessary or appropriate to enable the Reorganized Debtors to satisfy
their obligations under the Plan. Except as set forth herein, any changes in intercompany account balances resulting
from such transfers will be accounted for and settled in accordance with the Debtors’ historical intercompany
account settlement practices and will not violate the terms of the Plan.

        From and after the Effective Date, the Reorganized Debtors, subject to any applicable limitations set forth
in any post-Effective Date financing, shall have the right and authority without further order of the Bankruptcy
Court to raise additional capital and obtain additional financing as the boards of directors of the applicable
Reorganized Debtors deem appropriate.

H.         Approval of Exit Credit Agreement and New Second Priority Term Loan Agreement

          On the Effective Date, the Reorganized Debtors will enter into the Exit Credit Agreement and the New
Second Priority Term Loan Agreement. The Confirmation Order shall constitute an order of the Bankruptcy Court
approving (a) entry into the Exit Credit Agreement (and issuance of the New First Priority Term Loan and
Reinstated Euro Term Loan), and (b) entry into the New Second Priority Term Loan Agreement (and issuance of the
Second Priority Term Loan). The lenders under the Exit Credit Agreement and the New Second Priority Term Loan
Agreement shall have valid, binding and enforceable liens on the collateral specified in the relevant agreements
executed by the Reorganized Debtors in connection with the Exit Credit Agreement and the New Second Priority
Term Loan Agreement. The guarantees, mortgages, pledges, liens and other security interests granted pursuant to or
in connection with the Exit Credit Agreement and the New Second Priority Term Loan Agreement are granted in
good faith as an inducement to the lenders to extend credit thereunder and shall be, and hereby are, deemed not to
constitute a fraudulent conveyance or fraudulent transfer, shall not otherwise be subject to avoidance, and the
priorities of such liens and security interests shall be as set forth in the intercreditor agreement and other definitive
documentation executed in connection with the Exit Credit Agreement and the New Second Priority Term Loan
Agreement. Notwithstanding anything to the contrary in the Confirmation Order or the Plan, the Bankruptcy
Court’s retention of jurisdiction shall not govern the enforcement of the loan documentation executed in connection

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with the Exit Credit Agreement and the New Second Priority Term Loan Agreement or any rights or remedies
related thereto.

I.         Reorganized Debtors’ Equity Interests

           1.    New Common Stock

         On the Effective Date, the Reorganized Debtors shall issue or reserve for issuance all of the New Common
Stock. The New Common Stock shall represent all of the Equity Interests in Reorganized Holdings as of the
Effective Date and shall be issued to Holders of Prepetition Credit Agreement Claims, subject to dilution by equity
issued in connection with the Management Equity Plan or the Rights Offering. From and after the Effective Date,
subject to the right of the stockholders to amend the certificate of incorporation of RDA Holding Co., Reorganized
Holdings shall have one class and one series of New Common Stock; provided that the Shareholders Agreement
shall provide an option for Holders to receive limited voting stock. The issuance of the New Common Stock by
Reorganized Holdings, including options or other equity awards reserved for the Management Equity Plan, is
authorized without the need for further corporate action and all of the shares of New Common Stock issued pursuant
to the Plan shall be duly authorized, validly issued, fully paid and non-assessable. For purposes of distribution, the
New Common Stock will be deemed to have the Plan Equity Value, regardless of the date of distribution.

           2.    Registration Rights & Shareholders Agreements

         Certain holders of the New Common Stock shall be entitled to registration rights pursuant to the
Registration Rights Agreement. On or after the Effective Date, Reorganized Holdings and the Required Consenting
Lenders shall enter into and deliver the Registration Rights Agreement and Shareholders Agreement, in substantially
the form included in the Plan Supplement, to each Entity that is intended to be a party thereto or such agreements
shall be deemed to be valid, binding and enforceable in accordance with their respective terms, and each holder of
New Common Stock shall be bound thereby, in each case without the need for execution by any party thereto other
than Reorganized Holdings.

           3.    Private Company

        On the Effective Date, the Reorganized Debtors shall be a private company. As such, the Reorganized
Debtors will not list the New Common Stock on a national securities exchange.

J.         Section 1145 Exemption

          Pursuant to section 1145 of the Bankruptcy Code, the offering, issuance, and distribution of any securities
pursuant to the Plan and any and all settlement agreements incorporated herein shall be exempt from, among other
things, the registration requirements of Section 5 of the Securities Act to the maximum extent permitted thereunder
and any other applicable law requiring registration by virtue of section 1145 of the Bankruptcy Code, prior to the
offering, issuance, distribution or sale of securities. In addition, except as otherwise provided in the Plan, to the
maximum extent provided under section 1145 of the Bankruptcy Code, any and all New Common Stock
contemplated by the Plan and any and all settlement agreements incorporated therein will be freely tradable by the
recipients thereof, subject to: (1) the provisions of section 1145(b)(1) of the Bankruptcy Code relating to the
definition of an underwriter in section 2(a)(11) of the Securities Act, and compliance with any rules and regulations
of the Commission, if any, applicable at the time of any future transfer of such Securities or instruments; (2) the
restrictions, if any, on the transferability of such Securities and instruments; and (3) applicable regulatory approval.

K.         Rights Offering

         The Debtors may issue up to $50 million (which shall represent approximately 8%) of the New Common
Stock, pursuant to the Rights Offering more fully described in the Disclosure Statement. Notwithstanding anything
herein to the contrary, the New Common Stock issued in connection with the Rights Offering will be issued under
Section 4(2) of the Securities Act. Such New Common Stock will be “restricted securities” and cannot be sold
absent registration under, or pursuant to an exemption from, the Securities Act.


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L.         Organizational Documents

         Subject to Article IV.E of the Plan, the Reorganized Debtors shall enter into such agreements and amend
their corporate governance documents to the extent necessary to implement the terms and conditions of the Plan.
Without limiting the generality of the foregoing, as of the Effective Date, Reorganized Holdings shall be governed
by the Amended and Restated Certificate of Incorporation and the Amended and Restated Bylaws. From and after
the Effective Date, the organizational documents of each of the Reorganized Debtors will comply with section
1123(a)(6) of the Bankruptcy Code for so long as it is applicable.

M.         Effectuating Documents; Further Transactions

          The Debtors or the Reorganized Debtors, as applicable, may take all actions to execute, deliver, file or
record such contracts, instruments, releases and other agreements or documents and take such actions as may be
necessary or appropriate to effectuate and implement the provisions of the Plan, including, without limitation, the
distribution of the securities to be issued pursuant hereto in the name of and on behalf of the Reorganized Debtors,
without the need for any approvals, authorizations, actions or consents except for those expressly required pursuant
hereto. The secretary and any assistant secretary of each Debtor shall be authorized to certify or attest to any of the
foregoing actions.

         Prior to, on or after the Effective Date (as appropriate), all matters provided for pursuant to the Plan that
would otherwise require approval of the shareholders, directors or members of the Debtors shall be deemed to have
been so approved and shall be in effect prior to, on or after the Effective Date (as appropriate) pursuant to applicable
law and without any requirement of further action by the shareholders, directors, managers or partners of the
Debtors, or the need for any approvals, authorizations, actions or consents.

N.         Exemption from Certain Transfer Taxes and Recording Fees

          Pursuant to section 1146(a) of the Bankruptcy Code, any transfer from a Debtor to a Reorganized Debtor or
to any Entity pursuant to, in contemplation of, or in connection with the Plan or pursuant to: (1) the issuance,
distribution, transfer, or exchange of any debt, securities, or other interest in the Debtors or the Reorganized
Debtors; (2) the creation, modification, consolidation, or recording of any mortgage, deed of trust or other security
interest, or the securing of additional indebtedness by such or other means; (3) the making, assignment, or recording
of any lease or sublease; or (4) the making, delivery, or recording of any deed or other instrument of transfer under,
in furtherance of, or in connection with, the Plan, including any deeds, bills of sale, assignments, or other instrument
of transfer executed in connection with any transaction arising out of, contemplated by, or in any way related to the
Plan, shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or similar tax,
mortgage tax, real estate transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording fee,
regulatory filing or recording fee, or other similar tax or governmental assessment, and the appropriate state or local
governmental officials or agents shall forego the collection of any such tax or governmental assessment and to
accept for filing and recordation any of the foregoing instruments or other documents without the payment of any
such tax or governmental assessment.

O.         Directors and Officers of Reorganized Holdings and other Reorganized Debtors

         The existing officers of the Debtors shall remain in their current capacities as officers of the Reorganized
Debtors, subject to the ordinary rights and powers of the board of directors to remove or replace them in accordance
with the Debtors’ organizational documents and any applicable employment agreements.

         The New Board shall consist of seven (7) directors. The Prepetition Lenders shall identify potential
directors through use of a search firm acceptable to the Prepetition Agent (with such reasonable fees and expenses to
be paid by the Debtors) and shall initially designate all such directors upon consultation with the Debtors’ Chief
Executive Officer; provided, however, that certain independent directors may be requested to continue to serve on
the New Board. The identity of each of the members of the New Board will be disclosed prior to the Confirmation
Hearing and any directors elected pursuant to this section shall be subject to approval of the Bankruptcy Court
pursuant to section 1129(a)(5) of the Bankruptcy Code. The existing directors of each of the subsidiary Debtors


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shall remain in their current capacities as directors of the applicable Reorganized Debtor until replaced or removed
in accordance with the organizational documents of the applicable Reorganized Debtors.

P.         Preservation of Rights of Action

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to the releases set forth in Article
X.E below, the Reorganized Debtors shall retain and may enforce all rights to commence and pursue, as appropriate,
any and all Causes of Action, whether arising before or after the Commencement Date, and the Reorganized
Debtors’ rights to commence, prosecute, or settle such Causes of Action shall be preserved notwithstanding the
occurrence of the Effective Date. The Reorganized Debtors may pursue such Causes of Action, as appropriate, in
accordance with the best interests of the Reorganized Debtors. No Person may rely on the absence of a specific
reference in the Plan, the Plan Supplement or the Disclosure Statement to any Cause of Action against them
as any indication that the Debtors or Reorganized Debtors, as applicable, will not pursue any and all
available Causes of Action against them. The Debtors or Reorganized Debtors, as applicable, expressly
reserve all rights to prosecute any and all Causes of Action against any Person, except as otherwise expressly
provided in the Plan. Unless any Causes of Action against an Entity are expressly waived, relinquished,
exculpated, released, compromised or settled in the Plan or a Bankruptcy Court order, the Reorganized Debtors
expressly reserve all Causes of Action, for later adjudication, and, therefore no preclusion doctrine, including the
doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable or
otherwise) or laches, shall apply to such Causes of Action upon, after, or as a consequence of the Confirmation or
the Effective Date.

         Subject to the releases set forth in Article X.E below, the Reorganized Debtors reserve and shall retain the
Causes of Action notwithstanding the rejection or repudiation of any Executory Contract or Unexpired Lease during
the Chapter 11 Cases or pursuant to the Plan. In accordance with section 1123(b)(3) of the Bankruptcy Code, any
Causes of Action that a Debtor may hold against any Entity shall vest in the applicable Reorganized Debtor, as the
case may be. The applicable Reorganized Debtor, through its authorized agents or representatives, shall retain and
may exclusively enforce any and all such Causes of Action. The Reorganized Debtors shall have the exclusive
right, authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle, compromise,
release, withdraw or litigate to judgment any such Causes of Action and to decline to do any of the foregoing
without the consent or approval of any third party or further notice to or action, order or approval of the Bankruptcy
Court.

         Further, any recovery paid or payable to the Debtors or the Prepetition Lenders from proceeds of any Cause
of Action against the Consenting Shareholders (either directly or indirectly or pursuant to the subordination
provisions of the Senior Subordinated Notes Indenture) shall be payable to such Consenting Shareholders, and if any
of such parties receive any recovery on account of such Cause of Action, they shall hold the proceeds of any
payment thereof in trust for the Consenting Shareholders and shall promptly transfer such proceeds or payment, as
the case may be, to the Consenting Shareholders.

                                           ARTICLE V.
                          COMPENSATION, PENSION AND BENEFITS PROGRAMS

A.         Management Equity Plan

         On or as soon as practical after the Effective Date, the New Board will adopt and implement a Management
Equity Plan whereby equity awards (in the form of restricted stock, options or warrants) for 7.5% of the New
Common Stock (on a fully diluted basis) of the Reorganized Debtors will be granted to continuing employees of the
Debtors and members of the New Board with pricing, vesting and exercise terms to be determined by the New
Board upon consultation with the Reorganized Debtors’ Chief Executive Officer; provided, that such equity awards
shall not include more than 2.5% in the form of restricted New Common Stock. The Debtors reserve the right to
amend the Management Equity Plan with the consent of the Prepetition Agent and the Required Consenting Lenders
at any time prior to the Effective Date.




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B.         Compensation Plans

         Subject only to the occurrence of the Effective Date, the Enterprise Value Maximization Plan and the
Variable Compensation Plan, in substantially the form to be set forth in the Plan Supplement, shall become effective
without any further action by the Reorganized Debtors.

C.         Compensation and Benefit Programs

         The Debtors do not believe that all of the Compensation and Benefits Programs are Executory Contracts,
but for purposes of the Plan, the Compensation and Benefits Programs shall be deemed to be, and shall be treated as
though they are, Executory Contracts and, except as set forth below, the Reorganized Debtors’ obligations under the
Compensation and Benefits Programs shall be deemed assumed on the Effective Date pursuant to the provisions of
section 365 and 1123 of the Bankruptcy Code, except for:

                   (a)      Compensation and Benefits Programs listed in the Plan Supplement to be rejected or
                            terminated;

                   (b)      Compensation and Benefits Programs that have previously been rejected or terminated;
                            and

                   (c)      Compensation and Benefits Programs that, as of the entry of the Confirmation Order, are
                            the subject of pending rejection procedures or a motion to reject, or have been
                            specifically waived by the beneficiaries of any employee benefit plan or contract.

          The assumption or continuation of Compensation and Benefits Programs as set forth herein shall not be
deemed to trigger any applicable change of control, immediate vesting, termination, or similar provisions therein
(unless a Compensation and Benefits Program counterparty timely objects to the assumption or continuation
contemplated by this Section in which case any such Compensation and Benefits Program shall be deemed rejected
or discontinued as of immediately prior to the Commencement Date). No counterparty shall have rights under a
Compensation and Benefits Program assumed pursuant to this Article V.C other than those applicable immediately
prior to such assumption or continuation.

         For the avoidance of doubt, the Debtors are not seeking to assume any obligations in connection with the
Non-Qualified Retirement Plans in connection with the Plan. Claims arising from the discontinuation, rejection or
termination of the Non-Qualified Retirement Plans will be treated as Other General Unsecured Claims in Class 5.

D.         Continuation of Retiree Benefits and Pension Plan

         Notwithstanding anything to the contrary herein or otherwise, the Reorganized Debtors’ obligations with
respect to the payment of “retiree benefits” (as that term is defined in section 1114(a) of the Bankruptcy Code) shall
continue for the duration of the periods the Debtors have obligated themselves to provide such benefits, if any, and
subject to any contractual rights to terminate or modify such benefits.

          The Debtors or the Reorganized Debtors, as applicable, shall also continue the Pension Plan in accordance
with its terms, and the Debtors or Reorganized Debtors, as applicable, shall satisfy the minimum funding standards
and administer the Pension Plan in accordance with the provisions of ERISA and the Internal Revenue Code, subject
to any contractual or statutory rights to terminate or modify such plan.

E.         Workers’ Compensation Programs

        As of the Effective Date, except as set forth in the Plan Supplement, the Debtors and the Reorganized
Debtors shall continue to honor their obligations under: (i) all applicable workers’ compensation laws in states in
which the Reorganized Debtors operate; and (ii) the Debtors’ written contracts, agreements, agreements of
indemnity, self-insurer workers’ compensation bonds, policies, programs, and plans for workers’ compensation and
workers’ compensation insurance.


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          All Proofs of Claims on account of workers’ compensation shall be deemed withdrawn automatically and
without any further notice to or action, order, or approval of the Bankruptcy Court; provided, however, that nothing
in the Plan shall limit, diminish, or otherwise alter the Debtors’ or Reorganized Debtors’ defenses, Causes of Action,
or other rights under applicable non-bankruptcy law with respect to any such contracts, agreements, policies,
programs and plans; provided, further, that nothing herein shall be deemed to impose any obligations on the Debtors
in addition to what is provided for under applicable state law.

                                                   ARTICLE VI.

                 TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.         Assumption and Rejection of Executory Contracts and Unexpired Leases

          Subject to the provisions herein, each of the Debtors’ Executory Contracts and Unexpired Leases shall be
deemed assumed as of the Effective Date except any Executory Contract or Unexpired Lease (a) previously assumed
or rejected by the Debtors during these Chapter 11 Cases, (b) identified on the Contract/Lease Schedule (which shall
be filed with the Bankruptcy Court on the Contract/Lease Schedule Date) as an Executory Contract or Unexpired
Lease designated for rejection, (c) which is the subject of a separate motion or notice to reject filed by the Debtors
and pending as of the Confirmation Hearing.

         Except as expressly provided otherwise, the Plan shall give effect to any subordination rights as required by
section 510(a) of the Bankruptcy Code.

         Entry of the Confirmation Order by the Bankruptcy Court shall constitute an order approving the
assumptions or rejections of such Executory Contracts and Unexpired Leases as set forth in the Plan, all pursuant to
sections 365(a) and 1123 of the Bankruptcy Code. Unless otherwise indicated, all assumptions or rejections of such
Executory Contracts and Unexpired Leases in the Plan are effective as of the Effective Date. Each such Executory
Contract and Unexpired Lease assumed pursuant to the Plan or by Bankruptcy Court order, and not assigned to a
third party prior to the Effective Date, shall re-vest in and be fully enforceable by the applicable contracting
Reorganized Debtor in accordance with its terms, except as such terms may have been modified by agreement of the
parties or order of the Bankruptcy Court. Notwithstanding anything to the contrary in the Plan, the Debtors or
Reorganized Debtors, as applicable, reserve the right to alter, amend, modify or supplement the Executory Contracts
and Unexpired Leases identified on the Contract/Lease Schedule in their discretion prior to the Effective Date on
proper notice to the non-debtor Entity party thereto.

B.         Cure of Defaults for Assumed Executory Contracts and Unexpired Leases

         Any provisions or terms of the Debtors’ Executory Contracts or Unexpired Leases to be assumed pursuant
to the Plan that are, or may be, alleged to be in default, shall be satisfied, pursuant to section 365(b)(1) of the
Bankruptcy Code, solely by Cure or by an agreed-upon waiver of Cure on or as soon as reasonably practicable after
the Effective Date.

          The Debtors will file the Contract/Lease Schedule(s) with the Bankruptcy Court at least twenty (20) days
prior to the Confirmation Hearing. The Contract/Lease Schedule will include (a) the name of the non-debtor
counterparty, (b) the legal description of the contract or lease to be assumed or rejected and (c) in the case of
assumption, the proposed Cure, if any. On or as soon as practicably thereafter, with the assistance of the Noticing
and Claims Agent, the Debtors will serve the Contract/Lease Schedule and notice of filing upon each non-debtor
counterparty listed thereon that will describe the procedures by which such parties may object to the proposed
assumption or rejection of their respective Executory Contract or Unexpired Lease and explain how such disputes
will be resolved by the Bankruptcy Court if the parties are not able to resolve a dispute consensually.

        Objections, if any, to the proposed assumption and/or Cure or rejection by the Debtors of any Executory
Contract or Unexpired Lease listed on the Contract/Lease Schedule, must be filed with the Bankruptcy Court and
served so as to be actually received by the Debtors prior to the Confirmation Hearing on or before a date to be
determined, but that in any event is consistent with the provisions of the Debtors’ Case Management Order.


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        Any counterparty to an Executory Contract and Unexpired Lease that fails to object timely to the
proposed assumption or Cure will be deemed to have assented to such matters, and any subsequent or
additional requests for Cure, other payments or assurances of future performance shall be disallowed,
automatically and forever barred from assertion and shall not be enforceable against any Reorganized
Debtor, without the need for any objection by the Reorganized Debtors or further notice to or action, order,
or approval of the Bankruptcy Court, and any Claim for Cure shall be deemed fully satisfied, released and
discharged, notwithstanding anything included in the Schedules or in any Proof of Claim to the contrary.

         Nothing shall prevent the applicable Reorganized Debtor from paying any Cure despite the failure of the
relevant counterparty to file such request for payment of such Cure. The Reorganized Debtors also may settle any
Cure without further notice to or action, order, or approval of the Bankruptcy Court.

         In the event of a dispute regarding (1) the amount of any payments to Cure such a default, (2) the ability of
the Reorganized Debtors or any assignee to provide “adequate assurance of future performance” (within the
meaning of section 365 of the Bankruptcy Code) under the contract or lease to be assumed or (3) any other matter
pertaining to assumption, then Cure shall occur as soon as reasonably practicable after entry of a Final Order
resolving such dispute, approving such assumption (and, if applicable, assignment), or as may be agreed upon by the
applicable Debtor or Reorganized Debtor, and the counterparty to the Executory Contract or Unexpired Lease.

        If an objection to Cure is sustained by the Bankruptcy Court, the Reorganized Debtors in their sole option,
may elect to reject such Executory Contract or Unexpired Lease in lieu of assuming it on proper notice to the non-
debtor Entity party thereto, which non-debtor Entity parties shall then be entitled to file Proofs of Claim asserting
Claims arising from the rejection thereof, if applicable, in accordance with the terms of the Plan and the Claims Bar
Date Order entered by the Bankruptcy Court in these Chapter 11 Cases.

         Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise, except any
Executory Contract with a state or local franchise authority, shall result in the full release and satisfaction of any
Claims or defaults, whether monetary or nonmonetary, including defaults of provisions restricting the change in
control or ownership interest (or payments relating to such change in control) or composition or other bankruptcy-
related defaults, arising under any assumed Executory Contract or Unexpired Lease at any time prior to or upon the
effective date of assumption.

         Except as provided elsewhere in the Plan, any Proof of Claim filed with respect to an Executory Contract or
Unexpired Lease that has been assumed shall be deemed disallowed and expunged, without further notice to or
action, order or approval of the Bankruptcy Court.

        The Debtors or Reorganized Debtors, as applicable, reserve the right, either to reject or nullify, the
assumption of any Executory Contract or Unexpired Lease no later than thirty (30) days after entry of any
Final Order determining the Cure or any request for adequate assurance of future performance required to
assume such Executory Contract or Unexpired Lease.

          Except as otherwise set forth herein, assumption of any Executory Contract or Unexpired Lease pursuant to
the Plan or otherwise, shall result in the full release and satisfaction of any Claims or defaults, whether monetary or
nonmonetary, including defaults of provisions restricting the change in control or ownership interest (or payments
relating to such change in control) or composition or other bankruptcy-related defaults, arising under any assumed
Executory Contract or Unexpired Lease at any time prior to or upon the effective date of assumption. Except as
provided elsewhere herein, any Proof of Claim filed with respect to an Executory Contract or Unexpired Lease that
has been assumed shall be deemed disallowed and expunged, without further notice to or action, order or approval
of the Bankruptcy Court.




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C.         Claims Based on Rejection of Executory Contracts and Unexpired Leases

         Unless otherwise provided by an order of the Bankruptcy Court, any Proofs of Claim asserting Claims
arising from the rejection of the Debtors’ Executory Contracts or Unexpired Leases pursuant to the Plan or
otherwise must be filed by Holders of such Claims in accordance with the terms of the Plan and the Claims Bar Date
Order no later than thirty (30) days after the later of (1) the Effective Date or (2) the effective date of earlier
rejection for such Holders to be entitled to receive distributions under the Plan on account of such Claims.

         Any Proofs of Claim arising from the rejection of the Debtors’ Executory Contracts or Unexpired
Leases that are not timely filed shall be disallowed automatically, forever barred from assertion, and shall not
be enforceable against any Reorganized Debtor without the need for any objection by the Reorganized
Debtors or further notice to or action, order, or approval of the Bankruptcy Court, and any Claim arising out
of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully satisfied, released and
discharged, notwithstanding anything in the Schedules or a Proof of Claim to the contrary.

D.         Contracts and Leases Entered Into After the Commencement Date

         Contracts and leases entered into after the Commencement Date by any Debtor, including any Executory
Contracts and Unexpired Leases assumed by such Debtor, will be performed by the Debtor or Reorganized Debtor
liable thereunder in the ordinary course of its business. Accordingly, such contracts and leases (including any
assumed Executory Contracts and Unexpired Leases) will survive and remain unaffected by entry of the
Confirmation Order.

E.         Directors and Officers Insurance Policies and Agreements

         The Debtors do not believe that the D&O Liability Insurance Policies issued to, or entered into by, the
Debtors prior to the Commencement Date constitute executory contracts. To the extent that such insurance policies
or agreements are considered to be executory contracts, then, notwithstanding anything in the Plan to the contrary,
the Reorganized Debtors shall be deemed to have assumed all of the Debtors’ unexpired D&O Liability Insurance
Policies pursuant to section 365(a) of the Bankruptcy Code effective as of the Effective Date. Entry of the
Confirmation Order will constitute the Bankruptcy Court’s approval of the Reorganized Debtors’ foregoing
assumption of each of the unexpired D&O Liability Insurance Policies. Notwithstanding anything to the contrary
contained in the Plan, confirmation of the Plan shall not discharge, impair or otherwise modify any indemnity
obligations assumed by the foregoing assumption of the D&O Liability Insurance Policies, and each such indemnity
obligation will be deemed and treated as an Executory Contract that has been assumed by the Debtors under the Plan
as to which no Proof of Claim need be filed.

         In addition, after the Effective Date, none of the Reorganized Debtors shall terminate or otherwise reduce
the coverage under any D&O Liability Insurance Policies (including any “tail policy”) in effect on the
Commencement Date, with respect to conduct occurring prior thereto, and all directors and officers of the Debtors
who served in such capacity at any time prior to the Effective Date shall be entitled to the full benefits of any such
policy for the full term of such policy regardless of whether such directors and officers remain in such positions after
the Effective Date.

F.         Indemnification and Reimbursement Obligations

          On and from the Effective Date, and except as prohibited by applicable law or subject to the limitations set
forth herein, the Reorganized Debtors shall assume all indemnification obligations currently in place, whether in the
bylaws, certificates of incorporation (or other formation documents), board resolutions, employment contracts or
other agreements for the current and former directors, officers, managers, employees, attorneys, other professionals
and agents of the Debtors and such current and former directors’, officers’, managers’, and employees’ respective
Affiliates (collectively, the “Indemnified Parties”) to the extent set forth herein. Without limiting the foregoing and
except as prohibited by applicable law, the Debtors shall indemnify and hold harmless each of the Indemnified
Parties for all costs, expenses, loss, damage or liability incurred by any such Indemnified Party arising from or
related in any way to any and all Causes of Action whether known or unknown, whether for tort, contract, violations
of federal or state securities laws or otherwise, including any claims or causes of action, whether direct or derivative,

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liquidated or unliquidated, fixed or contingent, disputed or undisputed, matured or unmatured, known or unknown,
foreseen or unforeseen, asserted or unasserted, based in whole or in part upon any act or omission, transaction or
other occurrence or circumstances existing or taking place prior to or on the Effective Date arising from or related in
any way to the Debtors, including those arising from or related in any way to: (1) any action or omission of any such
Indemnified Party with respect to any indebtedness of or any Equity Interest in the Debtors (including any action or
omission of any such Indemnified Party with respect to the acquisition, holding, voting or disposition of any such
investment); (2) any action or omission of any such Indemnified Party in such Indemnified Party’s capacity as an
officer, director, member, employee, partner or agent of, or advisor to any Debtor; (3) any disclosure made or not
made by any Indemnified Party to any current or former Holder of any such indebtedness of or any such Equity
Interest in the Debtors; (4) any consideration paid to any such Indemnified Party by any of the Debtors in respect of
any services provided by any such Indemnified Party to any Debtor; and (5) any action taken or not taken in
connection with the Chapter 11 Cases or the Plan. In the event that any such Indemnified Party becomes involved in
any action, proceeding or investigation brought by or against any Indemnified Party, as a result of matters to which
the foregoing “Indemnification” may relate, the Reorganized Debtors shall promptly reimburse any such
Indemnified Party for its reasonable and documented legal and other expenses (including advancing the costs of any
investigation and preparation prior to final adjudication) incurred in connection therewith as such expenses are
incurred and after a request for indemnification is made in writing, with reasonable documentation in support
thereof; provided, however, that, with respect to former officers and directors, the Debtors’ obligation to indemnify
such individuals shall be limited to the extent of available coverage under their D&O Liability Insurance Policies
(and payable from the proceeds of such D&O Liability Insurance Policies), including advancing the costs of any
investigation and preparation prior to final adjudication as such expenses are incurred and after a request for
indemnification is made in writing, with reasonable documentation in support thereof.

G.         Reservation of Rights

         Neither the exclusion nor inclusion of any contract or lease in the Plan Supplement, nor anything contained
in the Plan, shall constitute an admission by the Debtors that any such contract or lease is in fact an Executory
Contract or Unexpired Lease or that any Reorganized Debtor has any liability thereunder. If there is a dispute
regarding whether a contract or lease is or was executory or unexpired at the time of assumption or rejection, the
Debtors or Reorganized Debtors, as applicable, shall have thirty (30) days following entry of a Final Order resolving
such dispute to alter their treatment of such contract or lease.

H.         Nonoccurrence of Effective Date

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with
respect to any consensual request to extend the deadline for assuming or rejecting unexpired leases pursuant to
section 365(d)(4) of the Bankruptcy Code.

                                                    ARTICLE VII.

                                   PROVISIONS GOVERNING DISTRIBUTIONS

A.         Distributions for Claims Allowed as of the Effective Date

         Except as otherwise provided in the Plan, a Final Order or as agreed to by the relevant parties, the
Reorganized Debtors shall make initial distributions under the Plan on account of Claims Allowed before the
Effective Date on or as soon as practicable after the Initial Distribution Date; provided, however, that payments on
account of Other General Unsecured Claims that become Allowed Claims on or before the Effective Date shall
commence on the Effective Date.




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B.         Distributions on Account of Claims Allowed After the Effective Date

           1.    Payments and Distributions on Disputed Claims

        Except as otherwise provided in the Plan, a Final Order or as agreed to by the relevant parties, distributions
under the Plan on account of a Disputed Claim that becomes an Allowed Claim after the Effective Date shall be
made on the first Periodic Distribution Date after the Disputed Claim becomes an Allowed Claim.

           2.    Special Rules for Distributions to Holders of Disputed Claims

         Notwithstanding any provision otherwise in the Plan and except as otherwise agreed to by the relevant
parties no partial payments and no partial distributions shall be made with respect to a Disputed Claim until all such
disputes in connection with such Disputed Claim have been resolved by settlement or Final Order. In the event that
there are Disputed Claims requiring adjudication and resolution, the Reorganized Debtors shall establish appropriate
reserves for potential payment of such Claims.

C.         Other General Unsecured Claims Escrow Account

          On or as reasonably practicable after the Effective Date, $3 million shall be deposited into an escrow
account separate and apart from the Debtors’ general operating funds to be maintained in trust for the benefit of
Holders of Allowed Class 5 Other General Unsecured Claims. Distributions from this account to Holders of
Allowed Class 5 Other General Unsecured Claims shall be made in accordance with the provisions governing
distribution set forth in Article VI of the Plan. To the extent the account is an interest bearing account, Holders of
Allowed Class 5 Claims will share ratably in any accrued interest. Upon payment in full of all Allowed Class 5
Other General Unsecured Claims, all funds remaining in the escrow account, if any, and all interest and/or other
similar earnings therefrom, if any, shall be paid over to, vest in and become the property of the Reorganized Debtors
in accordance with applicable non-bankruptcy law.

D.         Delivery and Distributions and Undeliverable or Unclaimed Distributions

           1.    Record Date for Distributions

          On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
distributions shall instead be authorized and entitled to recognize only those Holders of Claims listed on the Claims
Register as of the close of business on the Distribution Record Date. If a Claim, other than one based on a publicly
traded security is transferred twenty (20) or fewer days before the Distribution Record Date, the Distribution Agent
shall make distributions to the transferee only to the extent practical and, in any event, only if the relevant transfer
form contains an unconditional and explicit certification and waiver of any objection to the transfer by the
transferor.

           2.    Delivery of Distributions in General

          Except as otherwise provided herein, the Debtors or the Reorganized Debtors, as applicable, shall make
distributions to Holders of Allowed Claims at the address for each such Holder as indicated on the Debtors’ records
as of the date of any such distribution; provided, however, that the manner of such distributions shall be determined
at the discretion of the Debtors or the Reorganized Debtors, as applicable; and provided further, that the address for
each Holder of an Allowed Claim shall be deemed to be the address set forth in any Proof of Claim filed by that
Holder.

           3.    Distributions by Distribution Agents

         The Debtors and the Reorganized Debtors, as applicable, shall have the authority, in their sole discretion, to
enter into agreements with one or more Distribution Agents to facilitate the distributions required hereunder. As a
condition to serving as a Distribution Agent, a Distribution Agent must (a) affirm its obligation to facilitate the
prompt distribution of any documents, (b) affirm its obligation to facilitate the prompt distribution of any recoveries


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or distributions required hereunder and (c) waive any right or ability to setoff, deduct from or assert any lien or
encumbrance against the distributions required hereunder that are to be distributed by such Distribution Agent. The
Debtors or the Reorganized Debtors, as applicable, shall pay to the Distribution Agents all reasonable and
documented fees and expenses of the Distribution Agents without the need for any approvals, authorizations, actions
or consents.

         The Distribution Agents shall submit detailed invoices to the Debtors or the Reorganized Debtors, as
applicable, for all fees and expenses for which the Distribution Agent seeks reimbursement and the Debtors or the
Reorganized Debtors, as applicable, shall pay those amounts that they, in their sole discretion, deem reasonable, and
shall object in writing to those fees and expenses, if any, that the Debtors or the Reorganized Debtors, as applicable,
deem to be unreasonable. In the event that the Debtors or the Reorganized Debtors, as applicable, object to all or
any portion of the amounts requested to be reimbursed in a Distribution Agent’s invoice, the Debtors or the
Reorganized Debtors, as applicable, and such Distribution Agent shall endeavor, in good faith, to reach mutual
agreement on the amount of the appropriate payment of such disputed fees and/or expenses. In the event that the
Debtors or the Reorganized Debtors, as applicable, and a Distribution Agent are unable to resolve any differences
regarding disputed fees or expenses, either party shall be authorized to move to have such dispute heard by the
Bankruptcy Court.

           4.    Minimum Distributions

          Notwithstanding anything herein to the contrary, the Reorganized Debtors shall not be required to make
distributions or payments of less than $10 (whether Cash or otherwise) and shall not be required to make partial
distributions or payments of fractions of dollars. Whenever any payment or distribution of a fraction of a dollar or
fractional share of New Common Stock under the Plan would otherwise be called for, the actual payment or
distribution will reflect a rounding of such fraction to the nearest whole dollar or share of New Common Stock (up
or down), with half dollars and half shares of New Common Stock or less being rounded down.

         No Distribution Agent shall have any obligation to make a distribution on account of an Allowed Claim if:
(a) the aggregate amount of all distributions authorized to be made from on the Periodic Distribution Date in
question is or has an economic value less than $25,000, unless such distribution is a final distribution; or (b) the
amount to be distributed to the specific Holder of an Allowed Claim on such Periodic Distribution Date does not
constitute a final distribution to such Holder and is or has an economic value less than $10, which shall be treated as
an undeliverable distribution under Article VII.D.5 below.

           5.    Undeliverable Distributions

                     (a)      Holding of Certain Undeliverable Distributions

         If any distribution to a Holder of an Allowed Claim made in accordance herewith is returned to the
Reorganized Debtors (or their Distribution Agent) as undeliverable, no further distributions shall be made to such
Holder unless and until the Reorganized Debtors (or their Distribution Agent) are notified in writing of such
Holder’s then current address, at which time all currently due missed distributions shall be made to such Holder on
the next Periodic Distribution Date. Undeliverable distributions shall remain in the possession of the Reorganized
Debtors, subject to Article VII.D.5(b) hereof, until such time as any such distributions become deliverable.
Undeliverable distributions shall not be entitled to any additional interest, dividends or other accruals of any kind on
account of their distribution being undeliverable.

                     (b)      Failure to Claim Undeliverable Distributions

         No later than 120 days after the Effective Date, the Reorganized Debtors shall File with the Bankruptcy
Court a list of the Holders of undeliverable distributions. This list shall be maintained and updated periodically in
the sole discretion of the Reorganized Debtors for as long as the Chapter 11 Cases stay open. Any Holder of an
Allowed Claim, irrespective of when a Claim becomes an Allowed Claim, that does not notify the Reorganized
Debtors of such Holder’s then current address in accordance herewith within one year of the Effective Date, shall



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have its Claim for such undeliverable distribution discharged and shall be forever barred, estopped and enjoined
from asserting any such Claim against the Reorganized Debtors or their property.

          In such cases, (i) any Cash or New Common Stock held for distribution on account of Allowed Claims
shall be redistributed to Holders of Allowed Claims in the applicable Class on the next Periodic Distribution Date
and (ii) any Cash held for distribution to other creditors shall be deemed unclaimed property under section 347(b) of
the Bankruptcy Code and become property of the Reorganized Debtors, free of any Claims of such Holder with
respect thereto. Nothing contained herein shall require the Reorganized Debtors to attempt to locate any Holder of
an Allowed Claim.

                   (c)      Failure to Present Checks

         Checks issued by the Distribution Agent on account of Allowed Claims shall be null and void if not
negotiated within 180 days after the issuance of such check. In an effort to ensure that all Holders of Allowed
Claims receive their allocated distributions, the Reorganized Debtors shall File with the Bankruptcy Court a list of
the Holders of any un-negotiated checks no later than 160 days after the issuance of such checks. This list shall be
maintained and updated periodically in the sole discretion of the Reorganized Debtors for as long as the Chapter 11
Cases stay open. Requests for reissuance of any check shall be made directly to the Distribution Agent by the
Holder of the relevant Allowed Claim with respect to which such check originally was issued.

         Any Holder of an Allowed Claim holding an un-negotiated check that does not request reissuance of such
un-negotiated check within 120 days after the date of mailing or other delivery of such check shall have its Claim
for such un-negotiated check discharged and be discharged and forever barred, estopped and enjoined from asserting
any such Claim against the Reorganized Debtors or their property. In such cases, any Cash held for payment on
account of such Claims shall be property of the Reorganized Debtors, free of any Claims of such Holder with
respect thereto. Nothing contained herein shall require the Reorganized Debtors to attempt to locate any Holder of
an Allowed Claim.

E.         Compliance with Tax Requirements/Allocations

          In connection with the Plan, to the extent applicable, the Reorganized Debtors shall comply with all tax
withholding and reporting requirements imposed on them by any governmental unit, and all distributions pursuant
hereto shall be subject to such withholding and reporting requirements. Notwithstanding any provision in the Plan
to the contrary, the Reorganized Debtors and the Distribution Agent shall be authorized to take all actions necessary
or appropriate to comply with such withholding and reporting requirements, including liquidating a portion of the
distribution to be made under the Plan to generate sufficient funds to pay applicable withholding taxes, withholding
distributions pending receipt of information necessary to facilitate such distributions or establishing any other
mechanisms they believe are reasonable and appropriate. The Reorganized Debtors reserve the right to allocate all
distributions made under the Plan in compliance with all applicable wage garnishments, alimony, child support and
other spousal awards, liens and encumbrances. For tax purposes, distributions in full or partial satisfaction of
Allowed Claims shall be allocated first to the principal amount of Allowed Claims, with any excess allocated to
unpaid interest that accrued on such Claims.

F.         Timing and Calculation of Amounts to Be Distributed

          Except as otherwise provided herein, on the Initial Distribution Date (or if a Claim is not an Allowed Claim
on the Effective Date, on the date that such a Claim becomes an Allowed Claim, or as soon as reasonably
practicable thereafter), each Holder of an Allowed Claim against the Debtors shall receive the full amount of the
distributions that the Plan provides for Allowed Claims in the applicable Class; provided, however, that distributions
on account of Other General Unsecured Claims that become Allowed Claims before the Effective Date shall be paid
on the Effective Date. If and to the extent that there are Disputed Claims, distributions on account of any such
Disputed Claims shall be made pursuant to the provisions set forth in the applicable class treatment or in Article VII
hereof. Except as otherwise provided herein, Holders of Claims shall not be entitled to interest, dividends or
accruals on the distributions provided for herein, regardless of whether such distributions are delivered on or at any
time after the Effective Date.


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G.         Setoffs

          The Debtors and the Reorganized Debtors may withhold (but not setoff except as set forth below) from the
distributions called for hereunder on account of any Allowed Claim an amount equal to any Claims, Equity Interests,
rights and Causes of Action of any nature that the Debtors or the Reorganized Debtors may hold against the Holder
of any such Allowed Claim. In the event that any such Claims, Equity Interests, rights and Causes of Action of any
nature that the Debtors or the Reorganized Debtors may hold against the Holder of any such Allowed Claim are
adjudicated by Final Order or otherwise resolved, the Debtors may, pursuant to section 553 of the Bankruptcy Code
or applicable non-bankruptcy law, set off against any Allowed Claim and the distributions to be made pursuant
hereto on account of such Allowed Claim (before any distribution is made on account of such Allowed Claim), the
amount of any adjudicated or resolved Claims, Equity Interests, rights and Causes of Action of any nature that the
Debtors or the Reorganized Debtors may hold against the Holder of any such Allowed Claim, but only to the extent
of such adjudicated or resolved amount. Neither the failure to effect such a setoff nor the allowance of any Claim
hereunder shall constitute a waiver or release by the Debtors or the Reorganized Debtors of any such Claims, Equity
Interests, rights and Causes of Action that the Debtors or the Reorganized Debtors may possess against any such
Holder, except as specifically provided herein.

H.         Surrender of Canceled Instruments or Securities

          Each record Holder of a Senior Subordinated Note Claim shall be deemed to have surrendered the
certificates or other documentation underlying each such Claim, and all such surrendered certificates and other
documentations shall be deemed to be canceled pursuant to Article IV.F hereto, except to the extent otherwise
provided herein. The Indenture Trustee may (but shall not be required to) request that registered Holders of the
Senior Subordinated Notes surrender their notes for cancellation.

I.         Claims Paid or Payable by Third Parties.

           1.    Claims Paid by Third Parties.

          The Debtors or the Reorganized Debtors, as applicable, shall reduce in full a Claim, and such Claim shall
be disallowed without a Claims objection having to be filed and without any further notice to or action, order, or
approval of the Bankruptcy Court, to the extent that the Holder of such Claim receives payment in full on account of
such Claim from a party that is not a Debtor or Reorganized Debtor. Subject to the last sentence of this paragraph,
to the extent a Holder of a Claim receives a distribution on account of such Claim and receives payment from a party
that is not a Debtor or a Reorganized Debtor on account of such Claim, such Holder shall, within two weeks of
receipt thereof, repay or return the distribution to the applicable Reorganized Debtor, to the extent the Holder’s total
recovery on account of such Claim from the third party and under the Plan exceeds the amount of such Claim as of
the date of any such distribution under the Plan.

         If the Debtors become aware of the payment by a third party, the Debtors or Reorganized Debtors, as
applicable, will send a notice of wrongful payment to such party requesting return of any excess payments and
advising the recipient of the provisions of the Plan requiring turnover of excess estate funds. The failure of such
Holder to timely repay or return such distribution shall result in the Holder owing the applicable Reorganized Debtor
annualized interest at the Federal Judgment Rate on such amount owed for each Business Day after the two-week
grace period specified above until the amount is repaid.

           2.    Claims Payable by Third Parties.

          No distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors’ insurance policies until the Holder of such Allowed Claim has exhausted all remedies with
respect to such insurance policy. To the extent that one or more of the Debtors’ insurers agrees to satisfy in full or
in part a Claim (if and to the extent adjudicated by a court of competent jurisdiction), then immediately upon such
insurers’ agreement, the applicable portion of such Claim may be expunged without a Claims objection having to be
filed and without any further notice to or action, order, or approval of the Bankruptcy Court.



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           3.    Applicability of Insurance Policies.

         Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims shall be in
accordance with the provisions of any applicable insurance policy. Nothing contained in the Plan shall constitute or
be deemed a waiver of any Cause of Action that the Debtors or any Entity may hold against any other Entity,
including insurers under any policies of insurance, nor shall anything contained herein constitute or be deemed a
waiver by such insurers of any defenses, including coverage defenses, held by such insurers.

                                                        ARTICLE VIII.

      PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED AND DISPUTED CLAIMS

A.         Resolution of Disputed Claims

           1.    Allowance of Claims

         After the Effective Date, the Reorganized Debtors shall have and shall retain any and all rights and
defenses that the Debtors had with respect to any Claim, except with respect to any Claim deemed Allowed under
the Plan. Except as expressly provided in the Plan or in any order entered in the Chapter 11 Cases prior to the
Effective Date (including, without limitation, the Confirmation Order), no Claim shall become an Allowed Claim
unless and until such Claim is deemed Allowed under the Plan or the Bankruptcy Code or the Bankruptcy Court has
entered a Final Order, including, without limitation, the Confirmation Order, in the Chapter 11 Cases allowing such
Claim. All settled claims approved prior to the Effective Date pursuant to a Final Order of the Bankruptcy Court
pursuant to Bankruptcy Rule 9019 or otherwise shall be binding on all parties.

           2.    Prosecution of Objections to Claims

         After the Confirmation Date but before the Effective Date, the Debtors, and after the Effective Date until
the Claims Objection Bar Date, the Reorganized Debtors, shall have the exclusive authority to file objections to
Claims, settle, compromise, withdraw or litigate to judgment objections to any and all Claims, regardless of whether
such Claims are in a Class or otherwise. From and after the Effective Date, the Reorganized Debtors may settle or
compromise any Disputed Claim without any further notice to or action, order or approval of the Bankruptcy Court.
The Reorganized Debtors shall have the sole authority to administer and adjust the Claims Register to reflect any
such settlements or compromises without any further notice to or action, order or approval of the Bankruptcy Court.
With respect to all Tort Claims, an objection is deemed to have been filed timely, thus making each such Claim a
Disputed Claim as of the Claims Objection Bar Date. Each such Tort Claim shall remain a Disputed Claim unless
and until it becomes an Allowed Claim.

           3.    Claims Estimation

         After the Confirmation Date but before the Effective Date, the Debtors, and after the Effective Date, the
Reorganized Debtors may, at any time, request that the Bankruptcy Court estimate (a) any Disputed Claim pursuant
to applicable law and (b) any contingent or unliquidated Claim pursuant to applicable law, including, without
limitation, section 502(c) of the Bankruptcy Code, regardless of whether the Debtors or the Reorganized Debtors
have previously objected to such Claim or whether the Bankruptcy Court has ruled on any such objection, and the
Bankruptcy Court shall retain jurisdiction under 28 U.S.C. §§ 157 and 1334 to estimate any Disputed Claim,
contingent Claim or unliquidated Claim, including during the litigation concerning any objection to any Claim or
during the pendency of any appeal relating to any such objection. Notwithstanding any provision otherwise in the
Plan, a Claim that has been expunged from the Claims Register but that is subject to appeal or has not been the
subject of a Final Order, shall be deemed to be estimated at zero dollars, unless otherwise ordered by the Bankruptcy
Court. All of the aforementioned Claims and objection, estimation and resolution procedures are cumulative and not
exclusive of one another. Claims may be estimated and subsequently compromised, settled, withdrawn or resolved
by any mechanism approved by the Bankruptcy Court.




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           4.    Expungement or Adjustment to Claims Without Objection

         Any Claim that has been paid, satisfied or superseded may be expunged on the Claims Register by the
Reorganized Debtors, and any Claim that has been amended may be adjusted thereon by the Reorganized Debtors,
in both cases without a claims objection having to be filed and without any further notice to or action, order or
approval of the Bankruptcy Court.

           5.    Deadline to File Objections to Claims

           Any objections to Claims shall be filed no later than the Claims Objection Bar Date.

B.         Disallowance of Claims

          All Claims of any Entity from which property is sought by the Debtors or the Reorganized Debtors under
section 542, 543, 550 or 553 of the Bankruptcy Code or that the Debtors or the Reorganized Debtors allege is a
transferee of a transfer that is avoidable under section 522(f), 522(h), 544, 545, 547, 548, 549 or 724(a) of the
Bankruptcy Code shall be disallowed if (i) the Entity, on the one hand, and the Debtors or the Reorganized Debtors,
on the other hand, agree or the Bankruptcy Court has determined by Final Order that such Entity or transferee is
liable to turnover any property or monies under any of the aforementioned sections of the Bankruptcy Code and
(ii) such Entity or transferee has failed to turnover such property by the date set forth in such agreement or Final
Order.

      EXCEPT AS OTHERWISE AGREED, ANY AND ALL PROOFS OF CLAIM FILED AFTER THE
APPLICABLE CLAIMS BAR DATE SHALL BE DEEMED DISALLOWED AND EXPUNGED AS OF
THE EFFECTIVE DATE WITHOUT ANY FURTHER NOTICE TO OR ACTION, ORDER OR
APPROVAL OF THE BANKRUPTCY COURT, AND HOLDERS OF SUCH CLAIMS MAY NOT
RECEIVE ANY DISTRIBUTIONS ON ACCOUNT OF SUCH CLAIMS, UNLESS SUCH LATE PROOF
OF CLAIM IS DEEMED TIMELY FILED BY A BANKRUPTCY COURT ORDER ON OR BEFORE THE
LATER OF (1) THE CONFIRMATION HEARING AND (2) 45 DAYS AFTER THE APPLICABLE
CLAIMS BAR DATE.

C.         Amendments to Claim

         On or after the Effective Date, except as otherwise provided herein, a Claim may not be filed or amended
without the prior authorization of the Bankruptcy Court or the Reorganized Debtors, and, to the extent such prior
authorization is not received, any such new or amended Claim filed shall be deemed disallowed and expunged
without any further notice to or action, order or approval of the Bankruptcy Court.

                                                     ARTICLE IX.

                                CONDITIONS PRECEDENT TO EFFECTIVE DATE

A.         Conditions Precedent to Effective Date

           The following shall be satisfied or waived as conditions precedent to the Effective Date:

         1. The Bankruptcy Court shall have approved the Disclosure Statement, in a manner acceptable to the
Debtors, the Prepetition Agent and the Required Consenting Lenders, as containing adequate information with
respect to the Plan within the meaning of section 1125 of the Bankruptcy Code.

        2. The Plan and all Plan Supplement documents, including any amendments, modifications or
supplements thereto, shall be reasonably acceptable to the Debtors, the Prepetition Agent and the Required
Consenting Lenders.




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         3. The Confirmation Order shall have been entered and become a Final Order in form and in substance
reasonably satisfactory to the Debtors, the Prepetition Agent and Required Consenting Lenders. The Confirmation
Order shall provide that, among other things, the Debtors or the Reorganized Debtors, as appropriate, are authorized
and directed to take all actions necessary or appropriate to consummate the Plan, including, without limitation,
entering into, implementing and consummating the contracts, instruments, releases, leases, indentures and other
agreements or documents created in connection with or described in the Plan.

         4. All documents and agreements necessary to implement the Plan, including, without limitation, the New
Second Priority Term Loan Agreement and the Exit Credit Agreement shall have (a) been tendered for delivery and
(b) been effected or executed. All conditions precedent to such documents and agreements shall have been satisfied
or waived pursuant to the terms of such documents or agreements.

         5. All actions, documents, certificates and agreements necessary to implement this Plan shall have been
effected or executed and delivered to the required parties and, to the extent required, filed with the applicable
governmental units in accordance with applicable laws.

B.         Waiver of Conditions

         The Debtors or the Reorganized Debtors, as applicable, with the consent of the Prepetition Agent and the
Required Consenting Lenders, may waive any of the conditions to the Effective Date set forth above at any time,
without any notice to parties in interest and without any further notice to or action, order or approval of the
Bankruptcy Court, and without any formal action other than proceeding to confirm the Plan. The failure of the
Debtors or Reorganized Debtors, as applicable, or the Prepetition Agent and the Required Consenting Lenders to
exercise any of the foregoing rights shall not be deemed a waiver of any other rights, and each such right shall be
deemed an ongoing right, which may be asserted at any time.

C.         Effect of Non Occurrence of Conditions to the Effective Date

         If the Effective Date does not occur, the Plan shall be null and void in all respects and nothing contained in
the Plan or the Disclosure Statement shall: (1) constitute a waiver or release of any claims by or Claims against or
Equity Interests in the Debtors; (2) prejudice in any manner the rights of the Debtors, any Holders or any other
Entity; or (3) constitute an admission, acknowledgment, offer or undertaking by the Debtors, any Holders or any
other Entity in any respect.

                                                    ARTICLE X.

                   SETTLEMENT, RELEASE, INJUNCTION AND RELATED PROVISIONS

A.         Compromise and Settlement

          Pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rule 9019 and in consideration for the
distributions and other benefits provided pursuant to the Plan, the provisions of the Plan shall constitute a good faith
compromise of all Claims, Interests and controversies relating to the contractual, legal, and subordination rights that
a Holder of a Claim may have with respect to any Allowed Claim or Interest, or any distribution to be made on
account of such Allowed Claim or Interest. The entry of the Confirmation Order shall constitute the
Bankruptcy Court’s approval of the compromise or settlement of all such Claims, Interests and controversies, as
well as a finding by the Bankruptcy Court that such compromise or settlement is in the best interests of the Debtors,
their Estates, and Holders of Claims and Interests and is fair, equitable and reasonable. In accordance with the
provisions of the Plan, pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rule 9019(a), without any
further notice to or action, order, or approval of the Bankruptcy Court, after the Effective Date, the Reorganized
Debtors may compromise and settle Claims against them and Causes of Action against other Entities.




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B.         Subordinated Claims

          The allowance, classification, and treatment of all Allowed Claims and Equity Interests and the respective
distributions and treatments under the Plan take into account and conform to the relative priority and rights of the
Claims and Equity Interests in each Class in connection with any contractual, legal, and equitable subordination
rights relating thereto, whether arising under general principles of equitable subordination, section 510(b) of the
Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code, the Reorganized Debtors reserve
the right to re-classify any Allowed Claim or Interest in accordance with any contractual, legal or equitable
subordination relating thereto. No Holder of a Senior Subordinated Note Claim shall receive any distribution on
account of such Senior Subordinated Note Claim, and all Senior Subordinated Note Claims shall be extinguished.

C.         Discharge of Claims and Termination of Equity Interests

          Pursuant to and to the fullest extent permitted by section 1141(d) of the Bankruptcy Code, and except as
otherwise specifically provided in the Plan, the distributions, rights and treatment that are provided in the Plan shall
be in full and final satisfaction, settlement, release and discharge, effective as of the Effective Date, of all Claims
(including any Intercompany Claims resolved or compromised after the Effective Date by the Reorganized Debtors),
Equity Interests and Causes of Action of any nature whatsoever, including any interest accrued on Claims or Equity
Interests from and after the Commencement Date, whether known or unknown, against, liabilities of, Liens on,
obligations of, rights against, and Equity Interests in, the Debtors, the Reorganized Debtors or any of their assets or
properties, regardless of whether any property shall have been distributed or retained pursuant to the Plan on account
of such Claims and Equity Interests, including demands, liabilities, and Causes of Action that arose before the
Effective Date, any liability (including withdrawal liability) to the extent such Claims or Equity Interests relate to
services performed by the employees of the Debtors prior to the Commencement Date and arise from a termination
of employment or a termination of any employee or retiree benefit program regardless of whether such termination
occurred prior to or after the Effective Date, any contingent or non-contingent liability on account of representations
or warranties issued on or before the Effective Date, and all debts of the kind specified in sections 502(g), 502(h), or
502(i) of the Bankruptcy Code, in each case whether or not: (1) a Proof of Claim or Interest based upon such Claim,
debt, right, or Interest is filed or deemed filed pursuant to section 501 of the Bankruptcy Code; (2) a Claim or
Interest based upon such Claim, debt, right, or Interest is Allowed pursuant to section 502 of the Bankruptcy Code;
or (3) the Holder of such a Claim or Interest has accepted the Plan. Except as otherwise provided herein, any default
by the Debtors or their Affiliates with respect to any Claim or Interest that existed immediately prior to or on
account of the filing of the Chapter 11 Cases shall be deemed cured on the Effective Date. The Confirmation Order
shall be a judicial determination of the discharge of all Claims and Equity Interests subject to the Effective Date
occurring.

D.         Release of Liens

          Except as otherwise provided in the Plan or in any contract, instrument, release or other agreement or
document entered into or delivered in connection with the Plan, on the Effective Date and concurrently with the
applicable distributions made pursuant to Article III hereof and, in the case of a Secured Claim, satisfaction in full of
the portion of the Secured Claim that is Allowed as of the Effective Date, all mortgages, deeds of trust, Liens,
pledges or other security interests against any property of the Estates shall be fully released and discharged, and all
of the right, title and interest of any Holder of such mortgages, deeds of trust, Liens, pledges or other security
interests shall revert to the Reorganized Debtors and their successors and assigns.

E.         Debtor Release

         Pursuant to section 1123(b) of the Bankruptcy Code, and except as otherwise specifically provided in
the Plan, for good and valuable consideration, including the service of the Released Parties in facilitating the
expeditious reorganization of the Debtors and the implementation of the restructuring contemplated by the
Plan, effective as of the Effective Date, the Debtors, the Reorganized Debtors and any Person seeking to
exercise the rights of the Estates, including, without limitation, any successor to the Debtors or any estate
representative appointed or selected pursuant to section 1123(b)(3) of the Bankruptcy Code shall be deemed
to forever release, waive and discharge the Released Parties of any and all claims, obligations, rights, suits,
damages, Causes of Action, remedies and liabilities whatsoever, including any derivative claims asserted on

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behalf of the Debtors, whether known or unknown, foreseen or unforeseen, liquidated or unliquidated,
contingent or fixed, existing or hereafter arising, in law, at equity or otherwise, whether for tort, contract,
violations of federal or state securities laws or otherwise, including, without limitation, those that any of the
Debtors, the Reorganized Debtors, the Estates or their Affiliates would have been legally entitled to assert in
their own right (whether individually or collectively) or on behalf of the Holder of any claim or Equity
Interest, based on or relating to, or in any manner arising from, in whole or in part, the Debtors, the Estates,
the conduct of the Debtors’ businesses, the Chapter 11 Cases, the purchase, sale or rescission or the purchase
or sale of any Security of the Debtors or the Reorganized Debtors, the subject matter of, or the transactions
or events giving rise to, any Claim or Equity Interest that is treated in the Plan, the business or contractual
arrangements between any of the Debtors and any Released Party, the restructuring of claims and Equity
Interests prior to or in the Chapter 11 Cases, the negotiation, formulation or preparation of the Plan, the
Plan Supplement, the Disclosure Statement or related agreements, instruments or other documents, or upon
any other act or omission, transaction, or occurrence taking place on or before the Effective Date of the Plan,
other than claims or liabilities arising out of or relating to any act or omission of a Released Party that
constitutes criminal conduct, willful misconduct or gross negligence.

         Notwithstanding anything to the contrary herein, the foregoing “Debtor Release” shall not operate to
waive or release any Causes of Action of any Debtor: (1) arising under any contract, instrument, agreement,
release or document delivered pursuant to the Plan, including, without limitation, the Exit Credit Agreement,
New Second Priority Term Loan Agreement or the Shareholders Agreement or documents, agreements or
instruments executed in connection therewith or (2) expressly set forth in and preserved by the Plan, the Plan
Supplement or related documents.

         Entry of the Confirmation Order Shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each of the related provisions and
definitions contained herein, and further, shall constitute the Bankruptcy Court’s finding that the Debtor
Release is: (1) in exchange for the good and valuable consideration provided by the Released Parties, (2) a
good faith settlement and compromise of the claims released by the Debtor Release; (3) in the best interests of
the Debtors and all Holders of Claims and Equity Interests; (4) fair, equitable and reasonable; (5) given and
made after reasonable investigation by the Debtors and after notice and opportunity for hearing; and (6) a
bar to any of the Debtors or the Reorganized Debtors asserting any claim released by the Debtor Release
against any of the Released Parties.

F.         Releasing Party Release

         Except as otherwise specifically provided in the Plan, for good and valuable consideration, including
the service of the Released Parties in facilitating the expeditious reorganization of the Debtors and the
implementation of the restructuring contemplated by the Plan, effective as of the Effective Date, the Releasing
Parties (regardless of whether a Releasing Party is a Released Party) shall be deemed to forever release,
waive and discharge the Released Parties of any and all claims, obligations, rights, suits, damages, Causes of
Action, remedies and liabilities whatsoever, including any derivative claims asserted on behalf of a Debtor,
whether known or unknown, foreseen or unforeseen, liquidated or unliquidated, contingent or fixed, existing
or hereafter arising, in law, at equity or otherwise, whether for tort, contract, violations of federal or state
securities laws or otherwise, including, without limitation, those that any of the Debtors, the Reorganized
Debtors, the Estates or their Affiliates would have been legally entitled to assert in their own right (whether
individually or collectively) or on behalf of the Holder of any Claim or Equity Interest, based on or relating
to, or in any manner arising from, in whole or in part, the Debtors, the Estates, the conduct of the Debtors’
businesses, the Chapter 11 Cases, the purchase, sale or rescission or the purchase or sale of any Security of
the Debtors or the Reorganized Debtors, the subject matter of, or the transactions or events giving rise to, any
Claim or Equity Interest that is treated in the Plan, the business or contractual arrangements between any of
the Debtors and any Released Party, the restructuring of Claims and Equity Interests prior to or in the
Chapter 11 Cases, the negotiation, formulation or preparation of the Plan, the Plan Supplement, the
Disclosure Statement or related agreements, instruments or other documents, or upon any other act or
omission, transaction, or occurrence taking place on or before the Effective Date of the Plan, other than
claims or liabilities arising out of or relating to any act or omission of a Released Party that constitutes
criminal conduct, willful misconduct or gross negligence.

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         Notwithstanding anything contained herein to the contrary, the foregoing release does not release
any post-Effective Date obligations of any party under the Plan or any document, instrument, agreement
(including those set forth in the Plan Supplement) executed to implement the Plan.

         Entry of the Confirmation Order Shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the consensual Releasing Party Release, which includes by reference each of the
related provisions and definitions contained herein, and further, shall constitute the Bankruptcy Court’s
finding that the Releasing Party Release is: (1) in exchange for the good and valuable consideration provided
by the Released Parties, (2) a good faith settlement and compromise of the claims released by the Releasing
Parties; (3) in the best interests of the Debtors and all Holders of Claims and Equity Interests; (4) fair,
equitable and reasonable; (5) given and made after notice and opportunity for hearing; and (6) a bar to any
of the Releasing Parties asserting any Claim released by the Releasing Party Release against any of the
Released Parties.

          Notwithstanding anything in the Plan, no Person shall be discharged, released, or relieved from any
liability with respect to the Pension Plan as a result of the Chapter 11 Cases or the Plan, nor shall the PBGC,
the Pension Plan or any other Person be enjoined or precluded from enforcing any liability with respect to
the Pension Plan as a result of the Chapter 11 Cases, the provisions of the Plan or confirmation of the Plan.

G.         Exculpation

        Upon and effective as of the Effective Date, the Debtors and their directors, officers, employees,
attorneys, investment bankers, financial advisors, restructuring consultants and other professional advisors
and agents will be deemed to have solicited acceptances of this Plan in good faith and in compliance with the
applicable provisions of the Bankruptcy Code , including section 1125(e) of the Bankruptcy Code.

          Except with respect to any acts or omissions expressly set forth in and preserved by the Plan, the
Plan supplement or related documents, the Exculpated Parties shall neither have nor incur any liability to
any Entity for any prepetition or postpetition act taken or omitted to be taken in connection with, or arising
from or relating in any way to, the Chapter 11 Cases, including, without limitation, the operation of the
Debtors’ businesses during the pendency of these Chapter 11 Cases; formulating, negotiating, preparing,
disseminating, implementing and/or effecting the Restructuring Support Agreement, the DIP Credit
Agreement, the Disclosure Statement and the Plan (including the Plan Supplement and any related contract,
instrument, release or other agreement or document created or entered into in connection therewith); the
solicitation of votes for the Plan and the pursuit of Confirmation and Consummation of the Plan; the
administration of the Plan and/or the property to be distributed under the Plan; the offer and issuance of any
securities under the Plan, including pursuant to the Rights Offering; and or any other prepetition or
postpetition act taken or omitted to be taken in connection with or in contemplation of the restructuring of
the Debtors. In all respects, each Exculpated Party shall be entitled to rely upon the advice of counsel
concerning his, her or its respective duties under, pursuant to or in connection with, the Plan.

         Notwithstanding anything herein to the contrary, nothing in the foregoing “Exculpation” shall
(1) exculpate any Person or Entity from any liability resulting from any act or omission constituting fraud,
willful misconduct, gross negligence, criminal conduct, malpractice, misuse of confidential information that
causes damages or ultra vires acts as determined by a Final Order or (2) limit the liability of the professionals
of the Exculpated Parties to their respective clients pursuant to N.Y. Comp. Codes R. & Regs. tit. 22 § 1200.8
Rule 1.8(h)(1) (2009).

H.         Injunction

         The satisfaction, release and discharge pursuant to this Article IX of the Plan shall also act as an
injunction against any Person commencing or continuing any action, employment of process or act to collect,
offset, or recover any claim or Cause of Action satisfied, released, or discharged under the Plan or the
Confirmation Order to the fullest extent authorized or provided by the Bankruptcy Code, including, without
limitation, to the extent provided for or authorized by sections 524 and 1141 thereof.


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                                                  ARTICLE XI.

            ALLOWANCE AND PAYMENT OF CERTAIN ADMINISTRATIVE EXPENSE CLAIMS

A.         Administrative Claims

          All requests for payment of an Administrative Claim that accrued on or before the Effective Date that were
not otherwise paid in the ordinary course of business must be filed with the Bankruptcy Court and served on the
Debtors no later than sixty (60) days from the Effective Date (the “Administrative Claim Bar Date”). A notice
setting forth the Administrative Claim Bar Date will be filed on the Bankruptcy Court’s docket and posted on the
Debtors’ restructuring website at http://www.kccllc.net/readers. Further notice of the Administrative Claim Bar
Date will be provided as may be directed by the Bankruptcy Court. No request for payment of an Administrative
Claim need be filed with respect to an Administrative Claim previously Allowed by Final Order.

         The Reorganized Debtors, in their sole and absolute discretion, may settle Administrative Claims in the
ordinary course of business without further Bankruptcy Court approval. The Debtors may also choose to object to
any Administrative Claim no later than ninety (90) days from the Administrative Claim Bar Date, subject to
extensions by the Bankruptcy Court or on motion of a party in interest approved by the Bankruptcy Court.

         Unless the Debtors or the Reorganized Debtors (or other party with standing) object to a timely-filed and
properly served Administrative Claim, such Administrative Claim will be deemed allowed in the amount requested.
In the event that the Debtors or the Reorganized Debtors object to an Administrative Claim, the parties may confer
to try to reach a settlement and, failing that, the Bankruptcy Court will determine whether such Administrative
Claim should be allowed and, if so, in what amount.

        Any requests for payment of Administrative Claims that are not properly filed and served by the
Administrative Claim Bar Date shall not appear on the Claims Register maintained by the Noticing and
Claims Agent and shall be disallowed automatically without the need for any objection from the Debtors or
the Reorganized Debtors or any action by the Bankruptcy Court.

B.         Professional Claims

        1.       Final Fee Applications. All final requests for Professional Compensation and Reimbursement
Claims shall be filed no later than forty-five (45) days after the Effective Date. After notice and a hearing in
accordance with the procedures established by the Bankruptcy Code and prior Bankruptcy Court orders, the
Allowed amounts of such Professional Compensation and Reimbursement Claims shall be determined by the
Bankruptcy Court.

          2.      Payment of Interim Amounts. Except as otherwise provided in the Plan, Retained Professionals
shall be paid pursuant to the Interim Compensation Order.

         3.        Professional Fee Escrow Account. On the Effective Date, the Reorganized Debtors shall fund the
Professional Fee Escrow Account with Cash equal to the aggregate Professional Fee Reserve Amount (defined
below) for all Retained Professionals. The Professional Fee Escrow Account shall be maintained in trust for the
Retained Professionals with respect to whom fees or expenses have been held back pursuant to the Interim
Compensation Order. Such funds shall not be considered property of the Reorganized Debtors. The remaining
amount of Professional Compensation and Reimbursement Claims owing to the Retained Professionals shall be paid
in Cash to such Retained Professionals by the Reorganized Debtors from the Professional Fee Escrow Account,
without interest or other earnings therefrom, when such Claims are Allowed by a Bankruptcy Court order. When all
Professional Compensation and Reimbursement Claims have been paid in full, amounts remaining in the
Professional Fee Escrow Account, if any, shall be paid to the Reorganized Debtors.

         4.      Professional Fee Reserve Amount. To receive payment for unbilled fees and expenses incurred
through the Effective Date, the Retained Professionals shall estimate their Accrued Professional Compensation (net
of any unapplied retainer amounts) prior to and as of the Effective Date and shall deliver such estimate to the


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Debtors on or before the Effective Date. If a Retained Professional does not provide such estimate, the Reorganized
Debtors may estimate the unbilled fees and expenses of such Retained Professional; provided, however, that such
estimate shall not be considered an admission or limitation with respect to the fees and expenses of such Retained
Professional. The total amount so estimated as of the Effective Date shall comprise the “Professional Fee Reserve
Amount.”

         5.       Post-Effective Date Fees and Expenses. Except as otherwise specifically provided in the Plan,
from and after the Effective Date, each Reorganized Debtor shall pay in Cash the reasonable legal fees and expenses
incurred by that Reorganized Debtor after the Effective Date in the ordinary course of business and without any
further notice to or action, order or approval of the Bankruptcy Court. Upon the Effective Date, any requirement
that Retained Professionals comply with sections 327 through 331 and 1103 of the Bankruptcy Code in seeking
retention or compensation for services rendered after such date shall terminate, and each Reorganized Debtor may
employ and pay any Retained Professional in the ordinary course of business without any further notice to or action,
order or approval of the Bankruptcy Court.

         6.       Substantial Contribution Compensation and Expenses. Except as otherwise specifically provided
in the Plan, any Entity that requests compensation or expense reimbursement for making a substantial contribution
in the Chapter 11 Cases pursuant to sections 503(b)(3), (4), and (5) of the Bankruptcy Code must File an application
and serve such application on counsel for the Debtors or Reorganized Debtors, as applicable, and as otherwise
required by the Bankruptcy Court, the Bankruptcy Code, and the Bankruptcy Rules.

C.         Statutory Fees

          All fees and charges assessed against the Estates under chapter 123 of title 28 United States Code, 28
U.S.C. §§ 1911 1930, payable pursuant to 28 U.S.C.§ 1930, as determined by the Bankruptcy Court at a hearing
pursuant to section 11238 of the Bankruptcy Code, shall be paid for each quarter (including any fraction thereof)
until the Chapter 11 Cases are converted, dismissed or closed, whichever occurs first.

                                                 ARTICLE XII.

                                       RETENTION OF JURISDICTION

        Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, the
Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or related to, the Chapter 11
Cases and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including jurisdiction to:

        1.        Allow, disallow, determine, liquidate, classify, estimate or establish the priority, secured or
unsecured status, or amount of any Claim or Interest, including the resolution of any request for payment of any
Administrative Claim and the resolution of any and all objections to the secured or unsecured status, priority,
amount, or allowance of Claims or Equity Interests;

         2.       Decide and resolve all matters related to the granting and denying, in whole or in part, any
applications for allowance of compensation or reimbursement of expenses to Retained Professionals authorized
pursuant to the Bankruptcy Code or the Plan;

         3.       Resolve any matters related to: (a) the assumption, assumption and assignment, or rejection of any
Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor may be liable
and to hear, determine, and, if necessary, liquidate, any Cure or Claims arising therefrom, including Cure or Claims
pursuant to section 365 of the Bankruptcy Code; (b) any potential contractual obligation under any Executory
Contract or Unexpired Lease that is assumed; and (c) any dispute regarding whether a contract or lease is or was
executory or expired;

         4.       Ensure that distributions to Holders of Allowed Claims and Equity Interests are accomplished
pursuant to the provisions of the Plan;



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        5.      Adjudicate, decide or resolve any motions, adversary proceedings, contested or litigated matters,
and any other matters, and grant or deny any applications involving a Debtor that may be pending on the Effective
Date;

           6.     Adjudicate, decide or resolve any and all matters related to Causes of Action;

           7.    Adjudicate, decide or resolve any and all matters related to section 1141 of the Bankruptcy Code;

       8.       Enter and implement such orders as may be necessary or appropriate to execute, implement, or
consummate the provisions of the Plan and all contracts, instruments, releases, indentures, and other agreements or
documents created in connection with the Plan or the Disclosure Statement;

        9.      Enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a) of
the Bankruptcy Code;

         10.       Resolve any cases, controversies, suits, disputes or Causes of Action that may arise in connection
with the interpretation or enforcement of the Plan or any Entity’s obligations incurred in connection with the Plan;

        11.        Issue injunctions, enter and implement other orders or take such other actions as may be necessary
or appropriate to restrain interference by any Entity with enforcement of the Plan;

         12.      Resolve any cases, controversies, suits, disputes or Causes of Action with respect to the releases,
injunctions, and other provisions contained in the Plan and enter such orders as may be necessary or appropriate to
implement such releases, injunctions, and other provisions;

          13.     Resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
repayment or return of distributions and the recovery of additional amounts owed by the Holder of a Claim or
Interest for amounts not timely repaid;

         14.     Enter and implement such orders as are necessary or appropriate if the Confirmation Order is for
any reason modified, stayed, reversed, revoked or vacated;

         15.      Determine any other matters that may arise in connection with or relate to the Plan, the Disclosure
Statement, the Confirmation Order, or any contract, instrument, release, indenture, or other agreement or document
created in connection with the Plan or the Disclosure Statement;

           16.   Enter an order or final decree concluding or closing the Chapter 11 Cases;

           17.   Adjudicate any and all disputes arising from or relating to distributions under the Plan;

         18.      Consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
inconsistency in any Bankruptcy Court order, including the Confirmation Order;

         19.      Determine requests for the payment of Claims and Equity Interests entitled to priority pursuant to
section 507 of the Bankruptcy Code;

         20.       Hear and determine disputes arising in connection with the interpretation, implementation, or
enforcement of the Plan, or the Confirmation Order, including disputes arising under agreements, documents or
instruments executed in connection with the Plan (other than any dispute arising after the Effective Date under, or
directly with respect to, the Exit Credit Agreement, the New Second Priority Term Loan Agreement and any
intercreditor agreement, which disputes shall be adjudicated in accordance with the terms of such agreements);

        21.      Hear and determine matters concerning state, local, and federal taxes in accordance with sections
346, 505, and 1146 of the Bankruptcy Code;



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          22.      Hear and determine all disputes involving the existence, nature, or scope of the Debtors’
discharge, including any dispute relating to any liability arising out of the termination of employment or the
termination of any employee or retiree benefit program, regardless of whether such termination occurred prior to or
after the Effective Date;

           23.     Enforce all orders previously entered by the Bankruptcy Court; and

           24.     Hear any other matter not inconsistent with the Bankruptcy Code.

                                                     ARTICLE XIII.

                   MODIFICATION, REVOCATION AND WITHDRAWAL OF THE PLAN

A.         Modification of Plan

         Subject to the limitations contained in the Plan and the Restructuring Support Agreement, and in
accordance with the Restructuring Support Agreement: (1) the Debtors reserve the right, in accordance with the
Bankruptcy Code and the Bankruptcy Rules, to amend or modify the Plan prior to the entry of the Confirmation
Order, including amendments or modifications to satisfy section 1129(b) of the Bankruptcy Code; and (2) after the
entry of the Confirmation Order, the Debtors or the Reorganized Debtors, as the case may be, may, upon order of
the Bankruptcy Court, amend or modify the Plan, in accordance with section 1127(b) of the Bankruptcy Code, or
remedy any defect or omission or reconcile any inconsistency in the Plan in such manner as may be necessary to
carry out the purpose and intent of the Plan.

B.         Effect of Confirmation On Modifications

          Entry of a Confirmation Order shall mean that all modifications or amendments to the Plan since the
solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional
disclosure or resolicitation under Bankruptcy Rule 3019.

C.         Revocation of Plan

          Subject to the Restructuring Support Agreement and conditions to the Effective Date, the Debtors reserve
the right to revoke or withdraw the Plan prior to the entry of the Confirmation Order and to file subsequent plans of
reorganization. If the Debtors revoke or withdraw the Plan, or if entry of the Confirmation Order or the Effective
Date does not occur, then: (1) the Plan shall be null and void in all respects; (2) any settlement or compromise
embodied in the Plan, assumption or rejection of executory contracts or leases effected by the Plan, and any
document or agreement executed pursuant hereto shall be deemed null and void; and (3) nothing contained in the
Plan shall: (a) constitute a waiver or release of any claims by or against, or any Equity Interests in, such Debtor or
any other Entity; (b) prejudice in any manner the rights of the Debtors or any other Entity; or (c) constitute an
admission of any sort by the Debtors or any other Entity.

                                                     ARTICLE XIV.

                                        MISCELLANEOUS PROVISIONS

A.         Immediate Binding Effect

         Notwithstanding Bankruptcy Rules 3020(e), 6004(g) or 7062 or otherwise, upon the occurrence of the
Effective Date, the terms of the Plan and the Plan Supplement shall be immediately effective and enforceable and
deemed binding upon the Debtors, the Reorganized Debtors and any and all Holders of Claims or Equity Interests
(irrespective of whether Holders of such Claims or Equity Interests are deemed to have accepted the Plan), all
Entities that are parties to or are subject to the settlements, compromises, releases, discharges, and injunctions
described in the Plan or herein, each Entity acquiring property under the Plan and any and all non-Debtor parties to
Executory Contracts and Unexpired Leases with the Debtors.


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B.         Additional Documents

         On or before the Effective Date, the Debtors may File with the Bankruptcy Court such agreements and
other documents as may be necessary or appropriate to effectuate and further evidence the terms and conditions of
the Plan. The Debtors or Reorganized Debtors, as applicable, and all Holders of Claims or Equity Interests
receiving distributions pursuant to the Plan and all other parties in interest shall, from time to time, prepare, execute,
and deliver any agreements or documents and take any other actions as may be necessary or advisable to effectuate
the provisions and intent of the Plan.

C.         Reservation of Rights

         Except as expressly set forth herein, the Plan shall have no force or effect unless and until the Bankruptcy
Court enters the Confirmation Order. Neither the filing of the Plan, any statement or provision contained herein, nor
the taking of any action by a Debtor or any other Entity with respect to the Plan shall be or shall be deemed to be an
admission or waiver of any rights of: (1) any Debtor with respect to the Holders of Claims or Equity Interests or
other Entity; or (2) any Holder of a Claim or an Equity Interest or other Entity prior to the Effective Date.

D.         Successors and Assigns

          The rights, benefits and obligations of any Entity named or referred to herein shall be binding on, and shall
inure to the benefit of, any heir, executor, administrator, successor or assign of such Entity.

E.         Service of Documents

          Any pleading, notice or other document required by the Plan to be served on or delivered to the Debtors
shall be sent by overnight mail to:

                          Debtors                                               Counsel to Debtors
           The Reader’s Digest Association, Inc.                               Kirkland & Ellis LLP
                  1 Reader’s Digest Road                                      601 Lexington Avenue
              Pleasantville, New York, 10570                               New York, New York 10022
       Attn: Andrea Newborn, Senior Vice President,                Attn: Paul M. Basta and Nicole L. Greenblatt
          General Counsel and Corporate Secretary
               Special Counsel to the Debtors                                  United States Trustee
          Curtis, Mallet-Prevost, Colt & Mosle LLP                       Office of the United States Trustee
                      101 Park Avenue                                  for the Southern District of New York
                 New York, New York 10178                                  33 Whitehall Street, 21st Floor
                   Attn: Steven J. Reisman                                  New York, New York 10004
                                                                               Attn: Andrea Schwartz
             Counsel to the Agent for the
                                                                      Counsel to the Creditors’ Committee
     Debtors’ Prepetition and Postpetition Lenders
           Simpson Thacher & Bartlett LLP                          Otterbourg, Steindler, Houston & Rosen, P.C.
                425 Lexington Avenue                                             230 Park Avenue
              New York, New York 10017                                     New York, New York 10169
                 Attn: Sandeep Qusba                                Attn: Scott L. Hazan and David M. Posner

         After the Effective Date, the Debtors are authorized to limit the list of Entities receiving documents
pursuant to Bankruptcy Rule 2002 to those Entities who have filed renewed requests for service.

         In accordance with Bankruptcy Rules 2002 and 3020(c), within ten (10) Business Days of the date of entry
of the Confirmation Order, the Debtors shall serve a notice of Confirmation by United States mail, first class postage
prepaid, by hand, or by overnight courier service to all parties served with notice of the Confirmation Hearing;
provided, however, that no notice or service of any kind shall be required to be mailed or made upon any Entity to

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whom the Debtors served the notice of the Confirmation Hearing, but received such notice returned marked
“undeliverable as addressed,” “moved, left no forwarding address” or “forwarding order expired,” or similar reason,
unless the Debtors have been informed in writing by such Entity, or are otherwise aware, of that Entity’s new
address.

         To supplement the notice described in the preceding sentence, within twenty (20) days of the date of the
Confirmation Order the Debtors shall publish notice of the Confirmation Hearing on one occasion in the national
editions of The Wall Street Journal and USA Today. Mailing and publication of the notice of the Confirmation
Hearing in the time and manner set forth in the this paragraph shall be good and sufficient notice under the particular
circumstances and in accordance with the requirements of Bankruptcy Rules 2002 and 3020(c), and no further notice
is necessary.

F.         Term of Injunctions or Stays

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the Confirmation
Order) shall remain in full force and effect until the Effective Date. All injunctions or stays contained in the Plan or
the Confirmation Order shall remain in full force and effect in accordance with their terms.

G.         Entire Agreement

         On the Effective Date, the Plan and the Plan Supplement supersede all previous and contemporaneous
negotiations, promises, covenants, agreements, understandings, and representations on such subjects, all of which
have become merged and integrated into the Plan.

H.         Governing Law

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and
Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving effect
to the principles of conflict of laws, shall govern the rights, obligations, construction, and implementation of the
Plan, any agreements, documents, instruments, or contracts executed or entered into in connection with the Plan
(except as otherwise set forth in those agreements, in which case the governing law of such agreement shall control),
and corporate governance matters; provided, however, that corporate governance matters relating to Debtors or
Reorganized Debtors, as applicable, not incorporated in New York shall be governed by the laws of the state of
incorporation of the applicable Debtor or Reorganized Debtor, as applicable.

I.         Exhibits

           All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. Except as otherwise provided in the Plan, such exhibits and documents included in
the Plan Supplement shall be filed with the Bankruptcy Court on or before the Plan Supplement Filing Date or the
Solicitation Date, as applicable. After the exhibits and documents are filed, copies of such exhibits and documents
shall have been available upon written request to the Debtors’ counsel at the address above or by downloading such
exhibits and documents from the Debtors’ private website at http://www.kccllc.net/readers or the Bankruptcy
Court’s website at www.nysb.uscourts.gov. To the extent any exhibit or document is inconsistent with the terms of
the Plan, unless otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of the Plan
shall control.

J.         Nonseverability of Plan Provisions upon Confirmation

         If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, consistent with the original purpose of the term or
provision held to be invalid, void or unenforceable, and such term or provision shall then be applicable as altered or


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interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
provisions of the Plan will remain in full force and effect and will in no way be affected, impaired, or invalidated by
such holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial determination and shall
provide that each term and provision of the Plan, as it may have been altered or interpreted in accordance with the
foregoing, is: (1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted or
modified without the consent of the Debtors and the Administrative Agent; and (3) nonseverable and mutually
dependent.

K.         Closing of Chapter 11 Cases

         The Reorganized Debtors shall, promptly after the full administration of the Chapter 11 Cases, File with the
Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of the Bankruptcy
Court to close the Chapter 11 Cases.

L.         Conflicts

        Except as set forth in the Plan, to the extent that any provision of the Disclosure Statement, the Plan
Supplement, or any other order (other than the Confirmation Order) referenced in the Plan (or any exhibits,
appendices, supplements, or amendments to any of the foregoing), conflict with or are in any way inconsistent with
any provision of the Plan, the Plan shall govern and control

M.         Dissolution of Creditors’ Committee

         On the Effective Date, the Creditors’ Committee shall dissolve, and the members thereof shall be released
and discharged from all rights and duties arising from, or related to, the Chapter 11 Cases; provided, however, that
after the entry of the Confirmation Order, the Creditors’ Committee’s functions shall be restricted to, and the
Creditors’ Committee shall not be heard on any issue except, obtaining a Final Order of the Bankruptcy Court
authorizing or approving Accrued Professional Compensation of its Retained Professionals.

N.         Section 1125(e) Good Faith Compliance

        The Debtors, Reorganized Debtors, the Prepetition Agent, the DIP Agent and the Creditors’ Committee,
and each of their respective Representatives, shall be deemed to have acted in “good faith” under section 1125(e) of
the Bankruptcy Code.

O.         Further Assurances

          The Debtors, Reorganized Debtors, all Holders of Claims receiving distributions hereunder and all other
parties-in-interest shall, from time to time, prepare, execute and deliver any agreements or documents and take any
other actions as may be necessary or advisable to effectuate the provisions and intent of the Plan or the Confirmation
Order.

P.         No Stay of Confirmation Order

         The Confirmation Order shall contain a waiver of any stay of enforcement otherwise applicable, including
pursuant to Bankruptcy Rule 3020(e) and 7062.

Q.         Waiver or Estoppel

          Each Holder of a Claim or an Interest shall be deemed to have waived any right to assert any argument,
including the right to argue that its Claim or Interest should be Allowed in a certain amount, in a certain priority,
secured or not subordinated by virtue of an agreement made with the Debtors or their counsel, or any other Entity, if
such agreement was not disclosed in the Plan, the Disclosure Statement or papers filed with the Bankruptcy Court
prior to the Confirmation Date.



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           Respectfully submitted, as of the date first set forth above,

                                                       The Reader’s Digest Association, Inc. (on behalf of itself and
                                                       all other Debtors)

                                                       By:    /s/ Thomas A. Williams
                                                       Name: Thomas A. Williams
                                                       Title:   Senior Vice President and Chief Financial Officer




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                                       Exhibit 2

                                     Plan Redline




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601 Lexington Avenue
New York, New York 10022-4611
Telephone:    (212) 446-4800
Facsimile:    (212) 446-4900

Proposed Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                    )
In re:                                              ) Chapter 11
                                                    )
THE READER’S DIGEST ASSOCIATION,                    ) Case No. 09-23529 (RDD)
INC., et al.,                                       )
                                                    )
                            Debtors.                ) Jointly Administered
                                                    )




 FIRST AMENDED PROPOSED JOINT CHAPTER 11 PLAN OF REORGANIZATION
                                OF
     THEOF THE READER’S DIGEST ASSOCIATION, INC. AND ITS DEBTOR
                            AFFILIATES

THIS DRAFT PLAN OF REORGANIZATION IS NOT AN OFFER WITH RESPECT TO ANY
SECURITIES OR SOLICITATION OF ACCEPTANCES OF A CHAPTER 11 PLAN PURSUANT TO
SECTION 1125 OF THE BANKRUPTCY CODE. ANY SUCH OFFER OR SOLICITATION WILL BE
MADE ONLY IN COMPLIANCE WITH ALL APPLICABLE SECURITIES LAWS AND/OR
PROVISIONS OF THE BANKRUPTCY CODE.

Dated: November 3, 2009




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                   PROPOSED JOINT CHAPTER 11 PLAN OF REORGANIZATION OF
               THE READER’S DIGEST ASSOCIATION, INC. AND ITS DEBTOR AFFILIATES



         The Reader’s Digest Association, Inc. and [47]48 of its debtor affiliates as debtors and debtors in
possession (collectively, the “Debtors”)1 propose the following joint plan of reorganization for the resolution of the
outstanding claims against, and equity interests in, the Debtors. None of the Debtors’ subsidiaries located outside of
the United States are chapter 11 Debtors. These Chapter 11 Cases have been consolidated for procedural purposes
only and are being jointly administered pursuant to an order of the Bankruptcy Court. Capitalized terms used in the
Plan and not otherwise defined herein shall have the meanings ascribed to such terms in Article I.B of the Plan.

         Reference is made to the Disclosure Statement, filed contemporaneously with the Plan, for a discussion of
the Debtors’ history, businesses, results of operations, historical financial information, projections and future
operations, as well as a summary and analysis of the Plan and certain related matters, including distributions to be
made under this Plan. Each of the Debtors is a proponent of the Plan contained herein within the meaning of section
1129 of the Bankruptcy Code.

                                                              ARTICLE I.

                                  RULES OF INTERPRETATION, COMPUTATION
                                 OF TIME, GOVERNING LAW AND DEFINED TERMS

A.        Rules of Interpretation, Computation of Time and Governing Law

          For purposes herein: (a) in the appropriate context, each term, whether stated in the singular or the plural,
shall include both the singular and the plural, and pronouns stated in the masculine, feminine or neuter gender shall
include the masculine, feminine and the neuter gender; (b) any reference herein to a contract, lease, instrument,
release, indenture or other agreement or document being in a particular form or on particular terms and conditions
means that the referenced document shall be substantially in that form or substantially on those terms and
conditions; (c) any reference herein to an existing document or exhibit having been filed or to be filed shall mean
that document or exhibit, as it may thereafter be amended, modified or supplemented in accordance with the terms
of such document or exhibit and subject to the Restructuring Support Agreement; (d) unless otherwise specified, all
references herein to “Articles” are references to Articles hereof or hereto; (e) unless otherwise stated, the words
‘‘herein,’’ “hereof” and ‘‘hereto’’ refer to the Plan in its entirety rather than to a particular portion of the Plan; (f)
captions and headings to Articles are inserted for convenience of reference only and are not intended to be a part of
or to affect the interpretation hereof; (g) the rules of construction set forth in section 102 of the Bankruptcy Code


1    The Debtors in these chapter 11 cases who are proponents of this Plan, along with the last four digits of each Debtor’s federal tax
     identification number, are: Alex Inc. (5531); Allrecipes.com, Inc. (3797); Ardee Music Publishing, Inc. (2291); Christmas Angel
     Productions, Inc. (2729); CompassLearning, Inc. (6535); Direct Entertainment Media Group, Inc. (2306); Direct Holdings Americas Inc.
     (1045); Direct Holdings Custom Publishing Inc. (7452); Direct Holdings Customer Service, Inc. (9015); Direct Holdings Education Inc.
     (5535); Direct Holdings Libraries Inc. (7299); Direct Holdings U.S. Corp. (4998); Funk & Wagnalls Yearbook Corp. (3787); Gareth
     Stevens, Inc. (2742); Home Service Publications, Inc. (9525); Pegasus Asia Investments Inc. (0077); Pegasus Investment, Inc. (4252);
     Pegasus Sales, Inc. (3259); Pleasantville Music Publishing, Inc. (2289); R.D. Manufacturing Corporation (0230); RD Large Edition, Inc.
     (1489); RD Publications, Inc. (9115); RD Walking, Inc. (6509); RDA Holding Co. (7045); RDA Sub Co. (0501); Reader’s Digest
     Children’s Publishing, Inc. (6326); Reader’s Digest Consumer Services, Inc. (8469); Reader’s Digest Entertainment, Inc. (4742); Reader’s
     Digest Financial Services, Inc. (7291); Reader’s Digest Latinoamerica, S.A. (5836); Reader’s Digest Sales and Services, Inc. (2377);
     Reader’s Digest Sub Nine, Inc. (2727); Reader’s Digest Young Families, Inc. (6158); Reiman Manufacturing, LLC (8760); Reiman Media
     Group, Inc. (1192); Retirement Living Publishing Company, Inc. (9118); Saguaro Road Records, Inc. (2310); Taste of Home Media Group,
     Inc. (1190); Taste of Home Productions, Inc. (1193); The Reader’s Digest Association, Inc. (6769); Travel Publications, Inc. (2927); W.A.
     Publications, LLC (0229); WAPLA, LLC (9272); Weekly Reader Corporation (3780); Weekly Reader Custom Publishing, Inc. (3276);
     World Almanac Education Group, Inc. (3781); World Wide Country Tours, Inc. (1189); WRC Media, Inc. (6536). The location of the
     Debtors’ corporate headquarters is: 1 Reader’s Digest Road, Pleasantville, NY 10570.




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shall apply; and (h) any term used in capitalized form herein that is not otherwise defined but that is used in the
Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or
the Bankruptcy Rules, as the case may be.

        The provisions of Bankruptcy Rule 9006(a) shall apply in computing any period of time prescribed or
allowed herein.

B.        Defined Terms

          The following terms shall have the following meanings when used in capitalized form herein:

          1.      “Accrued Professional Compensation” means, at any given moment, all accrued, contingent
and/or unpaid fees and expenses (including, without limitation, Allowed success fees and Allowed Professional
Compensation) for legal, financial advisory, accounting and other services and reimbursement of expenses that are
awardable and Allowed under sections 328, 330(a) or 331 of the Bankruptcy Code or otherwise rendered allowable
prior to the Confirmation Date by any Retained Professionals in the Chapter 11 Cases, or that are awardable and
allowable under section 503(b)(3)(F) of the Bankruptcy Code for the Creditors’ Committee, that the Bankruptcy
Court has not denied by a Final Order, to the extent that any such fees and expenses have not been previously paid
regardless of whether a fee application has been filed for any such amount. To the extent that the Bankruptcy Court
or any higher court denies or reduces by a Final Order any amount of a Retained Professional’s fees or expenses or
Creditors’ Committee Member’s expenses, then those reduced or denied amounts shall no longer constitute Accrued
Professional Compensation.

         2.       “Adequate Protection Claims” shall have the meaning ascribed to “Section 507(b) Claims” as
defined in paragraph 13(b) of the Final DIP Order.

         3.       “Administrative Claim” means a Claim (other than the Adequate Protection Claims and DIP
Facility Claims) that has been timely filed, pursuant to the deadline and procedure set forth in the Confirmation
Order (except as otherwise provided by a separate order of the Bankruptcy Court), for costs and expenses of
administration under sections 503(b), 507(b) or 1114(e)(2) of the Bankruptcy Code, including, but not limited to: (a)
the actual and necessary costs and expenses incurred after the Commencement Date and through the Effective Date
of preserving the Estates and operating the businesses of the Debtors; (b) Accrued Professional Compensation (to
the extent Allowed by the Bankruptcy Court); and (c) all fees and charges assessed against the Estates under chapter
123 of title 28 United States Code, 28 U.S.C. §§ 1911 1930. Administrative Claims do not include DIP Facility
Claims, which are separately treated under the Plan.

          4.        “Affiliate” has the meaning set forth at section 101(2) of the Bankruptcy Code.

          5.       “Allowed” means, with respect to Claims: (a) any Claim, proof of which is timely filed by the
applicable Claims Bar Date or which, pursuant to the Bankruptcy Code or a Final Order is not required to be filed;
(b) any Claim that is listed in the Schedules as of the Effective Date as neither contingent, unliquidated or disputed,
and for which no Proof of Claim has been timely filed; or (c) any Claim Allowed pursuant to the Plan; provided,
however, that with respect to any Claim described in clause (a) above, such Claim shall be considered Allowed only
if and to the extent that with respect to any Claim no objection to the allowance thereof has been interposed within
the applicable period of time fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules or the Bankruptcy Court
or such an objection is so interposed and the Claim shall have been Allowed for distribution purposes only by a
Final Order. Any Claim that has been or is hereafter listed in the Schedules as contingent, unliquidated or disputed,
and for which no Proof of Claim has been timely filed, is not considered Allowed and shall be expunged without
further action by the Debtors or the Reorganized Debtors and without any further notice to or action, order or
approval of the Bankruptcy Court.

         6.        “Amended and Restated Bylaws” means the bylaws of the Reorganized DebtorsHoldings,
substantially in the form included in the Plan Supplement.




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        7.       “Amended and Restated Certificate of Incorporation” means the certificates of incorporation of
the Reorganized Debtors, substantially in the form included in the Plan Supplement.

          8.     “Avoidance Actions” means any and all claims and causes of action which any of the Debtors, the
debtors in possession, the Estates, or other appropriate party in interest has asserted or may assert under sections
502, 510, 542, 544, 545, or 547 through 553 of the Bankruptcy Code or under similar or related state or federal
statutes and common law, including fraudulent transfer laws.

         9.       “Ballots” means the ballots accompanying the Disclosure Statement upon which certain Holders
of Impaired Claims entitled to vote shall, among other things, indicate their acceptance or rejection of the Plan in
accordance with the Plan and the procedures governing the solicitation process, and which must be actually received
on or before the Voting Deadline.

          10.       “Bankruptcy Code” means Chapter 11 of the Bankruptcy Code, 11 U.S.C. §§ 101-1532.

          11.       “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of New
York.

         12.       “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as promulgated by the
United States Supreme Court under section 2075 of title 28 of the United States Code, 28 U.S.C. § 2075, as
applicable to the Chapter 11 Cases, and the general, local and chambers rules of the Bankruptcy Court.

        13.     “Business Day” means any day, other than a Saturday, Sunday or “legal holiday” (as defined in
Bankruptcy Rule 9006(a)).

        14.      “Case Management Order” means that certain Order Establishing Certain Notice, Case
Management and Administrative Procedures, entered by the Bankruptcy Court on September 17, 2009
[Docket No. 92], as may be amended from time to time.

          15.       14. “Cash” means the legal tender of the United States of America or the equivalent thereof.

           16.      15. “Causes of Action” means all actions, causes of action (including Avoidance Actions), Claims,
liabilities, obligations, rights, suits, debts, damages, judgments, remedies, demands, setoffs, defenses, recoupments,
crossclaims, counterclaims, third-party claims, indemnity claims, contribution claims or any other claims disputed or
undisputed, suspected or unsuspected, foreseen or unforeseen, direct or indirect, choate or inchoate, existing or
hereafter arising, in law, equity or otherwise, based in whole or in part upon any act or omission or other event
occurring prior to the Commencement Date or during the course of the Chapter 11 Cases, including through the
Effective Date.

        17.       16. “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the chapter 11
case pending for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and (b) when used
with reference to all Debtors, the procedurally consolidated chapter 11 cases pending for the Debtors in the
Bankruptcy Court.

          18.       17. “Claim” means any claim against a Debtor as defined in section 101(5) of the Bankruptcy
Code.

         19.       18. “Claims Bar Date” means, as applicable, (a) November 16, 2009 at 5:00 p.m. prevailing
Pacific Time, on November 16, 2009, (b) the Governmental Bar Date or (c) such other period of limitation as may
be specifically fixed by an order of the Bankruptcy Court for filing such Claims, pursuant to the Claims Bar Date
Order.

        20.     “Claims Bar Date Order” means that certain Order (I) Setting Bar Dates for Filing Proofs of
Claim, (II) Approving Procedures for Filing Proofs of Claim and (III) Approving Notice Thereof, entered by
the Bankruptcy Court on October 7, 2009 [Docket No. 154], as may be amended from time to time.


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         21.      19. “Claims Objection Bar Date” means, for each Claim, the later of (a) 180 days after the
Effective Date and (b) such other period of limitation as may be specifically fixed by an order of the Bankruptcy
Court for objecting to such Claims, as the same may be modified or extended from time to time by the Bankruptcy
Court or on motion of a party in interest approved by the Bankruptcy Court.

        22.     20. “Claims Register” means the official register of Claims maintained by the VotingNoticing
and Claims Agent.

         23.     21. “Class” means a category of Holders of Claims or Equity Interests as set forth in Article III
hereofof the Plan pursuant to section 1122(a) of the Bankruptcy Code.

        24.      22. “Commencement Date” means August 24, 2009, the date on which the Debtors commenced
the Chapter 11 Cases.

          25.       23. “Commission” means the United States Securities and Exchange Commission.

         26.      24. “Compensation and Benefits Programs” means all employment and severance policies, and all
compensation and benefit plans, policies and programs and other arrangements (and all amendments and
modifications thereto), in each case in place as of the Effective Date, applicable to the Debtors’ employees, former
employees, retirees and non-employee directors and employees, former employees and retirees of their subsidiaries,
including, without limitation, all savings plans, retirement plans (other than the Non-Qualified Retirement Plans),
health care plans, disability plans, severance benefit plans, incentive plans and life, accidental death and
dismemberment insurance plans.

         27.      25. “Confirmation” means the entry of the Confirmation Order on the docket of the Chapter 11
Cases, subject to all conditions specified in Article IX hereofVIII.A of the Plan having been: (a) satisfied; or (b)
waived pursuant to Article IXVIII.B hereofof the Plan.

       28.      26. “Confirmation Date” means the date upon which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Cases, within the meaning of Bankruptcy Rules 5003 and 9021.

         29.      27. “Confirmation Hearing” means the hearing held by the Bankruptcy Court on Confirmation of
the Plan pursuant to section 1129 of the Bankruptcy Code, as such hearing may be continued from time to time.

         30.      28. “Confirmation Order” means the order, in form and in substance reasonably satisfactory to the
Debtors, the Prepetition Agent and the Required Consenting Lenders, of the Bankruptcy Court confirming the Plan
pursuant to section 1129 of the Bankruptcy Code.

       31.          29. “Consenting Lenders” means those Prepetition Lenders party to the Restructuring Support
Agreement.

        32.    30. “Consenting Shareholders” means those Holders of Equity Interests party to the Restructuring
Support Agreement.

          33.       31. “Consummation” means the occurrence of the Effective Date.

         34.     32. “Contract/Lease Schedule Date” means the latest date by which the Debtors shall file their list
of Executory Contracts and Unexpired Leases to be rejected pursuant to the Plan, which date shall be no laterfewer
than [__]twenty (20) days prior to the Confirmation Hearing.

        35.      33. “Creditors’ Committee” means the official committee of unsecured creditors of the Debtors
appointed by the Office of the United States Trustee for the Southern District of New York in the Chapter 11 Cases
on August 31, 2009, pursuant to section 1102 of the Bankruptcy Code, comprising the Creditors’ Committee
Members and, as may be reconstituted from time to time.



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         36.     34. “Creditors’ Committee Members” means the members of the Creditors’ Committee, as may be
reconstituted from time to time, namely: (a) The Bank of New York Mellon,; (b) Wilfrid Aubrey LLC,; (c)
Thomas M. Kenney,; (d) RR Donnelley & Sons Company,; (e) Madison Paper Company (ALSIP Location),; (f)
Williams Lea, Inc. and; (g) New Page Corporation; (h) Michael John Bohane; (i) Peter Davenport; (j) Ross
Jones; and (k) HCL Technologies, Ltd.

         37.      35. “Cure” means the payment of Cash by the applicable Debtors, or the distribution of other
property (as the applicable Debtors and the counterparty to the Executory Contract or Unexpired Lease may agree or
the Bankruptcy Court may order), as necessary to (a) cure a monetary default by the Debtors in accordance with the
terms of an Executory Contract or Unexpired Lease of the Debtors and (b) permit the Debtors to assume such
Executory Contract or Unexpired Lease under sections 365 and 1123 of the Bankruptcy Code.

         36.      “Cure Objection Deadline” means the deadline for filing requests for payment of Cure, which
shall be the later of: (a) thirty (30) days after the Effective Date or (b) thirty (30) days after the assumption or
assumption and assignment of the applicable Executory Contract or Unexpired Lease, unless otherwise ordered by
the Bankruptcy Court or agreed to by the Debtors and the counterparty to the applicable Executory Contract or
Unexpired Lease.

          38.       37. “Debtor” means one of the Debtors, in its individual capacity as a debtor in these Chapter 11
Cases.

        39.      38. “Debtors in Possession” means, collectively, the Debtors, as debtors in possession in these
Chapter 11 Cases.

        40.       39. “DIP Agent” means JPMorgan Chase Bank, N.A., in its capacity as syndication agent,
administrative agent and collateral agent pursuant to the DIP Facility.

         41.      40. “DIP Facility” means that certain $150 million Credit and Guarantee Agreement, dated as of
August 26, 2009, among The Reader’s Digest Association, Inc., as borrower, and RDA Holding Co. and each direct
and indirect, existing and future domestic subsidiary of The Reader’s Digest Association, Inc., as guarantors, the
DIP Agent, J.P. Morgan Securities Inc., as sole lead arranger and sole bookrunner, General Electric Capital
Corporation, as senior managing agent, and the DIP Lenders, as may be amended, modified, ratified, extended,
renewed, restated or replaced.

          42.       41. “DIP Facility Claim” means any Claim arising under or related to the DIP Facility.

          43.     42. “DIP Lenders” means the DIP Agent and the banks, financial institutions and other lenders
party to the DIP Facility from time to time.

         44.       43. “Disclosure Statement” means theis Disclosure Statement for the Proposed Joint Plan of
Reorganization of The Reader’s Digest Association, Inc. and Its Debtor Affiliates Under Chapter 11 of the
Bankruptcy Code, as amended, supplemented or modified from time to time, including all exhibits and schedules
thereto and references therein that relate to the Plan, that is prepared and distributed in accordance with the
Bankruptcy Code, Bankruptcy Rules, the Disclosure StatementSolicitation Procedures Order and any other
applicable law, and which is reasonably satisfactory to the Prepetition Agent and the Required Consenting Lenders
in all material respects.

        44.     “Disclosure Statement Order” means that certain Order Approving the Debtors’ Disclosure
Statement and Relief Related Thereto, entered by the Bankruptcy Court on [TO COME], as the order may be
amended from time to time, and which shall be in form and substance satisfactory to the Prepetition Agent and the
Required Consenting Lenders.

          45.       “Disputed Claim” means, with respect to any Claim, any Claim that is not yet Allowed.




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          46.     “Distribution Agent” means any Entity or Entities chosen by the Debtors, which Entities may
include, without limitation, the VotingNoticing and Claims Agent, to make or to facilitate distributions required by
the Plan.

         47.       “Distribution Record Date” means the date for determining which Holders of Claims are eligible
to receive distributions hereunder and shall be the Voting Deadline or such other date as designated in an order of
the Bankruptcy Court.

          48.      “D&O Liability Insurance Policies” means all insurance policies for directors and officers’
liability maintained by the Debtors as of the Commencement Date.

           49.      “DTC” means Depository Trust Company.

        50.      “Effective Date” means the day that is the first Business Day after the Confirmation Date on
which: (a) no stay of the Confirmation Order is in effect; and (b) all conditions specified in Article IX.A
hereofVIIIA of the Plan have been: (i) satisfied; or (ii) waived pursuant to Article IX.B hereofVIII.B of the Plan.

        51.      “Eligible Noteholder” means any Holder of Senior Subordinated Notes that is an “Accredited
Investor” within the meaning defined in Rule 501 of Regulation D promulgated under the Securities Act or a
“Qualified Institutional Buyer” within the meaning defined in Rule 144A promulgated under the Securities
Act.

         52.      51. “Enterprise Value Maximization Plan” means that certain compensation planpost-Effective
Date director and officer compensation program to be approved and implemented by the New Board as set
forth in Article IV of the Plan, substantially in the form set forth in the Plan Supplement to be adopted on the
Effective Date.

        53.     52. “Entity” means an entity as defined inhas the meaning set forth at section 101(15) of the
Bankruptcy Code.

          54.     53. “Equity Interest” means any issued or unissued share of common stock, preferred stock or
other instrument evidencing an ownership interest in a Debtor, whether or not transferable, and any option, warrant
or right, contractual or otherwise, to acquire any such interest in a Debtor that existed immediately prior to the
Effective Date, including section 510(b) Claims; provided, however, that Equity Interest does not include any
Intercompany Interest.

         55.      54. “Estate” means, as to each Debtor, the estate created for the Debtor in its Chapter 11 Case
pursuant to section 541 of the Bankruptcy Code.

           56.      55. “Exculpated Parties” means, collectively: (a), the Reorganized Debtors; and (b) the Released
Parties.

           57.      56. “Exculpation” means the exculpation provision set forth in Article XIX.G hereofof the Plan.

         58.     57. “Executory Contract” means a contract to which one or more of the Debtors is a party that is
subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

        59.       58. “Exit Credit Agreement” means an agreement substantially in the form set forth in the Plan
Supplement on account of (a)(i) the New First Priority Term Loan or (ii) an alternative exit-financing facility
provided that the DIP Facility is paid in full in Cash on the Effective Date and (b) the Reinstated Euro Term Loan.

        60.       59. “Final DIP Order” means that certain Final Order Under 11 U.S.C. §§ 105, 361, 362, 363(c),
364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1) AND 364(e) and Bankruptcy Rules 2002, 4001 and 9014 (I) Authorizing
the Debtors to Obtain Postpetition Financing, (II) Authorizing the Debtors to Use Cash Collateral and (III) Granting
Adequate Protection to Prepetition Secured Lenders, entered by the Bankruptcy Court on October 7, 2009 [Docket


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#No. 152], as the order may be amended from time to time in accordance with the terms thereof and the DIP
Facility.

         61.       60. “Final Order” means an order or judgment of the Bankruptcy Court, or other court of
competent jurisdiction with respect to the subject matter, as entered on the docket in any Chapter 11 Case or the
docket of any court of competent jurisdiction, that has not been reversed, stayed, modified or amended, and as to
which the time to appeal, or seek certiorari or move for a new trial, reargument or rehearing has expired and no
appeal or petition for certiorari or other proceedings for a new trial, reargument or rehearing been timely taken, or as
to which any appeal that has been taken or any petition for certiorari that has been timely filed has been withdrawn
or resolved by the highest court to which the order or judgment was appealed or from which certiorari was sought or
the new trial, reargument or rehearing shall have been denied, resulted in no modification of such order or has
otherwise been dismissed with prejudice; provided, however, that the possibility that a motion under Rule 60 of the
Federal Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be filed relating to such
order shall not cause such order to not be a Final Order.

          62.       “GAAP” means generally accepted accounting principles.

        63.      61. “Governmental Bar Date” means [DATE]4:00 p.m. prevailing Pacific Time on February
20, 2010, or such other period of limitation as may be specifically fixed by an order of the Bankruptcy Court.

        64.         62. “Holder” means an Entity holding a Claim against or an Equity Interest in any of the
Debtors.

         65.      63. “Impaired” means any impaired Claim or Interest in an Impaired Class within the meaning
of section 1124 of the Bankruptcy Code.

        66.     64. “Impaired Class” means an impaired Class within the meaning of section 1124 of the
Bankruptcy Code.

         67.      65. “Indemnification Obligation” means a Debtor’s obligation under an Executory Contract
assumed in the Chapter 11 Cases or otherwise to indemnify directors, officers, employees or agents of such Debtor
who served in such capacity at any time, with respect to or based upon any act or omission taken or omitted in any
of such capacitates, or for or on behalf of any Debtor, pursuant to and to the maximum extent provided by such
Debtor’s respective certificate of incorporations, certificates of formation, bylaws, similar corporate documents and
applicable law, as in effect as of the Effective Date.

         68.     66. “Indenture Trustee” means The Bank of New York Mellon as indenture trustee with respect to
the Senior Subordinated Notes.

         69.       67. “Initial Distribution Date” means the date that is as soon as practicable after the Effective
Date, but no later than thirty (30) days after the Effective Date, when distributions under the Plan shall commence.

         70.       68. “Intercompany Claim” means, collectively, any Claim held by a Debtor against another Debtor
or an Affiliate of a Debtor or any Claim held by an Affiliate of a Debtor against a Debtor.

          71.       69. “Intercompany Interest” means an Equity Interest in a Debtor held by another Debtor.

          72.       “Interest” means, collectively, Equity Interests and Intercompany Interests.

         73.       70. “Interim Compensation Order” means an order of the Bankruptcy Court allowing Retained
Professionals to seek interim compensation in accordance with the procedures approved therein, as the same may be
modified by athat certain Order Establishing Procedures for Interim Compensation and Reimbursement of
Expenses for Professionals, entered by the Bankruptcy Court on September 17, 2009 [Docket No. 90], as may
be amended from time to time, including by an order entered by the Bankruptcy Court order approving the
retention of a specific Retained Professional or otherwise.


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          74.       71. “Letters of Credit” means the letters of credit referenced in paragraph 13(c) of the Final DIP
Order.

       75.     “Local Bankruptcy Rules” means the Local Bankruptcy Rules for the Southern District of
New York, as applicable to all cases in the Southern District of New York governed by the Bankruptcy Code.

         76.      72. “Management Equity Plan” means that certain post-Effective Date director and officer
compensation program to be approved and implemented by the New Board as set forth in Article V.A heretoIV of
the Plan, substantially in the form set forth in the Plan Supplement. Equity awards in the form of restricted
stock, options or warrants for 7.5% of the New Common Stock to be issued under the Plan will be allocated to the
Management Equity Plan (on a fully-diluted basis); provided that such equity grant shall not include more than
2.5% in the form of restricted New Common Stock.

       77.      73. “New Board” means the initial board of directors of Reorganized Holdings and Reorganized
RDA Inc., which shall initially be mirror boards.

         78.     74. “New Common Stock” means the common equity in Reorganized Holdings to be authorized,
issued or reserved on the Effective Date pursuant to the Plan, which shall constitute all of the direct or indirect
common equity of Reorganized Holdings.

         79.      75. “New First Priority Term Loan” means the first priority term loan facility to be converted
from the DIP Facility in an amount equal to the aggregate amount, up to a maximum amount of $150 million, of
loans outstanding under the DIP Facility on the date of conversion, to be issued on the Effective Date pursuant to the
Exit Credit Agreement on terms consistent with those set forth on Annex 1 to the Restructuring Term Sheet.

          80.      76. “New Second Priority Term Loan” means that certain $300 million second priority term loan
facility having a maturity not earlier than the latest to occur of the maturity of the New First Priority Term Loan and
the maturity of the Reinstated Euro Term Loan, to be issued on the Effective Date pursuant to the New Second
Priority Term Loan Agreement on terms consistent with those set forth on Annex 1 to the Restructuring Term Sheet.

         81.      77. “New Second Priority Term Loan Agreement” means that certain $300 million second lien
term loan agreement among The Reader’s Digest Association, Inc., as borrower, and RDA Holding Co. and each
direct and indirect, existing and future domestic subsidiary of The Reader’s Digest Association, Inc., as guarantors,
and the Holders of Prepetition Credit Agreement Claims, substantially in the form of the agreement set forth in the
Plan Supplement.

         82.      78. “Non-Qualified Retirement Plans” means, collectively, the Debtors’ unfunded, non-qualified
retirement plans or deferred compensation arrangements, including, but not limited to, the plans or arrangements
known as : (ia) the Excess Benefit Retirement Plan,; (iib) the Executive Retirement Plan,; (iiic) the Executive Cash
Balance Plan,; (ivd) the 1988 Supplemental Employee Retirement Plan and related agreements,; (ve) the Director
and Roving Editors Plan and/or related agreements or arrangements,; and (vif) the Reader’s Digest Deferred
Compensation Plan or deferred compensation arrangements provided by any other Debtor.

         83.     79. “Noticing and Claims Agent” means Kurtzman Carson Consultants LLC, in its capacity as
notice, claims and balloting agent for the Debtors, pursuant to that certain Order Authorizing and Approving the
Retention of Kurtzman Carson Consultants LLC as Notice and Claims Agent, entered by the Bankruptcy Court on
August 28, 2009,2009 [Docket No. 44], as may be amended from time to time.

         84.      80. “Other General Unsecured Claim” means any unsecured Claim, other than Unsecured
Ongoing Operations Claims and Senior Subordinated Note Claims, against one or more of the Debtors including,
but not limited to (a) Claims arising from the rejection of Unexpired Leases and Executory Contracts to which a
Debtor is a party, (b) claims arising from the rejection or termination of the Debtors’ Non-Qualified Retirement
Plans and (cb) Claims arising from any litigation or other court, administrative or regulatory proceeding, including,
without limitation, damages or judgments entered against, or settlement amounts owing by a Debtor related thereto.



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          85.       81. “Other General Unsecured Claims Distribution” means $3 million.

        86.     82. “Ordinary Course Professionals Order” means that certain Order Authorizing the Debtors’
Retention and Compensation of Certain Professionals Utilized in the Ordinary Course of Business Nunc Pro Tunc to
the Commencement Date, entered by the Bankruptcy Court on September 17, 2009 [Docket No. 89], as may be
amended, modified or supplemented from time to time.

         87.    83. “Other Priority Claim” means any Claim accorded priority in right of payment under section
507(a) of the Bankruptcy Code, other than a Priority Tax Claim or Claims entitled to administrative expense
priority pursuant to section 503(b)(9) of the Bankruptcy Code.

         88.      84. “Other Secured Claim” means any secured Claim against the Debtors not specifically
described hereinin the Plan, provided, however, that Other Secured Claims shall not include DIP Facility Claims
and Prepetition Credit Agreement Secured Claims.

         89.      85. “Pension Plan” means The Reader’s Digest Association, Inc. Retirement Plan, which is a
defined benefit pension plan.

         90.      86. “Periodic Distribution Date” means the first Business Day that is as soon as reasonably
practicable occurring no later than thirty (30) days after the Initial Distribution Date, and for the first eight (8)
months thereafter, the first Business Day that is as soon as reasonably practicable occurring no later than thirty (30)
days after the immediately preceding Periodic Distribution Date. day of the month immediately following the
month in which a Claim becomes Allowed, when distributions shall be made to Holders of any such then-
Allowed Claims.

        91.     87. “Person” means a person as definedhas the meaning set forth in section 101(41) of the
Bankruptcy Code.

         92.      88. “Plan” means thise Proposed Joint Plan of Reorganization of The Reader’s Digest
Associations, Inc. and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy Code dated [DATE], asOctober 9,
2009, as may have been and may further be amended, supplemented or modified from time to time in
accordance with its terms, including, without limitation, by the Plan Supplement, which is incorporated hereinin
the Plan by reference, subject to the terms of the Restructuring Support Agreement.

          93.       89. “Plan Equity Value” means [$___]between $475 million and $625 million.

         94.      90. “Plan Supplement” means the compilation of documents and forms of documents, schedules
and exhibits to be filed on the Plan Supplement Filing Date, as amended, modified or supplemented from time to
time in accordance with the terms hereof and in accordance withof the Plan and the applicable provisions of the
Bankruptcy Code and the Bankruptcy Rules, comprising, without limitation, the following documents: (a) the form
of the Exit Credit Agreement; (b) the form of the New Second Priority Term Loan Agreement; (c) the list of the
Compensation and Benefit Programs to be rejected and/or assumed; (d) the Registration Rights Agreement (fe) the
Shareholders Agreement; (gf) the Amended and Restated Certificate(s) of Incorporation; (hg) the Amended and
Restated Bylaws; and (ih) the forms of the Enterprise Value Maximization Plan and the Variable Compensation
Plan.

        95.      91. “Plan Supplement Filing Date” means the date that is five (5) business days prior to the
Voting Deadline.

          96.      92. “Prepetition Agent” means JPMorgan Chase Bank, N.A., in its capacity as administrative and
collateral agent pursuant to the Prepetition Credit Agreement.

         97.     93. “Prepetition Credit Agreement” means that certain Credit Agreement dated as of March 2,
2007, among The Reader’s Digest Association, Inc., certain of its subsidiaries, the Prepetition Agent and the
Prepetition Lenders party thereto, as amended, supplemented or otherwise modified.


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        98.      94. “Prepetition Credit Agreement Claims” means all claims arising under or in connection with
the Prepetition Credit Agreement and/or the Prepetition Loan Documents, including, without limitation, all
Adequate Protection Claims.

          99.     95. “Prepetition Lenders” means those lenders party to the Prepetition Credit Agreement from
time to time and their affiliates holding Swap Claims.

         100.     96. “Prepetition Loan Documents” means each of the documents, agreements and instruments
(including, without limitation, all collateral documents) executed and delivered from time to time in connection with
the Prepetition Credit Agreement.

        101.      97. “Priority Tax Claim” means any Claim of a governmental unit of the kind specified in section
507(a)(8) of the Bankruptcy Code.

          102.      98. “Proof of Claim” means a proof of claim filed against any of the Debtors in the Chapter 11
Cases.

         103.    99. “Pro Rata” means the proportion that an Allowed Claim in a particular Class bears to the
aggregate amount of Allowed Claims in that Class, or the proportion that Allowed Claims in a particular Class bear
to the aggregate amount of Allowed Claims in a particular Class and other Classes entitled to share in the same
recovery as such Allowed Claim under the Plan.

      104.      100. “Record Date” means 5:00 p.m. (NYC time) on [DATE].prevailing Eastern Time on
[November 5], 2009.

         105.      101. “Registration Rights Agreement” means a registration rights agreement substantially in the
form set forth in the Plan Supplement obligating the Reorganized Debtors to register for resale certain shares of New
Common Stock under the Securities Act in accordance with the terms set forth in such agreement, which shall be in
form and substance satisfactory to the Required Consenting Lenders in all material respects.

         106.     102. “Reinstated Euro Term Loan” means that certain Euro denominated term loan facility
incurred pursuant to the terms of the Prepetition Credit Agreement as amended as of the Commencement Date and
as such term loan will be further amended and restated on the terms set forth in, and forming part of, the Exit Credit
Agreement and subject to the Restructuring Support Agreement.

          107.     103. “Released Parties” means, collectively, (a) the Debtors and the Debtors’ current and former
officers and directors, (b) the Prepetition Agent and the Prepetition Lenders, (c) the DIP Agent and the DIP Lenders,
(d) the Creditors’ Committee and the Creditors’ Committee Members, (e) the Consenting Shareholders, and (f) with
respect to each of the Persons named in (a) — (e) above, such PersonEntity’s directors, officers, shareholders,
partners, members, employees, agents, affiliates, parents, subsidiaries, predecessors, successors, heirs, executors and
assigns, attorneys, financial advisors, accountants, and other professionals or representatives when acting in any
such capacities and (g) with respect to each of the PersonsEntities named in (a) — (f) above, each in their respective
capacities set forth in such clause.

         108.      104. “Releasing Parties” means, collectively, (a) the Prepetition Agent and the Prepetition
Lenders, (b) the DIP Agent and the DIP Lenders, (c) the Consenting Shareholders and (d) each Holder of a Claim or
Equity Interest that affirmatively votes in favor of this Plan.

        109.      105. “Reorganized Debtors” means the Debtors, in each case, or any successor thereto, by merger,
consolidation or otherwise, on or after the Effective Date.

          110.    106. “Reorganized Holdings” means RDA Holding, Inc., as reorganized pursuant to and under the
Plan, or any successor thereto, by merger, consolidation, or otherwise, on or after the Effective Date.




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         111.   “Reorganized RDA” means The Reader’s Digest Association, Inc., as reorganized pursuant
to and under the Plan, or any successor thereto, by merger, consolidation, or otherwise, on or after the
Effective Date.

        112.   107. “Required Consenting Lenders” has the meaning ascribed to such term in the Restructuring
Support Agreement.

        113.     108. “Restructuring Support Agreement” means that certain restructuring support agreement, dated
as of August 17, 2009, among the Debtors, the Consenting Lenders and the Consenting Shareholders, as amended,
supplemented or otherwise modified from time to time subject to the terms thereof.

        114.   109. “Restructuring Term Sheet” means the term sheet annexed as Exhibit A to the Restructuring
Support Agreement.

         115.     110. “Retained Professional” means any Entity: (a) employed in these Chapter 11 Cases pursuant
to a Final Order in accordance with sections 327 and 1103 of the Bankruptcy Code and to be compensated for
services rendered prior to the Effective Date, pursuant to sections 327, 328, 329, 330 or 331 of the Bankruptcy
Code; or (b) for which compensation and reimbursement has been allowed by the Bankruptcy Court pursuant to
section 503(b)(4) of the Bankruptcy Code.

        116.     111. “Rights Offering” means that certain rights offering by Reorganized Holdings pursuant to
which eligible Holders of Senior Subordinated NotesEligible Noteholders shall have the right to purchase up to
$[50-100] million of New Common Stock at Plan Equity Value, which shall represent no more than [10-
20]approximately 8% of the New Common Stock. (subject to dilution by the Management Equity Plan).

         117.     “Schedules” mean, collectively, the schedules of assets and liabilities, schedules of Executory
Contracts and Unexpired Leases and statements of financial affairs filed by the Debtors on September 24, 2009,
pursuant to section 521 of the Bankruptcy Code and in substantial accordance with the Official Bankruptcy Forms,
as the same may have been amended, modified or supplemented from time to time.

         118.     “Section 510(b) Claim” means any Claim against the Debtors arising from the rescission of a
purchase or sale of a security of the Debtors or an Affiliate of the Debtors, for damages arising from the purchase
or sale of such a security or for reimbursement or contribution allowed under section 502 of the Bankruptcy Code
on account of such a Claim.

          119.      “Securities Act” means the United States Securities Act of 1933, as amended.

        120.    “Senior Subordinated Note Claim” means any Claim derived from or based upon the Senior
Subordinated Notes Indenture.

         121.    112. “Senior Subordinated Notes” means the 9% Senior Subordinated Notes due 2017, issued by
The Reader’s Digest Association, Inc. and guaranteed by RDA Holding Co. and each direct and indirect, existing
and future domestic subsidiary of The Reader’s Digest Association, Inc. pursuant to the Senior Subordinated Notes
Indenture.

        113.    “Senior Subordinated Note Claim” means any Claim derived from or based upon the Senior
Subordinated Notes Indentures.

          122.     114. “Senior Subordinated Notes Indenture” means that certain Indenture, dated as of March 2,
20072007, among The Reader’s Digest Association, Inc., as issuer, and RDA Holding Co. and each direct and
indirect, existing and future domestic subsidiary of The Reader’s Digest Association, Inc. as guarantors, and U.S.
Bank National Association, as trustee.the Indenture Trustee.

        115.    “Schedules” mean, collectively, the schedules of assets and liabilities, schedules of Executory
Contracts and Unexpired Leases and statements of financial affairs filed by the Debtors pursuant to section 521 of


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the Bankruptcy Code and in substantial accordance with the Official Bankruptcy Forms, as the same may have been
amended, modified or supplemented from time to time.

         116.     “Section 510(b) Claim” means any Claim against the Debtors arising from rescission of a
purchase or sale of a security of the Debtors or an Affiliate of the Debtors, for damages arising from the purchase
or sale of such a security, or for reimbursement or contribution allowed under section 502 of the Bankruptcy Code
on account of such a Claim.

          117.      “Securities Act” means the United States Securities Act of 1933, as amended.

        123.    118. “Shareholders Agreement” means the stockholders’ agreement with respect to the New
Common Stock as set forth in the Plan Supplement, which shall be in material form and substance satisfactory to the
Required Consenting Lenders and shall include an option for Holders to hold limited voting securities.

        124.    “Solicitation Procedures Order” means that certain Order Approving the Debtors’ Disclosure
Statement and Relief Related Thereto, entered by the Bankruptcy Court on [November 5], 2009, as may be
amended from time to time, and which shall be in form and substance satisfactory to the Prepetition Agent and the
Required Consenting Lenders.

       125.         “Subscription Procedures” means those procedures set forth on Exhibit G to the Disclosure
Statement.

        126.      119. “Swap Claims” means those secured Claims arising from hedging arrangements under, or in
connection with, the Prepetition Credit Agreement with certain of the Prepetition Lenders or their Affiliates.

         127.      120. “Tort Claim” means any Claim that has not been settled, compromised or otherwise resolved
that: (a) arises out of allegations of personal injury, wrongful death, property damage, products liability or similar
legal theories of recovery; or (b) arises under any federal, state or local statute, rule, regulation or ordinance
governing, regulating or relating to protection of human health, safety or the environment.

         128.    121. “Unexpired Lease” means a lease to which one or more of the Debtors is a party that is
subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

         129.    122. “Unimpaired” means, with respect to a Class of Claims or Equity Interests, a any
unimpaired Claim or an Equity Interest that is unimpairedin an Unimpaired Class within the meaning of section
1124 of the Bankruptcy Code.

        130.    123. “Unimpaired Class” means an unimpaired Class within the meaning of section 1124 of the
Bankruptcy Code.

          131.     124. “Unsecured Ongoing Operations Claims” means all general unsecured Claims directly
relating to and arising solely from the receipt of goods and services by the Debtors arising with and held by Persons
with whom the Debtors are conducting, and will continue to conduct, business as of the Effective Date; provided,
however, that Unsecured Ongoing Operations Claims shall not include Administrative Claims.

         132.     125. “Variable Compensation Plan” means that certain post-Effective Date director and officer
variable compensation plan Dateto be approved and implemented by the New Board as set forth in Article IV
of the Plan, substantially in the form set forth in the Plan Supplement to be adopted as of the Effective Date.

          133.      126. “Voting Classes” means, collectively, Classes 3, 4 and 5.

        134.    127. “Voting Deadline” means [DATE] at 4:00 p.m. prevailing Pacific Time for all Holders of
Claims, which is the date and time by which all Ballots must be received by the Voting and Claims Agent in
accordance with the Disclosure Statement Order, or such other date and time as may be established by the
Bankruptcy Court with respect to any Voting Class.on [December 7], 2009.


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                                                    ARTICLE II.

                       ADMINISTRATIVE, DIP FACILITY AND PRIORITY TAX CLAIMS

          In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, DIP Facility Claims
and Priority Tax Claims have not been classified and thus are excluded from the Classes of Claims and Equity
Interests set forth in Article III.

A.        Administrative Claims

         Subject to the provisions of sections 328, 330(a) and 331 of the Bankruptcy Code, except to the extent that
a Holder of an Allowed Administrative Claim and the applicable Debtors agree to less favorable treatment to such
Holder, each Holder of an Allowed Administrative Claim will be paid the full unpaid amount of such Allowed
Administrative Claim in Cash: (a) on the Effective Date or as soon as reasonably practicable thereafter or, if not then
due, when such Allowed Administrative Claim is due or as soon as reasonably practicable thereafter; (b) if an
Administrative Claim is Allowed after the Effective Date, on the date such Administrative Claim is Allowed or as
soon as reasonably practicable thereafter or, if not then due, when such Allowed Administrative Claim is due; (c) at
such time and upon such terms as may be agreed upon by such Holder and the Debtors or the Reorganized Debtors,
as the case may be; or (d) at such time and upon such terms as set forth in an order of the Bankruptcy Court;
provided that, Allowed Administrative Claims that arise in the ordinary course of the Debtors’ or Reorganized
Debtors’ business shall be paid in full in Cash in the ordinary course of business in accordance with the terms and
subject to the conditions of any agreements governing, instruments evidencing, or other documents relating to, such
transactions; provided, further, that Allowed Administrative Claims do not include Claims filed after the applicable
deadline set forth in the Confirmation Order (except as otherwise provided by a separate order of the Bankruptcy
Court).

B.        DIP Facility Claims

          Notwithstanding anything to the contrary herein, in full and final satisfaction, settlement, release and
discharge of and in exchange for release of all DIP Facility Claims (other than Claims under the DIP Facility that
expressly survive the termination thereof), on the Effective Date, the DIP Facility Claims shall (i) subject to the
terms of the DIP Facility, convert into the New First Priority Term Loan pursuant to the Exit Credit Agreement or
(ii) be paid off in full in Cash.

C.        Priority Tax Claims

         Each Holder of an Allowed Priority Tax Claim due and payable on or prior to the Effective Date shall
receive, as soon as reasonably practicable after the Effective Date, on account of such Claim: (1) Cash in an amount
equal to the amount of such Allowed Priority Tax Claim; (2) Cash in an amount agreed to by the applicable Debtor
or Reorganized Debtor, as applicable, and such Holder; provided, however, that such parties may further agree for
the payment of such Allowed Priority Tax Claim at a later date; or (3) at the option of the Debtors, Cash in an
aggregate amount of such Allowed Priority Claim payable in installment payments over a period not more than five
years after the Commencement Date, pursuant to section 1129(a)(9)(C) of the Bankruptcy Code. To the extent any
Allowed Priority Tax Claim is not due and owing on or before the Effective Date, such Claim shall be paid in full in
Cash in accordance with the terms of any agreement between the Debtors and such Holder, or as may be due and
payable under applicable non-bankruptcy law or in the ordinary course of business.




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                                                          ARTICLE III.

                                        CLASSIFICATION AND TREATMENT
                                   OF CLASSIFIED CLAIMS AND EQUITY INTERESTS

A.        Summary

         1.       This Plan constitutes a separate chapter 11 plan of reorganization for each Debtor. Except for the
Claims addressed in Article II above (or as otherwise set forth herein), all Claims against and Interests in a
particular Debtor are placed in Classes for each of the Debtors. In accordance with section 1123(a)(1) of the
Bankruptcy Code, the Debtors have not classified Administrative Claims, DIP Facility Claims and Priority Tax
Claims, as described in Article II.

          2.       The categories of Claims and Equity Interests listed below classify Claims and Equity Interests for
all purposes, including, without limitation, voting, Confirmation and distribution pursuant hereto and pursuant to
sections 1122 and 1123(a)(1) of the Bankruptcy Code. The Plan deems a Claim or Equity Interest to be classified in
a particular Class only to the extent that the Claim or Equity Interest qualifies within the description of that Class
and shall be deemed classified in a different Class to the extent that any remainder of such Claim or Equity Interest
qualifies within the description of such different Class. A Claim or an Equity Interest is in a particular Class only to
the extent that any such Claim or Equity Interest is Allowed in that Class and has not been paid or otherwise settled
prior to the Effective Date.

          1.           3. Summary of Classification and Treatment of Classified Claims and Equity Interests

               Class                               Claim                                 Status           Voting Rights
                 1           Other Priority Claims                                     Unimpaired        Deemed to Accept
                 2           Other Secured Claims                                      Unimpaired        Deemed to Accept
                 3           Prepetition Credit Agreement Claims                        Impaired          Entitled to Vote
                 4           Unsecured Ongoing Operations Claims                        Impaired          Entitled to Vote
                 5           Other General Unsecured Claims                             Impaired          Entitled to Vote
                 6           Senior Subordinated Note Claims                            Impaired         Deemed to Reject
                 7           Section 510(b) Claims                                      Impaired         Deemed to Reject
                 8           Equity Interests                                           Impaired         Deemed to Reject
                 9           Intercompany Interests                                    Unimpaired        Deemed to Accept
                10           Intercompany Claims                                       Unimpaired        Deemed to Accept

B.        Classification and Treatment of Claims and Equity Interests

          1.    Class 1 – Other Priority Claims

                       (a)        Classification: Class 1 consists of the Other Priority Claims against the Debtors.

                       (b)        Treatment: Except to the extent that a Holder of an Allowed Other Priority Claim against
                                  the Debtors agrees to less favorable treatment for such Holder, in exchange for full and
                                  final satisfaction, settlement, release and discharge of each Allowed Other Priority Claim
                                  against the Debtors, each Holder of such Allowed Other Priority Claim shall be paid in
                                  full in Cash on or as reasonably practicable after (i) the Effective Date, (ii) the date on
                                  which such Other Priority Claim against the Debtors becomes an Allowed Other Priority
                                  Claim or (iii) such other date as may be ordered by the Bankruptcy Court.

                       (c)        Voting: Class 1 is Unimpaired and the Holders of Class 1 Claims are conclusively
                                  deemed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
                                  Therefore, the Holders of Class 1 Claims are not entitled to vote to accept or reject the
                                  Plan.


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          2.   Class 2 – Other Secured Claims

                    (a)     Classification: Class 2 consists of the Other Secured Claims against the Debtors.

                    (b)     Treatment: Except to the extent that a Holder of an Allowed Other Secured Claim agrees
                            to less favorable treatment for such Holder, in exchange for full and final satisfaction,
                            settlement, release and discharge of each Other Secured Claim, Holders of Allowed Other
                            Secured Claims shall receive one of the following treatments, in the sole discretion of the
                            applicable Debtor, in full and final satisfaction of such Allowed Other Secured Claims:
                            (i) the Debtors or the Reorganized Debtors shall pay such Allowed Other Secured Claims
                            in full in Cash including the payment of any interest required to be paid under section
                            506(b) of the Bankruptcy Code,; (ii) the Debtors or the Reorganized Debtors shall deliver
                            the collateral securing any such Allowed Other Secured Claim; or (iii) the Debtors or the
                            Reorganized Debtors shall otherwise treat any Allowed Other Secured Claim in any other
                            manner such that the Claim shall be rendered Unimpaired.

                    (c)     Voting: Class 2 is Unimpaired and the Holders of Class 2 Claims are conclusively
                            deemed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
                            Therefore, the Holders of Class 2 Claims are not entitled to vote to accept or reject the
                            Plan.

          3.   Class 3 – Prepetition Credit Agreement Claims

                    (a)     Classification: Class 3 consists of Prepetition Credit Agreement Claims against the
                            Debtors.

                    (b)     Allowance: On the Effective Date, Prepetition Credit Agreement Claims shall be deemed
                            Allowed in the aggregate amount of [$1.645 billion].

                    (c)     Treatment: In exchange for full and final satisfaction, settlement, release and discharge
                            of each Allowed Prepetition Credit Agreement Claim, each Holder of an Allowed
                            Prepetition Credit Agreement Secured Claim shall receive their Pro Rata share of each of
                            (i) the Reinstated Euro Term Loan, (ii) the New Second Priority Term Loan and (iii)
                            100% percent of the New Common Stock issued and outstanding as of the Effective Date
                            (subject to dilution on account of the Rights Offering and the Management Equity Plan);
                            provided that (x) the Euro Term Lenders (as defined in the Prepetition Credit Agreement)
                            as of the Distribution Record Date shall be the only Prepetition Lenders entitled to
                            receive the treatment set forth in clause (c)(i) on account of their exposure under the Euro
                            Term Loan (as defined in the Prepetition Credit Agreement) and (y) the Revolving
                            Lenders, U.S. Term Lenders (each as defined in the Prepetition Credit Agreement) and
                            Holders of Swap Claims as of the Distribution Record Date shall be the only Prepetition
                            Lenders entitled to receive the treatment set forth in clauses (c)(ii) and (iii) on account of
                            their exposures under the Revolver Loan, U.S. Term Loan (each as defined in the
                            Prepetition Credit Agreement) and Swap Claims.

                            The Letters of Credit shall continue to be treated as set forth in paragraph 13(c) of the
                            Final DIP Order.

                    (d)     Voting: Class 3 is Impaired and Holders of Class 3 Claims are entitled to vote to accept
                            or reject the Plan.




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          4.   Class 4 –Unsecured Ongoing Operations Claims

                    (a)     Classification: Class 4 consists of Unsecured Ongoing Operations Claims against the
                            Debtors.

                    (b)     Treatment: Except to the extent that a Holder of an Allowed Unsecured Ongoing
                            Operations Claim agrees to less favorable treatment, in exchange for full and final
                            satisfaction, settlement, release and discharge of each Allowed Unsecured Ongoing
                            Operations Claim, each Holder of an Allowed Unsecured Ongoing Operations Claim will
                            be paid in full in Cash (i) on the Effective Date or as soon as reasonably practicable
                            thereafter or (ii) in the ordinary course of business in accordance with the terms of any
                            agreement that governs such Allowed Unsecured Ongoing Operations Claim or in
                            accordance with the historical course of practicedealings between the Debtors and such
                            Holder with respect to such Allowed Unsecured Ongoing Operations Claim, provided,
                            however, that Holders of Unsecured Ongoing Operations Claims are not entitled to
                            postpetition interest, late fees or penalties on account of such Claims. Holders of
                            Allowed Unsecured Ongoing Operations Claims who received any payments from the
                            Debtors during the Chapter 11 Cases pursuant to any order of the Bankruptcy Court shall
                            not be excluded from receiving distributions under the Plan on account of such Claims
                            unless such Claims were fully satisfied by any prior payments from the Debtors or
                            otherwise waived by agreement of the parties. The Debtors reserve all rights to
                            challenge the legal basis and amount of any asserted Unsecured Ongoing Operations
                            Claim, and each such Holder reserves all rights and defenses with respect to any such
                            challenge.

                    (c)     Voting: Class 4 is Impaired and Holders of Class 4 Claims are entitled to vote to accept
                            or reject the Plan.

          5.   Class 5 – Other General Unsecured Claims

                    (a)     Classification: Class 5 consists of Other General Unsecured Claims against the Debtors.

                    (b)     Treatment: Except to the extent that a Holder of an Allowed Other General Unsecured
                            Claim agrees to less favorable treatment, in exchange for full and final satisfaction,
                            settlement, release and discharge of each Allowed Other General Unsecured Claim, each
                            Holder of an Allowed Other General Unsecured Claim shall receive their Pro Rata share
                            of the Other General Unsecured Claims Distribution.

                    (c)     Voting: Class 5 is Impaired and Holders of Class 5 Claims are entitled to vote to accept
                            or reject the Plan.

          6.   Class 6 – Senior Subordinated Note Claims

                    (a)     Classification: Class 6 consists of Senior Subordinated Note Claims against the Debtors.

                    (b)     Allowance: On the Effective Date, Senior Subordinated Note Claims shall be deemed
                            Allowed in the aggregate amount of [$628.2 million].

                    (c)     Treatment: Holders of Subordinated Note Claims shall not actually receive or retain any
                            interest or property under the Plan on account of such Senior Subordinated Note Claims.
                            The treatment of the Senior Subordinated Notes Claims under the Plan is in accordance
                            with and gives effect to the provisions of section 510(a) of the Bankruptcy Code.




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                    (d)     Voting: Class 6 is Impaired and the Holders of Class 6 Claims are conclusively deemed
                            to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore,
                            the Holders of Class 6 Claims are not entitled to vote to accept or reject the Plan.

          7.   Class 7 – Section 510(b) Claims

                    (a)     Classification: Class 7 consists of Section 510(b) Claims against the Debtors.

                    (b)     Treatment: Holders of Section 510(b) Claims shall not receive any distribution on
                            account of such Section 510(b) Claims. On the Effective Date, all Section 510(b) Claims
                            shall be discharged.

                    (c)     Voting: Class 7 is Impaired and hHolders of Class 7 Claims are conclusively deemed to
                            have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore,
                            hHolders of Section 510(b) Claims are not entitled to vote to accept or reject the Plan.

          8.   Class 8 – Equity Interests

                    (a)     Classification: Class 8 consists of RDA Holding Co. Equity Interests.

                    (b)     Treatment: Holders of RDA Holding Co. Equity Interests shall not receive any
                            distribution on account of such RDA Holding Co. Equity Interests. On the Effective
                            Date, all RDA Holding Co. Equity Interests shall be discharged, cancelled, released and
                            extinguished.

                    (c)     Voting: Class 8 is Impaired and Holders of Class 8 Equity Interests are conclusively
                            deemed to have rejected the Plan pursuant to 1126(g) of the Bankruptcy Code.
                            Therefore, Holders of RDA Holding Co. Equity Interests are not entitled to vote to accept
                            or reject the Plan.

          9.   Class 9 – Intercompany Interests

                    (a)     Classification: Class 9 consists of all Intercompany Interests in the Debtors.

                    (b)     Treatment: Intercompany Interests shall be reinstated on the Effective Date.

                    (c)     Voting: Class 9 is Unimpaired, and Holders of Class 9 Intercompany Interests are
                            conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                            Bankruptcy Code. Therefore, hHolders of Intercompany Interests are not entitled to vote
                            to accept or reject the Plan.

          10. Class 10 – Intercompany Claims

                    (a)     Classification: Class 10 consists of all Intercompany Claims.

                    (b)     Treatment: To preserve the Debtors’ corporate structure, Intercompany Claims may be
                            reinstated as of the Effective Date or, at the Debtors’ or Reorganized Debtors’ option, be
                            cancelled or compromised, and no distribution shall be made on account of such Claims.

                    (c)     Voting: Class 10 is Unimpaired, and Holders of Class 10 Intercompany Claims, by virtue
                            of their status as a Debtor or an Affiliate of a Debtor, are conclusively presumed to have
                            accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
                            hHolders of Intercompany Claims are not entitled to vote to accept or reject the Plan.




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C.          Special Provision Governing Unimpaired Claims

         Except as otherwise provided herein, nothing under the Plan shall affect the Debtors’ or the Reorganized
Debtors’ rights in respect of any Unimpaired Claims, including, without limitation, all rights in respect of legal and
equitable defenses to or setoffs or recoupments against any such Unimpaired Claims.

D.          Acceptance or Rejection of the Plan

            1.   Presumed Acceptance of Plan

         Classes 1, 2, 9 and 10 are Unimpaired under the Plan, and are, therefore, presumed to have accepted the
Plan pursuant to section 1126(f) of the Bankruptcy Code.

            2.   Voting Classes

            Each Holder of an Allowed Claim in each of Classes 3, 4 and 5 shall be entitled to vote to accept or reject
the Plan.

            3.   Presumed Rejection of Plan

         Class 6 Senior Subordinated Notes Claims, Class 7 Section 510(b) Claims and Class 8 Equity Interests
shall receive no distribution under the Plan on account of their Claims and Equity Interests and are, therefore,
presumed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code.

            4.   Controversy Concerning Impairment

        If a controversy arises as to whether any Claims or Interests, or any Class of Claimsthereof, are Impaired,
the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the Confirmation
Date.

E.          Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code

         Acceptance of the Plan by either Class 3, 4 or 5 will satisfy section 1129(a)(10) of the Bankruptcy Code.
The Debtors will seek confirmation of the Plan under section 1129(b) of the Bankruptcy Code with respect to any
rejecting class of Claims or Equity Interests.

F.          Elimination of Vacant Classes

         Any Class of Claims that is not occupied as of the date of commencement of the Confirmation Hearing by
the Holder of an Allowed Claim or a Claim temporarily Allowed under Bankruptcy Rule 3018 (i.e., no Ballots are
cast in a Class entitled to vote on the Plan) shall be deemed eliminated from the Plan for purposes of voting to
accept or reject the Plan and for purposes of determining acceptances or rejection of the Plan by such Class pursuant
to section 1129(a)(8) of the Bankruptcy Code.

                                                     ARTICLE IV.

                                  MEANS FOR IMPLEMENTATION OF THE PLAN

A.          General Settlement of Claims

         As discussed further in the Disclosure Statement and as otherwise provided herein, pursuant to section
1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the classification, Distributions,
releases, and other benefits provided under the Plan, upon the Effective Date, the provisions of the Plan shall
constitute a good faith compromise and settlements of all Claims and Equity Interests and controversies resolved
pursuant to the Plan. Distributions made to Holders of Allowed Claims in any Class are intended to be final.

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B.        Restructuring Transactions

          On the Effective Date or as soon as reasonably practicable thereafter, the Reorganized Debtors may take all
actions as may be necessary or appropriate to effect any transaction described in, approved by, contemplated by or
necessary to effectuate the Plan, including: (1) the execution and delivery of appropriate agreements or other
documents of merger, consolidation or reorganization containing terms that are consistent with the terms of the Plan
and that satisfy the requirements of applicable law; (2) the execution and delivery of appropriate instruments of
transfer, assignment, assumption or delegation of any property, right, liability, duty or obligation on terms consistent
with the terms of the Plan; (3) the filing of appropriate certificates of incorporation, merger or consolidation with the
appropriate governmental authorities pursuant to applicable law; and (4) all other actions that the Reorganized
Debtors determine are necessary or appropriate.

C.        Corporate Existence

          Subject to any restructuring transactions as permitted under Article IV(B), each Debtor shall continue to
exist after the Effective Date as a separate corporate entity or limited liability company, with all the powers of a
corporation or limited liability company pursuant to the applicable law in the jurisdiction in which each applicable
Debtor is incorporated or formed and pursuant to the respective certificate of incorporation and bylaws (or other
formation documents in the case of a limited liability company) in effect prior to the Effective Date, except to the
extent such certificate of incorporation or bylaws (or other formation documents in the case of a limited liability
company) are amended by or in connection with the Plan or otherwise and, to the extent such documents are
amended, such documents are deemed to be authorized pursuant hereto and without the need for any other
approvals, authorizations, actions or consents.

D.        Vesting of Assets in the Reorganized Debtors

          Except as otherwise provided herein or in any agreement, instrument or other document relating thereto, on
or after the Effective Date, all property of each Estate (including, without limitation, Causes of Action) and any
property acquired including by any of the Debtors pursuant hereto shall vest in each respective Reorganized Debtor,
free and clear of all liens, Claims, charges or other encumbrances. Except as may be provided herein, on and after
the Effective Date, each Reorganized Debtor may operate its business and may use, acquire or dispose of property
and compromise or settle any Claims without supervision or approval by the Bankruptcy Court and free of any
restrictions of the Bankruptcy Code or Bankruptcy Rules.

E.        Indemnification Provisions in Organizational Documents

          As of the Effective Date, each Debtor’s bylaws shall provide for the indemnification, defense,
reimbursement, exculpation, and/or limitation of liability of, and advancement of fees and expenses to, directors,
officers, employees or agents who were directors, officers, employees or agents of such Debtor, at any time prior to
the Effective Date at least to the same extent as the bylaws of each of the respective Debtors on the Commencement
Date, against any claims or Causes of Action whether direct or derivative, liquidated or unliquidated, fixed or
contingent, disputed or undisputed, matured or unmatured, known or unknown, foreseen or unforeseen, asserted or
unasserted, and none of the Reorganized Debtors shall amend and/or restate its certificate of incorporation or bylaws
before or after the Effective Date to terminate or materially adversely affect any of the Reorganized Debtors’
obligations or such directors’, officers’, employees’ or agents’ rights; provided that, with respect to former officers
and directors, the Debtors shall be obligated to indemnify such individuals only to the extent of available coverage
under their D&O Liability Insurance Policies (and payable from the proceeds of such D&O Liability Insurance
Policies), including the advancing of defense costs prior to final adjudication.

F.        Cancellation of Agreements, Senior Subordinated Notes and Equity Interests

         On the later of the Effective Date and the date on which distributions are made pursuant to the Plan, except
as otherwise specifically provided for in the Plan: (1) the obligations of the Debtors under the Prepetition Credit
Agreement, the Prepetition Loan Documents, the Senior Subordinated Notes Indenture and any other certificate,
equity security, share, note, bond, indenture, purchase right, option, warrant or other instrument or document


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directly or indirectly evidencing or creating any indebtedness or obligation of or ownership interest in the Debtors
giving rise to any Claim or Equity Interest (except such certificates, notes or other instruments or documents
evidencing indebtedness or obligation of or ownership interest in the Debtors that are reinstated pursuant to the
Plan), shall be cancelled solely as to the Debtors and their Affiliates, and the Reorganized Debtors shall not have any
continuing obligations thereunder; and (2) the obligations of the Debtors and their Affiliates pursuant, relating or
pertaining to any agreements, indentures, certificates of designation, by-laws or certificate or articles of
incorporation or similar documents governing the shares, certificates, notes, bonds, indentures, purchase rights,
options, or other instruments or documents evidencing or creating any indebtedness or obligation of or ownership
interest in the Debtors (except such agreements, certificates, notes or other instruments evidencing indebtedness or
obligation of or ownership interest in the Debtors that are specifically reinstated pursuant to the Plan) shall be
released and discharged; except that:

               1.   The Prepetition Credit Agreement shall continue in effect solely for the purpose of: (a) allowing
                    Holders of the Prepetition Credit Agreement Claims to receive the distributions provided for
                    hereunder; (b) allowing the Prepetition Agent to receive distributions from the Debtors and to
                    make further distributions to the Holders of Prepetition Credit Agreement Claims on account of
                    such Claims, as set forth in Article VII.A of the Plan; and (c) preserving the Prepetition Agent’s
                    right to indemnification from the Debtors pursuant and subject to the terms of the Prepetition
                    Credit Agreement in respect of any claim or cause of action asserted against the Prepetition Agent;
                    provided that any claim or right to payment on account of such indemnification shall be an
                    unsecured claim and shall not be secured in any of the assets of the Debtors, the Reorganized
                    Debtors or their affiliates; and

               2.   The foregoing shall not effect the cancellation of shares issued pursuant to the Plan nor any other
                    shares held by one Debtor in the capital of another Debtor; and provided, further, however, that to
                    the extent provided in the Exit Credit Agreement and the New Second Priority Term Loan
                    Agreement, the guarantees of and Liens securing obligations under the Prepetition Credit
                    Agreement shall not be cancelled and shall guarantee or secure obligations under and as set forth
                    in the Exit Credit Agreement and the New Second Priority Term Loan Agreement and only such
                    obligations.

G.        Sources of Cash for Plan Distributions and Transfers of Funds Among Debtors

          All Cash necessary for the Reorganized Debtors to make payments required pursuant to the Plan will be
funded with Cash on hand. Cash payments to be made pursuant to the Plan will be made by the Reorganized
Debtors; provided, however, that the Debtors and the Reorganized Debtors will be entitled to transfer funds between
and among themselves as they determine to be necessary or appropriate to enable the Reorganized Debtors to satisfy
their obligations under the Plan. Except as set forth herein, any changes in intercompany account balances resulting
from such transfers will be accounted for and settled in accordance with the Debtors’ historical intercompany
account settlement practices and will not violate the terms of the Plan.

        From and after the Effective Date, the Reorganized Debtors, subject to any applicable limitations set forth
in any post-Effective Date financing, shall have the right and authority without further order of the Bankruptcy
Court to raise additional capital and obtain additional financing as the boards of directors of the applicable
Reorganized Debtors deem appropriate.

H.        Approval of Exit Credit Agreement and New Second Priority Term Loan Agreement

         On the Effective Date, the Reorganized Debtors will enter into the Exit Credit Agreement and the New
Second Priority Term Loan Agreement. The Confirmation Order shall constitute an order of the Bankruptcy Court
approving (a) entry into the Exit Credit Agreement (and issuance of the New First Priority Term Loan and
Reinstated Euro Term Loan), and (b) entry into the New Second Priority Term Loan Agreement (and issuance of the
Second Priority Term Loan). The lenders under the Exit Credit Agreement and the New Second Priority Term Loan
Agreement shall have valid, binding and enforceable liens on the collateral specified in the relevant agreements
executed by the Reorganized Debtors in connection with the Exit Credit Agreement and the New Second Priority
Term Loan Agreement. The guarantees, mortgages, pledges, liens and other security interests granted pursuant to or

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in connection with the Exit Credit Agreement and the New Second Priority Term Loan Agreement are granted in
good faith as an inducement to the lenders to extend credit thereunder and shall be, and hereby are, deemed not to
constitute a fraudulent conveyance or fraudulent transfer, shall not otherwise be subject to avoidance, and the
priorities of such liens and security interests shall be as set forth in the intercreditor agreement and other definitive
documentation executed in connection with the Exit Credit Agreement and the New Second Priority Term Loan
Agreement. Notwithstanding anything to the contrary in the Confirmation Order or the Plan, the Bankruptcy
Court’s retention of jurisdiction shall not govern the enforcement of the loan documentation executed in connection
with the Exit Credit Agreement and the New Second Priority Term Loan Agreement or any rights or remedies
related thereto.

I.        Reorganized Debtors’ Equity Interests

          1.   New Common Stock

         On the Effective Date, the Reorganized Debtors shall issue or reserve for issuance all of the New Common
Stock. The New Common Stock shall represent all of the Equity Interests in Reorganized Holdings as of the
Effective Date and shall be issued to Holders of Prepetition Credit Agreement Claims, subject to dilution by equity
issued in connection with the Management Equity Plan or the Rights Offering. From and after the Effective Date,
subject to the right of the stockholders to amend the certificate of incorporation of RDA Holding Co., Reorganized
Holdings shall have one class and one series of New Common Stock; provided that the Shareholders Agreement
shall provide an option for Holders to receive limited voting stock. The issuance of the New Common Stock by
Reorganized Holdings, including options or other equity awards reserved for the Management Equity Plan, is
authorized without the need for further corporate action and all of the shares of New Common Stock issued pursuant
to the Plan shall be duly authorized, validly issued, fully paid and non-assessable. For purposes of distribution, the
New Common Stock will be deemed to have the Plan Equity Value, regardless of the date of distribution.

          2.   Registration Rights & Shareholders Agreements

         Certain holders of the New Common Stock shall be entitled to registration rights pursuant to the
Registration Rights Agreement. On or after the Effective Date, Reorganized Holdings and the Required Consenting
Lenders shall enter into and deliver athe rRegistration rRights aAgreement and the Shareholders Agreement, in
substantially the form included in the Plan Supplement, to each eEntity that is intended to be a party thereto or
such agreements shall be deemed to be valid, binding and enforceable in accordance with their respective terms, and
each holder of New Common Stock shall be bound thereby, in each case without the need for execution by any party
thereto other than Reorganized Holdings.

          3.   Private Company

        On the Effective Date, the Reorganized Debtors shall be a private company. As such, the Reorganized
Debtors will not list the New Common Stock on a national securities exchange.

J.        Section 1145 Exemption

          Pursuant to section 1145 of the Bankruptcy Code, the offering, issuance, and distribution of any securities
pursuant to the Plan and any and all settlement agreements incorporated herein shall be exempt from, among other
things, the registration requirements of sSection 5 of the Securities Act to the maximum extent permitted thereunder
and any other applicable law requiring registration by virtue of section 1145 of the Bankruptcy Code, prior to the
offering, issuance, distribution or sale of securities. In addition, except as otherwise provided in the Plan, to the
maximum extent provided under section 1145 of the Bankruptcy Code, any and all New Common Stock
contemplated by the Plan and any and all settlement agreements incorporated therein will be freely tradable by the
recipients thereof, subject to : (1) the provisions of section 1145(b)(1) of the Bankruptcy Code relating to the
definition of an underwriter in section 2(a)(11) of the Securities Act, and compliance with any rules and regulations
of the Commission, if any, applicable at the time of any future transfer of such Securities or instruments; (2) the
restrictions, if any, on the transferability of such Securities and instruments; and (3) applicable regulatory approval.



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K.        Rights Offering

         The Debtors may issue up to $[50-100] million of the New Common Stock, (which shall represent no more
than [10-20]%approximately 8%) of the New Common Stock, pursuant to the Rights Offering more fully
described in the Disclosure Statement. Notwithstanding anything herein to the contrary, the New Common
Stock issued in connection with the Rights Offering will be issued under Section 4(2) of the Securities Act.
Such New Common Stock will be “restricted securities” and cannot be sold absent registration under, or
pursuant to an exemption from, the Securities Act.

L.        Organizational Documents

         Subject to sectionArticle IV.E of the Plan, the Reorganized Debtors shall enter into such agreements and
amend their corporate governance documents to the extent necessary to implement the terms and conditions of the
Plan. Without limiting the generality of the foregoing, as of the Effective Date, Reorganized Holdings shall be
governed by the Amended and Restated Certificate of Incorporation and the Amended and Restated Bylaws. From
and after the Effective Date, the organizational documents of each of the Reorganized Debtors will comply with
section 1123(a)(6) of the Bankruptcy Code for so long as it is applicable.

M.        Effectuating Documents; Further Transactions

          The Debtors or the Reorganized Debtors, as applicable, may take all actions to execute, deliver, file or
record such contracts, instruments, releases and other agreements or documents and take such actions as may be
necessary or appropriate to effectuate and implement the provisions of the Plan, including, without limitation, the
distribution of the securities to be issued pursuant hereto in the name of and on behalf of the Reorganized Debtors,
without the need for any approvals, authorizations, actions or consents except for those expressly required pursuant
hereto. The secretary and any assistant secretary of each Debtor shall be authorized to certify or attest to any of the
foregoing actions.

         Prior to, on or after the Effective Date (as appropriate), all matters provided for pursuant to the Plan that
would otherwise require approval of the shareholders, directors or members of the Debtors shall be deemed to have
been so approved and shall be in effect prior to, on or after the Effective Date (as appropriate) pursuant to applicable
law and without any requirement of further action by the shareholders, directors, managers or partners of the
Debtors, or the need for any approvals, authorizations, actions or consents.

N.        Exemption from Certain Transfer Taxes and Recording Fees

          Pursuant to section 1146(a) of the Bankruptcy Code, any transfer from a Debtor to a Reorganized Debtor or
to any Entity pursuant to, in contemplation of, or in connection with the Plan or pursuant to: (1) the issuance,
distribution, transfer, or exchange of any debt, securities, or other interest in the Debtors or the Reorganized
Debtors; (2) the creation, modification, consolidation, or recording of any mortgage, deed of trust or other security
interest, or the securing of additional indebtedness by such or other means; (3) the making, assignment, or recording
of any lease or sublease; or (4) the making, delivery, or recording of any deed or other instrument of transfer under,
in furtherance of, or in connection with, the Plan, including any deeds, bills of sale, assignments, or other instrument
of transfer executed in connection with any transaction arising out of, contemplated by, or in any way related to the
Plan, shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or similar tax,
mortgage tax, real estate transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording fee,
regulatory filing or recording fee, or other similar tax or governmental assessment, and the appropriate state or local
governmental officials or agents shall forego the collection of any such tax or governmental assessment and to
accept for filing and recordation any of the foregoing instruments or other documents without the payment of any
such tax or governmental assessment.




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O.        Directors and Officers of Reorganized Holdings and other Reorganized Debtors

         1.      The existing officers of the Debtors shall remain in their current capacities as officers of the
Reorganized Debtors, subject to the ordinary rights and powers of the board of directors to remove or replace them
in accordance with the Debtors’ organizational documents and any applicable employment agreements.

         2.        The New Board shall consist of [7]seven (7) directors. The Prepetition Lenders shall identify
potential directors through use of a search firm acceptable to the Prepetition Agent (with such reasonable fees and
expenses to be paid by the Debtors) and shall initially designate all such directors upon consultation with the
Debtors’ Chief Executive Officer; provided, however, that certain independent directors may be requested to
continue to serve on the New Board. The identity of each of the members of the New Board will be disclosed prior
to the Confirmation Hearing and any directors elected pursuant to this section shall be subject to approval of the
Bankruptcy Court pursuant to section 1129(a)(5) of the Bankruptcy Code. The existing directors of each of the
subsidiary Debtors shall remain in their current capacities as directors of the applicable Reorganized Debtor until
replaced or removed in accordance with the organizational documents of the applicable Reorganized Debtors.

P.        Preservation of Rights of Action

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to the releases set forth in Article
X.E below, the Reorganized Debtors shall retain and may enforce all rights to commence and pursue, as appropriate,
any and all Causes of Action, whether arising before or after the Commencement Date, and the Reorganized
Debtors’ rights to commence, prosecute, or settle such Causes of Action shall be preserved notwithstanding the
occurrence of the Effective Date. The rReorganized Debtors may pursue such Causes of Action, as appropriate, in
accordance with the best interests of the Reorganized Debtors. No Person may rely on the absence of a specific
reference in the Plan, the Plan Supplement or the Disclosure Statement to any Cause of Action against them
as any indication that the Debtors or Reorganized Debtors, as applicable, will not pursue any and all
available Causes of Action against them. The Debtors or Reorganized Debtors, as applicable, expressly
reserve all rights to prosecute any and all Causes of Action against any Person, except as otherwise expressly
provided in the Plan. Unless any Causes of Action against a Personan Entity are expressly waived, relinquished,
exculpated, released, compromised or settled in the Plan or a Bankruptcy Court order, the Reorganized Debtors
expressly reserve all Causes of Action, for later adjudication, and, therefore no preclusion doctrine, including the
doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable or
otherwise) or laches, shall apply to such Causes of Action upon, after, or as a consequence of the Confirmation or
the Effective Date.

         Subject to the releases set forth in Article X.E below, the Reorganized Debtors reserve and shall retain the
Causes of Action notwithstanding the rejection or repudiation of any Executory Contract or Unexpired Lease during
the Chapter 11 Cases or pursuant to the Plan. In accordance with section 1123(b)(3) of the Bankruptcy Code, any
Causes of Action that a Debtor may hold against any PersonEntity shall vest in the applicable Reorganized Debtor,
as the case may be. The applicable Reorganized Debtor, through its authorized agents or representatives, shall retain
and may exclusively enforce any and all such Causes of Action. The Reorganized Debtors shall have the exclusive
right, authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle, compromise,
release, withdraw or litigate to judgment any such Causes of Action and to decline to do any of the foregoing
without the consent or approval of any third party or further notice to or action, order or approval of the Bankruptcy
Court.

         Further, any recovery paid or payable to the Debtors or the Prepetition Lenders from proceeds of any Cause
of Action against the Consenting Shareholders (either directly or indirectly or pursuant to the subordination
provisions of the Senior Subordinated Notes Indenture) shall be payable to such Consenting Shareholders, and if any
of such parties receive any recovery on account of such Cause of Action, they shall hold the proceeds of any
payment thereof in trust for the Consenting Shareholders and shall promptly transfer such proceeds or payment, as
the case may be, to the Consenting Shareholders.




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                                             ARTICLE V.
                            COMPENSATION, PENSION AND BENEFITS PROGRAMS

A.        Management Equity Plan

         On or as soon as practical after the Effective Date, the New Board will adopt and implement a Management
Equity Plan whereby equity awards (in the form of restricted stock, options or warrants) for 7.5% of the New
Common Stock (on a fully diluted basis) of the Reorganized Debtors will be granted to continuing employees of the
Debtors and members of the New Board with pricing, vesting and exercise terms to be determined by the New
Board upon consultation with the Reorganized Debtors’ Chief Executive Officer; provided, that such equity awards
shall not include more than 2.5% in the form of restricted New Common Stock. The Debtors reserve the right to
amend the Management Equity Plan with the consent of the Prepetition Agent and the Required Consenting Lenders
at any time prior to the Effective Date.

B.        Compensation Plans

        Subject only to the occurrence of the Effective Date, the Enterprise Value Maximization Plan and the
Variable Compensation Plan, which shallin substantially the form to be set forth in the Plan Supplement, shall
become effective without any further action by the Reorganized Debtors.

C.        Compensation and Benefit Programs

         The Debtors do not believe that all of the Compensation and Benefits Programs are executory
contractsExecutory Contracts, but for purposes of the Plan, the Compensation and Benefits Programs shall be
deemed to be, and shall be treated as though they are, Executory Contracts and, except as set forth below, the
Reorganized Debtors’ obligations under the Compensation and Benefits Programs shall be deemed assumed on the
Effective Date pursuant to the provisions of section 365 and 1123 of the Bankruptcy Code, except for:

                    (a)      Compensation and Benefits Programs listed in the Plan Supplement to be rejected or
                             terminated;

                    (b)      Compensation and Benefits Programs that have previously been rejected or terminated;
                             and

                    (c)      Compensation and Benefits Programs that, as of the entry of the Confirmation Order, are
                             the subject of pending rejection procedures or a motion to reject, or have been
                             specifically waived by the beneficiaries of any employee benefit plan or contract.

         The assumption or continuation of Compensation and Benefits Programs identified in the Plan
Supplementas set forth herein shall not be deemed to trigger any applicable change of control, immediate vesting,
termination, or similar provisions therein (unless a Compensation and Benefits Program counterparty timely objects
to the assumption or continuation contemplated by this Section in which case any such Compensation and Benefits
Program shall be deemed rejected or discontinued as of immediately prior to the Commencement Date). No
counterparty shall have rights under a Compensation and Benefits Program assumed pursuant to this SectionArticle
V.C other than those applicable immediately prior to such assumption or continuation.

         For the avoidance of doubt, the Debtors are not seeking to assume any obligations in connection with the
Non-Qualified Retirement Plans in connection with the Plan. Claims arising from the discontinuation, rejection or
termination of the Non-Qualified Retirement Plans will be treated as Other General Unsecured Claims in Class 5.

D.        Continuation of Retiree Benefits and Pension Plan

         Notwithstanding anything to the contrary herein or otherwise, the Reorganized Debtors’ obligations with
respect to the payment of “retiree benefits” (as that term is defined in section 1114(a) of the Bankruptcy Code) shall



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continue for the duration of the periods the Debtors have obligated themselves to provide such benefits, if any, and
subject to any contractual rights to terminate or modify such benefits.

          The Debtors or the Reorganized Debtors, as applicable, shall also continue the Pension Plan in accordance
with its terms, and the Debtors or Reorganized Debtors, as applicable, shall satisfy the minimum funding standards
and administer the Pension Plan in accordance with the provisions of ERISA and the Internal Revenue Code, subject
to any contractual or statutory rights to terminate or modify such plan.

E.        Workers’ Compensation Programs

        As of the Effective Date, except as set forth in the Plan Supplement, the Debtors and the Reorganized
Debtors shall continue to honor their obligations under: (i) all applicable workers’ compensation laws in states in
which the Reorganized Debtors operate; and (ii) the Debtors’ written contracts, agreements, agreements of
indemnity, self-insurer workers’ compensation bonds, policies, programs, and plans for workers’ compensation and
workers’ compensation insurance.

          All Proofs of Claims on account of workers’ compensation shall be deemed withdrawn automatically and
without any further notice to or action, order, or approval of the Bankruptcy Court; provided, however, that nothing
in the Plan shall limit, diminish, or otherwise alter the Debtors’ or Reorganized Debtors’ defenses, Causes of Action,
or other rights under applicable non--bankruptcy law with respect to any such contracts, agreements, policies,
programs, and plans; provided, further, that nothing herein shall be deemed to impose any obligations on the
Debtors in addition to what is provided for under applicable state law.

                                                   ARTICLE VI.

                  TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.        Assumption and Rejection of Executory Contracts and Unexpired Leases

          Subject to the provisions herein, each of the Debtors’ Executory Contracts and Unexpired Leases shall be
deemed assumed as of the Effective Date unless suchexcept any Executory Contract or Unexpired Lease: (1) was
(a) previously assumed or rejected previously by the Debtors; (2) is during these Chapter 11 Cases, (b) identified
on the list of Executory Contracts and Unexpired Leases to be rejected filed pursuant to the Plan Supplement,
which listContract/Lease Schedule (which shall be filed on or beforewith the Bankruptcy Court on the
Contract/Lease Schedule Date and shall not be modified by the Debtors after the Contract/Lease Schedule
Date; (3)) as an Executory Contract or Unexpired Lease designated for rejection, (c) which is the subject of a
separate motion or notice to reject filed by the Debtors on or before the Contract/Lease Schedule Date; provided
that the Debtors shall not file any separate motions or notices to reject Executory Contracts or Unexpired
Leases after the Contract/Lease Schedule Date if the Plan is still pending or has been consummated; or (4)
previously expired or terminated pursuant to its own termsand pending as of the Confirmation Hearing.

         Except as expressly provided otherwise, the Plan shall give effect to any subordination rights as required by
section 510(a) of the Bankruptcy Code.

         Entry of the Confirmation Order by the Bankruptcy Court shall constitute an order approving the
assumptions or rejections of such Executory Contracts and Unexpired Leases as set forth in the Plan, all pursuant to
sections 365(a) and 1123 of the Bankruptcy Code. Unless otherwise indicated, all assumptions or rejections of such
Executory Contracts and Unexpired Leases in the Plan are effective as of the Effective Date. Each such Executory
Contract and Unexpired Lease assumed pursuant to the Plan or by Bankruptcy Court order, and not assigned to a
third party prior to the Effective Date, shall revestre-vest in and be fully enforceable by the applicable contracting
Reorganized Debtor in accordance with its terms, except as such terms may have been modified by agreement of the
parties or order of the Bankruptcy Court. Notwithstanding anything to the contrary in the Plan, the Debtors or
Reorganized Debtors, as applicable, reserve the right to alter, amend, modify or supplement the Executory Contracts
and Unexpired Leases identified in the Plan Supplementon the Contract/Lease Schedule in their discretion prior
to the Effective Date on proper notice to the non-debtor Entity party thereto.


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B.        Cure of Defaults for Assumed Executory Contracts and Unexpired Leases

         Any provisions or terms of the Debtors’ Executory Contracts or Unexpired Leases to be assumed pursuant
to the Plan that are, or may be, alleged to be in default, shall be satisfied, pursuant to section 365(b)(1) of the
Bankruptcy Code, solely by Cure or by an agreed-upon waiver of Cure on or as soon as reasonably practicable after
the Effective Date.

         At least ten (10The Debtors will file the Contract/Lease Schedule(s) with the Bankruptcy Court at
least twenty (20) days prior to the Confirmation Hearing, the Debtors shall serve upon counterparties to such
Executory Contracts and Unexpired Leases, a notice of the proposed assumption, which will: (1) list the applicable
amount of Cure, if any; (2). The Contract/Lease Schedule will include (a) the name of the non-debtor
counterparty, (b) the legal description of the contract or lease to be assumed or rejected and (c) in the case of
assumption, the proposed Cure, if any. On or as soon as practicably thereafter, with the assistance of the
Noticing and Claims Agent, the Debtors will serve the Contract/Lease Schedule and notice of filing upon each
non-debtor counterparty listed thereon that will describe the procedures for filing objections thereto; and (3)
explain the process by which relatedby which such parties may object to the proposed assumption or rejection
of their respective Executory Contract or Unexpired Lease and explain how such disputes will be resolved by
the Bankruptcy Court; and the Debtors shall file if the parties are not able to resolve a dispute consensually.

        Objections, if any, to the proposed assumption and/or Cure or rejection by the Debtors of any
Executory Contract or Unexpired Lease listed on the Contract/Lease Schedule, must be filed with the
Bankruptcy Court a list of such Executory Contracts and Unexpired Leases to be assumed and the proposed Cure.
and served so as to be actually received by the Debtors prior to the Confirmation Hearing on or before a date
to be determined, but that in any event is consistent with the provisions of the Debtors’ Case Management
Order.

         Any objection by a counterparty to an Executory Contract or Unexpired Lease to a proposed assumption or
related Cure must be filed, served and actually received by the Debtors on or before the Cure Objection Deadline
(which is that day that is at least five (5) days prior to the Confirmation Hearing). Any counterparty to an
Executory Contract and Unexpired Lease that fails to object timely to the proposed assumption or Cure will
be deemed to have assented to such matters (except that the Cure Objection Deadline shall not apply to any
franchise or Executory Contract with a state or local franchise authority), and any subsequent or additional
requests for Cure, other payments or assurances of future performance shall be disallowed, automatically
and forever barred from assertion and shall not be enforceable against any Reorganized Debtor, without the
need for any objection by the Reorganized Debtors or further notice to or action, order, or approval of the
Bankruptcy Court, and any Claim for Cure shall be deemed fully satisfied, released and discharged,
notwithstanding anything included in the Schedules or in any Proof of Claim to the contrary; provided,
however, that nothing.

         Nothing shall prevent the applicable Reorganized Debtor from paying any Cure despite the failure of the
relevant counterparty to file such request for payment of such Cure. The Reorganized Debtors also may settle any
Cure without further notice to or action, order, or approval of the Bankruptcy Court.

         In the event of a dispute regarding (1) the amount of any payments to Cure such a default, (2) the ability of
the Reorganized Debtors or any assignee to provide “adequate assurance of future performance” (within the
meaning of section 365 of the Bankruptcy Code) under the contract or lease to be assumed or (3) any other matter
pertaining to assumption, then Cure shall occur as soon as reasonably practicable after entry of a Final Order
resolving such dispute, approving such assumption (and, if applicable, assignment), or as may be agreed upon by the
applicable Debtor or Reorganized Debtor, and the counterparty to the Executory Contract or Unexpired Lease.

         If an objection to Cure is sustained by the Bankruptcy Court, the Reorganized Debtors in their sole option,
may elect to reject such Executory Contract or Unexpired Lease in lieu of assuming it.The Debtors or Reorganized
Debtors, as applicable, reserve the right, either to reject or nullify the assumption of any Executory Contract or
Unexpired Lease no later than thirty days after a Final Order determining the Cure or any request for adequate
assurance of future performance required to assume such Executory Contract or Unexpired Lease. on proper
notice to the non-debtor Entity party thereto, which non-debtor Entity parties shall then be entitled to file

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Proofs of Claim asserting Claims arising from the rejection thereof, if applicable, in accordance with the
terms of the Plan and the Claims Bar Date Order entered by the Bankruptcy Court in these Chapter 11
Cases.

         Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise, except any
Executory Contract with a state or local franchise authority, shall result in the full release and satisfaction of any
Claims or defaults, whether monetary or nonmonetary, including defaults of provisions restricting the change
in control or ownership interest (or payments relating to such change in control) or composition or other
bankruptcy-related defaults, arising under any assumed Executory Contract or Unexpired Lease at any time
prior to or upon the effective date of assumption.

        Except as provided elsewhere in the Plan, any Proof of Claim filed with respect to an Executory
Contract or Unexpired Lease that has been assumed shall be deemed disallowed and expunged, without
further notice to or action, order or approval of the Bankruptcy Court.

        The Debtors or Reorganized Debtors, as applicable, reserve the right, either to reject or nullify, the
assumption of any Executory Contract or Unexpired Lease no later than thirty (30) days after entry of any
Final Order determining the Cure or any request for adequate assurance of future performance required to
assume such Executory Contract or Unexpired Lease.

          Except as otherwise set forth herein, assumption of any Executory Contract or Unexpired Lease
pursuant to the Plan or otherwise, shall result in the full release and satisfaction of any Claims or defaults,
whether monetary or nonmonetary, including defaults of provisions restricting the change in control or ownership
interest (or payments relating to such change in control) or composition or other bankruptcy-related defaults, arising
under any assumed Executory Contract or Unexpired Lease at any time prior to or upon the effective date of
assumption. Except as provided elsewhere herein, any Proof of Claim filed with respect to an Executory Contract or
Unexpired Lease that has been assumed shall be deemed disallowed and expunged, without further notice to or
action, order or approval of the Bankruptcy Court.




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C.        Claims Based on Rejection of Executory Contracts and Unexpired Leases

          Unless otherwise provided by an order of the Bankruptcy Court, any Proofs of Claim asserting Claims
arising from the rejection of the Debtors’ Executory Contracts or Unexpired Leases pursuant to the Plan or
otherwise must be filed by Holders of such Claims in accordance with the Notice,terms of the Plan and the
Claims and Solicitation AgentBar Date Order no later than thirty (30) days after the later of (1) the Effective Date
or (2) the effective date of earlier rejection for such Holders to be entitled to receive distributions under the Plan on
account of such Claims; provided that any such Claims for earlier rejected contracts must be filed by no later than 20
calendar days prior to the Voting Deadline for the Holder of such Claim to be entitled to vote on the Plan. .

         Any Proofs of Claim arising from the rejection of the Debtors’ Executory Contracts or Unexpired
Leases that are not timely filed shall be disallowed automatically, forever barred from assertion, and shall not
be enforceable against any Reorganized Debtor without the need for any objection by the Reorganized
Debtors or further notice to or action, order, or approval of the Bankruptcy Court, and any Claim arising out
of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully satisfied, released, and
discharged, notwithstanding anything in the Schedules or a Proof of Claim to the contrary.

D.        Contracts and Leases Entered Into After the Commencement Date

         Contracts and leases entered into after the Commencement Date by any Debtor, including any Executory
Contracts and Unexpired Leases assumed by such Debtor, will be performed by the Debtor or Reorganized Debtor
liable thereunder in the ordinary course of its business. Accordingly, such contracts and leases (including any
assumed Executory Contracts and Unexpired Leases) will survive and remain unaffected by entry of the
Confirmation Order.

E.        Directors and Officers Insurance Policies and Agreements

         The Debtors do not believe that the D&O Liability Insurance Policies issued to, or entered into by, the
Debtors prior to the Commencement Date constitute executory contracts. To the extent that such insurance policies
or agreements are considered to be executory contracts, then, notwithstanding anything in the Plan to the contrary,
the Reorganized Debtors shall be deemed to have assumed all of the Debtors’ unexpired D&O Liability Insurance
Policies pursuant to section 365(a) of the Bankruptcy Code effective as of the Effective Date. Entry of the
Confirmation Order will constitute the Bankruptcy Court’s approval of the Reorganized Debtors’ foregoing
assumption of each of the unexpired D&O Liability Insurance Policies. Notwithstanding anything to the contrary
contained in the Plan, confirmation of the Plan shall not discharge, impair or otherwise modify any indemnity
obligations assumed by the foregoing assumption of the D&O Liability Insurance Policies, and each such indemnity
obligation will be deemed and treated as an Executory Contract that has been assumed by the Debtors under the Plan
as to which no Proof of Claim need be filed.

         In addition, after the Effective Date, none of the Reorganized Debtors shall terminate or otherwise reduce
the coverage under any D&O Liability Insurance Policies (including any “tail policy”) in effect on the
Commencement Date, with respect to conduct occurring prior thereto, and all directors and officers of the Debtors
who served in such capacity at any time prior to the Effective Date shall be entitled to the full benefits of any such
policy for the full term of such policy regardless of whether such directors and officers remain in such positions after
the Effective Date.

F.        Indemnification and Reimbursement Obligations

          On and from the Effective Date, and except as prohibited by applicable law or subject to the limitations set
forth herein, the Reorganized Debtors shall assume all indemnification obligations currently in place, whether in the
bylaws, certificates of incorporation (or other formation documents), board resolutions, employment contracts or
other agreements for the current and former directors, officers, managers, employees, attorneys, other professionals
and agents of the Debtors and such current and former directors’, officers’, managers’, and employees’ respective
Affiliates (collectively, the “Indemnified Parties”) to the extent set forth herein. Without limiting the foregoing
and except as prohibited by applicable law, the Debtors shall indemnify and hold harmless each of the Indemnified
Parties for all costs, expenses, loss, damage or liability incurred by any such Indemnified Party arising from or

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related in any way to any and all Causes of Action whether known or unknown, whether for tort, contract, violations
of federal or state securities laws or otherwise, including any claims or causes of action, whether direct or derivative,
liquidated or unliquidated, fixed or contingent, disputed or undisputed, matured or unmatured, known or unknown,
foreseen or unforeseen, asserted or unasserted, based in whole or in part upon any act or omission, transaction or
other occurrence or circumstances existing or taking place prior to or on the Effective Date arising from or related in
any way to the Debtors, including those arising from or related in any way to: (1) any action or omission of any such
Indemnified Party with respect to any indebtedness of or any Equity Interest in the Debtors (including any action or
omission of any such Indemnified Party with respect to the acquisition, holding, voting or disposition of any such
investment); (2) any action or omission of any such Indemnified Party in such Indemnified Party’s capacity as an
officer, director, member, employee, partner or agent of, or advisor to any Debtor; (3) any disclosure made or not
made by any Indemnified Party to any current or former Holder of any such indebtedness of or any such Equity
Interest in the Debtors; (4) any consideration paid to any such Indemnified Party by any of the Debtors in respect of
any services provided by any such Indemnified Party to any Debtor; and (5) any action taken or not taken in
connection with the Chapter 11 Cases or the Plan. In the event that any such Indemnified Party becomes involved in
any action, proceeding or investigation brought by or against any Indemnified Party, as a result of matters to which
the foregoing “Indemnification” may relate, the Reorganized Debtors shall promptly reimburse any such
Indemnified Party for its reasonable and documented legal and other expenses (including advancing the costs of any
investigation and preparation prior to final adjudication) incurred in connection therewith as such expenses are
incurred and after a request for indemnification is made in writing, with reasonable documentation in support
thereof; provided, however, that, with respect to former officers and directors, the Debtors’ obligation to indemnify
such individuals shall be limited to the extent of available coverage under their D&O Liability Insurance Policies
(and payable from the proceeds of such D&O Liability Insurance Policies), including advancing the costs of any
investigation and preparation prior to final adjudication as such expenses are incurred and after a request for
indemnification is made in writing, with reasonable documentation in support thereof.

G.        Reservation of Rights

         Neither the exclusion nor inclusion of any contract or lease in the Plan Supplement, nor anything contained
in the Plan, shall constitute an admission by the Debtors that any such contract or lease is in fact an Executory
Contract or Unexpired Lease or that any Reorganized Debtor has any liability thereunder. If there is a dispute
regarding whether a contract or lease is or was executory or unexpired at the time of assumption or rejection, the
Debtors or Reorganized Debtors, as applicable, shall have thirty (30) days following entry of a Final Order resolving
such dispute to alter their treatment of such contract or lease.

H.        Nonoccurrence of Effective Date

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with
respect to any consensual request to extend the deadline for assuming or rejecting unexpired leases pursuant to
section 365(d)(4) of the Bankruptcy Code.

                                                   ARTICLE VII.

                                  PROVISIONS GOVERNING DISTRIBUTIONS

A.        Distributions for Claims Allowed as of the Effective Date

         Except as otherwise provided in the Plan, a Final Order or as agreed to by the relevant parties, the
Reorganized Debtors shall make initial distributions under the Plan on account of Claims Allowed before the
Effective Date on or as soon as practicable after the Initial Distribution Date; provided, however, that payments on
account of Other General Unsecured Claims that become Allowed Claims on or before the Effective Date shall
commence on the Effective Date.




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B.        Distributions on Account of Claims Allowed After the Effective Date

          1.   Payments and Distributions on Disputed Claims

        Except as otherwise provided in the Plan, a Final Order or as agreed to by the relevant parties, distributions
under the Plan on account of a Disputed Claim that becomes an Allowed Claim after the Effective Date shall be
made on the first Periodic Distribution Date after the Disputed Claim becomes an Allowed Claim.

          2.   Special Rules for Distributions to Holders of Disputed Claims

         Notwithstanding any provision otherwise in the Plan and except as otherwise agreed to by the relevant
parties no partial payments and no partial distributions shall be made with respect to a Disputed Claim until all such
disputes in connection with such Disputed Claim have been resolved by settlement or Final Order. In the event that
there are Disputed Claims requiring adjudication and resolution, the Reorganized Debtors shall establish appropriate
reserves for potential payment of such Claims.

C.        Other General Unsecured Claims Escrow Account

         On or as reasonably practicable after the Effective Date, $3 million shall be deposited into an escrow
account separate and apart from the Debtors’ general operating funds to be maintained in trust for the
benefit of Holders of Allowed Class 5 Other General Unsecured Claims. Distributions from this account to
Holders of Allowed Class 5 Other General Unsecured Claims shall be made in accordance with the provisions
governing distribution set forth in Article VI of the Plan. To the extent the account is an interest bearing
account, Holders of Allowed Class 5 Claims will share ratably in any accrued interest. Upon payment in full
of all Allowed Class 5 Other General Unsecured Claims, all funds remaining in the escrow account, if any,
and all interest and/or other similar earnings therefrom, if any, shall be paid over to, vest in and become the
property of the Reorganized Debtors in accordance with applicable non-bankruptcy law.

D.        C. Delivery and Distributions and Undeliverable or Unclaimed Distributions

          1.   Record Date for Distributions

          On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
distributions shall instead be authorized and entitled to recognize only those Holders of Claims listed on the Claims
Register as of the close of business on the Distribution Record Date. If a Claim, other than one based on a publicly
traded security is transferred twenty (20) or fewer days before the Distribution Record Date, the Distribution Agent
shall make distributions to the transferee only to the extent practical and, in any event, only if the relevant transfer
form contains an unconditional and explicit certification and waiver of any objection to the transfer by the
transferor.

          2.   Delivery of Distributions in General

          Except as otherwise provided herein, the Debtors or the Reorganized Debtors, as applicable, shall make
distributions to Holders of Allowed Claims at the address for each such Holder as indicated on the Debtors’ records
as of the date of any such distribution; provided, however, that the manner of such distributions shall be determined
at the discretion of the Debtors or the Reorganized Debtors, as applicable; and provided further, that the address for
each Holder of an Allowed Claim shall be deemed to be the address set forth in any Proof of Claim filed by that
Holder.

          3.   Distributions by Distribution Agents

         The Debtors and the Reorganized Debtors, as applicable, shall have the authority, in their sole discretion, to
enter into agreements with one or more Distribution Agents to facilitate the distributions required hereunder. As a
condition to serving as a Distribution Agent, a Distribution Agent must (a) affirm its obligation to facilitate the
prompt distribution of any documents, (b) affirm its obligation to facilitate the prompt distribution of any recoveries


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or distributions required hereunder and (c) waive any right or ability to setoff, deduct from or assert any lien or
encumbrance against the distributions required hereunder that are to be distributed by such Distribution Agent;
provided, however, that the Indenture Trustee shall retain the right to setoff against the distributions required
hereunder. The Debtors or the Reorganized Debtors, as applicable, shall pay to the Distribution Agents all
reasonable and documented fees and expenses of the Distribution Agents without the need for any approvals,
authorizations, actions or consents.

         The Distribution Agents shall submit detailed invoices to the Debtors or the Reorganized Debtors, as
applicable, for all fees and expenses for which the Distribution Agent seeks reimbursement and the Debtors or the
Reorganized Debtors, as applicable, shall pay those amounts that they, in their sole discretion, deem reasonable, and
shall object in writing to those fees and expenses, if any, that the Debtors or the Reorganized Debtors, as applicable,
deem to be unreasonable. In the event that the Debtors or the Reorganized Debtors, as applicable, object to all or
any portion of the amounts requested to be reimbursed in a Distribution Agent’s invoice, the Debtors or the
Reorganized Debtors, as applicable, and such Distribution Agent shall endeavor, in good faith, to reach mutual
agreement on the amount of the appropriate payment of such disputed fees and/or expenses. In the event that the
Debtors or the Reorganized Debtors, as applicable, and a Distribution Agent are unable to resolve any differences
regarding disputed fees or expenses, either party shall be authorized to move to have such dispute heard by the
Bankruptcy Court.

          4.   Minimum Distributions

          Notwithstanding anything herein to the contrary, the Reorganized Debtors shall not be required to make
distributions or payments of less than $10 (whether Cash or otherwise) and shall not be required to make partial
distributions or payments of fractions of dollars. Whenever any payment or distribution of a fraction of a dollar or
fractional share of New Common Stock under the Plan would otherwise be called for, the actual payment or
distribution will reflect a rounding of such fraction to the nearest whole dollar or share of New Common Stock (up
or down), with half dollars and half shares of New Common Stock or less being rounded down.

         No Distribution Agent shall have any obligation to make a distribution on account of an Allowed Claim if:
(a) the aggregate amount of all distributions authorized to be made from on the Periodic Distribution Date in
question is or has an economic value less than $25,000, unless such distribution is a final distribution; or (b) the
amount to be distributed to the specific Holder of an Allowed Claim on such Periodic Distribution Date does not
constitute a final distribution to such Holder and is or has an economic value less than $10, which shall be treated as
an undeliverable distribution under Article VII.CD.5 below.

          5.   Undeliverable Distributions

                    (a)     Holding of Certain Undeliverable Distributions

         If any distribution to a Holder of an Allowed Claim made in accordance herewith is returned to the
Reorganized Debtors (or their Distribution Agent) as undeliverable, no further distributions shall be made to such
Holder unless and until the Reorganized Debtors (or their Distribution Agent) are notified in writing of such
Holder’s then current address, at which time all currently due missed distributions shall be made to such Holder on
the next Periodic Distribution Date. Undeliverable distributions shall remain in the possession of the Reorganized
Debtors, subject to Article VII.CD.5(b) hereof, until such time as any such distributions become deliverable.
Undeliverable distributions shall not be entitled to any additional interest, dividends or other accruals of any kind on
account of their distribution being undeliverable.

                    (b)     Failure to Claim Undeliverable Distributions

         No later than [XX]120 days after the Effective Date, the Reorganized Debtors shall File with the
Bankruptcy Court a list of the Holders of undeliverable distributions. This list shall be maintained and updated
periodically in the sole discretion of the Reorganized Debtors for as long as the Chapter 11 Cases stay open. Any
Holder of an Allowed Claim, irrespective of when a Claim becomes an Allowed Claim, that does not notify the
Reorganized Debtors of such Holder’s then current address in accordance herewith within the latest of (i) one year


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afterof the Effective Date, (ii) 60 days after the attempted delivery of the undeliverable distribution and (iii) 180
days after the date such Claim becomes an Allowed Claim shall have its Claim for such undeliverable distribution
discharged and shall be forever barred, estopped and enjoined from asserting any such Claim against the
Reorganized Debtors or their property.

          In such cases, (i) any Cash or New Common Stock held for distribution on account of Allowed Claims
shall be redistributed to Holders of Allowed Claims in the applicable Class on the next Periodic Distribution Date
and (ii) any Cash held for distribution to other creditors shall be deemed unclaimed property under section 347(b) of
the Bankruptcy Code and become property of the Reorganized Debtors, free of any Claims of such Holder with
respect thereto. Nothing contained herein shall require the Reorganized Debtors to attempt to locate any Holder of
an Allowed Claim.

                    (c)     Failure to Present Checks

         Checks issued by the Distribution Agent on account of Allowed Claims shall be null and void if not
negotiated within 180 days after the issuance of such check. In an effort to ensure that all Holders of Allowed
Claims receive their allocated distributions, no later than 180 days after the issuance of such checks, the
Reorganized Debtors shall File with the Bankruptcy Court a list of the Holders of any un-negotiated checks no later
than 160 days after the issuance of such checks. This list shall be maintained and updated periodically in the sole
discretion of the Reorganized Debtors for as long as the Chapter 11 Cases stay open. Requests for reissuance of any
check shall be made directly to the Distribution Agent by the Holder of the relevant Allowed Claim with respect to
which such check originally was issued.

         Any Holder of an Allowed Claim holding an un-negotiated check that does not request reissuance of such
un-negotiated check within 240120 days after the date of mailing or other delivery of such check shall have its
Claim for such un-negotiated check discharged and be discharged and forever barred, estopped and enjoined from
asserting any such Claim against the Reorganized Debtors or their property. In such cases, any Cash held for
payment on account of such Claims shall be property of the Reorganized Debtors, free of any Claims of such Holder
with respect thereto. Nothing contained herein shall require the Reorganized Debtors to attempt to locate any
Holder of an Allowed Claim.

E.        D. Compliance with Tax Requirements/Allocations

          In connection with the Plan, to the extent applicable, the Reorganized Debtors shall comply with all tax
withholding and reporting requirements imposed on them by any governmental unit, and all distributions pursuant
hereto shall be subject to such withholding and reporting requirements. Notwithstanding any provision in the Plan
to the contrary, the Reorganized Debtors and the Distribution Agent shall be authorized to take all actions necessary
or appropriate to comply with such withholding and reporting requirements, including liquidating a portion of the
distribution to be made under the Plan to generate sufficient funds to pay applicable withholding taxes, withholding
distributions pending receipt of information necessary to facilitate such distributions or establishing any other
mechanisms they believe are reasonable and appropriate. The Reorganized Debtors reserve the right to allocate all
distributions made under the Plan in compliance with all applicable wage garnishments, alimony, child support and
other spousal awards, liens and encumbrances. For tax purposes, distributions in full or partial satisfaction of
Allowed Claims shall be allocated first to the principal amount of Allowed Claims, with any excess allocated to
unpaid interest that accrued on such Claims.

F.        E. Timing and Calculation of Amounts to Be Distributed

          Except as otherwise provided herein, on the Initial Distribution Date (or if a Claim is not an Allowed Claim
on the Effective Date, on the date that such a Claim becomes an Allowed Claim, or as soon as reasonably
practicable thereafter), each Holder of an Allowed Claim against the Debtors shall receive the full amount of the
distributions that the Plan provides for Allowed Claims in the applicable Class; provided, however, that distributions
on account of Other General Unsecured Claims that become Allowed Claims before the Effective Date shall be paid
on the Effective Date. If and to the extent that there are Disputed Claims, distributions on account of any such
Disputed Claims shall be made pursuant to the provisions set forth in the applicable class treatment or in Article VII
hereof. Except as otherwise provided herein, Holders of Claims shall not be entitled to interest, dividends or

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accruals on the distributions provided for herein, regardless of whether such distributions are delivered on or at any
time after the Effective Date.

G.        F. Setoffs

          The Debtors and the Reorganized Debtors may withhold (but not setoff except as set forth below) from the
distributions called for hereunder on account of any Allowed Claim an amount equal to any cClaims, eEquity
iInterests, rights and Causes of Action of any nature that the Debtors or the Reorganized Debtors may hold against
the Holder of any such Allowed Claim. In the event that any such cClaims, eEquity iInterests, rights and Causes of
Action of any nature that the Debtors or the Reorganized Debtors may hold against the Holder of any such Allowed
Claim are adjudicated by Final Order or otherwise resolved, the Debtors may, pursuant to section 553 of the
Bankruptcy Code or applicable non-bankruptcy law, set off against any Allowed Claim and the distributions to be
made pursuant hereto on account of such Allowed Claim (before any distribution is made on account of such
Allowed Claim), the amount of any adjudicated or resolved cClaims, eEquity iInterests, rights and Causes of Action
of any nature that the Debtors or the Reorganized Debtors may hold against the Holder of any such Allowed Claim,
but only to the extent of such adjudicated or resolved amount. Neither the failure to effect such a setoff nor the
allowance of any Claim hereunder shall constitute a waiver or release by the Debtors or the Reorganized Debtors of
any such cClaims, eEquity iInterests, rights and Causes of Action that the Debtors or the Reorganized Debtors may
possess against any such Holder, except as specifically provided herein.

H.        G. Surrender of Canceled Instruments or Securities

          Each record Holder of a Senior Subordinated Note Claim shall be deemed to have surrendered the
certificates or other documentation underlying each such Claim, and all such surrendered certificates and other
documentations shall be deemed to be canceled pursuant to Article IV.F hereto, except to the extent otherwise
provided herein. The Indenture Trustee may (but shall not be required to) request that registered Holders of the
Senior Subordinated Notes surrender their notes for cancellation.

I.        H. Claims Paid or Payable by Third Parties.

          1.   Claims Paid by Third Parties.

          The Debtors or the Reorganized Debtors, as applicable, shall reduce in full a Claim, and such Claim shall
be disallowed without a Claims objection having to be filed and without any further notice to or action, order, or
approval of the Bankruptcy Court, to the extent that the Holder of such Claim receives payment in full on account of
such Claim from a party that is not a Debtor or Reorganized Debtor. Subject to the last sentence of this paragraph,
to the extent a Holder of a Claim receives a distribution on account of such Claim and receives payment from a party
that is not a Debtor or a Reorganized Debtor on account of such Claim, such Holder shall, within two weeks of
receipt thereof, repay or return the distribution to the applicable Reorganized Debtor, to the extent the Holder’s total
recovery on account of such Claim from the third party and under the Plan exceeds the amount of such Claim as of
the date of any such distribution under the Plan.

          If the Debtors become aware of the payment by a third party, the Debtors or Reorganized Debtors,
as applicable, will send a notice of wrongful payment to such party requesting return of any excess payments
and advising the recipient of the provisions of the Plan requiring turnover of excess estate funds. The failure
of such Holder to timely repay or return such distribution shall result in the Holder owing the applicable
Reorganized Debtor annualized interest at the Federal Judgment Rate on such amount owed for each Business Day
after the two-week grace period specified above until the amount is repaid.

          2.   Claims Payable by Third Parties.

          No distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors’ insurance policies until the Holder of such Allowed Claim has exhausted all remedies with
respect to such insurance policy. To the extent that one or more of the Debtors’ insurers agrees to satisfy in full or
in part a Claim (if and to the extent adjudicated by a court of competent jurisdiction), then immediately upon such


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insurers’ agreement, the applicable portion of such Claim may be expunged without a Claims objection having to be
filed and without any further notice to or action, order, or approval of the Bankruptcy Court.

          3.   Applicability of Insurance Policies.

         Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims shall be in
accordance with the provisions of any applicable insurance policy. Nothing contained in the Plan shall constitute or
be deemed a waiver of any Cause of Action that the Debtors or any Entity may hold against any other Entity,
including insurers under any policies of insurance, nor shall anything contained herein constitute or be deemed a
waiver by such insurers of any defenses, including coverage defenses, held by such insurers.

                                                      ARTICLE VIII.

     PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED AND DISPUTED CLAIMS

A.        Resolution of Disputed Claims

          1.   Allowance of Claims

         After the Effective Date, the Reorganized Debtors shall have and shall retain any and all rights and
defenses that the Debtors had with respect to any Claim, except with respect to any Claim deemed Allowed under
the Plan. Except as expressly provided in the Plan or in any order entered in the Chapter 11 Cases prior to the
Effective Date (including, without limitation, the Confirmation Order), no Claim shall become an Allowed Claim
unless and until such Claim is deemed Allowed under the Plan or the Bankruptcy Code or the Bankruptcy Court has
entered a Final Order, including, without limitation, the Confirmation Order, in the Chapter 11 Cases allowing such
Claim. All settled claims approved prior to the Effective Date pursuant to a Final Order of the Bankruptcy Court
pursuant to Bankruptcy Rule 9019 or otherwise shall be binding on all parties.

          2.   Prosecution of Objections to Claims

         After the Confirmation Date but before the Effective Date, the Debtors, and after the Effective Date until
the Claims Objection Bar Date, the Reorganized Debtors, shall have the exclusive authority to file objections to
Claims, settle, compromise, withdraw or litigate to judgment objections to any and all Claims, regardless of whether
such Claims are in a Class or otherwise. From and after the Effective Date, the Reorganized Debtors may settle or
compromise any Disputed Claim without any further notice to or action, order or approval of the Bankruptcy Court.
The Reorganized Debtors shall have the sole authority to administer and adjust the Claims Register to reflect any
such settlements or compromises without any further notice to or action, order or approval of the Bankruptcy Court.
With respect to all Tort Claims, an objection is deemed to have been filed timely, thus making each such Claim a
Disputed Claim as of the Claims Objection Bar Date. Each such Tort Claim shall remain a Disputed Claim unless
and until it becomes an Allowed Claim.

          3.   Claims Estimation

         After the Confirmation Date but before the Effective Date, the Debtors, and after the Effective Date, the
Reorganized Debtors may, at any time, request that the Bankruptcy Court estimate (a) any Disputed Claim pursuant
to applicable law and (b) any contingent or unliquidated Claim pursuant to applicable law, including, without
limitation, section 502(c) of the Bankruptcy Code, regardless of whether the Debtors or the Reorganized Debtors
have previously objected to such Claim or whether the Bankruptcy Court has ruled on any such objection, and the
Bankruptcy Court shall retain jurisdiction under 28 U.S.C. §§ 157 and 1334 to estimate any Disputed Claim,
contingent Claim or unliquidated Claim, including during the litigation concerning any objection to any Claim or
during the pendency of any appeal relating to any such objection. Notwithstanding any provision otherwise in the
Plan, a Claim that has been expunged from the Claims Register but that is subject to appeal or has not been the
subject of a Final Order, shall be deemed to be estimated at zero dollars, unless otherwise ordered by the Bankruptcy
Court. All of the aforementioned Claims and objection, estimation and resolution procedures are cumulative and not



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exclusive of one another. Claims may be estimated and subsequently compromised, settled, withdrawn or resolved
by any mechanism approved by the Bankruptcy Court.

          4.   Expungement or Adjustment to Claims Without Objection

         Any Claim that has been paid, satisfied or superseded may be expunged on the Claims Register by the
Reorganized Debtors, and any Claim that has been amended may be adjusted thereon by the Reorganized Debtors,
in both cases without a claims objection having to be filed and without any further notice to or action, order or
approval of the Bankruptcy Court.

          5.   Deadline to File Objections to Claims

          Any objections to Claims shall be filed no later than the Claims Objection Bar Date.

B.        Disallowance of Claims

          All Claims of any Entity from which property is sought by the Debtors or the Reorganized Debtors under
section 542, 543, 550 or 553 of the Bankruptcy Code or that the Debtors or the Reorganized Debtors allege is a
transferee of a transfer that is avoidable under section 522(f), 522(h), 544, 545, 547, 548, 549 or 724(a) of the
Bankruptcy Code shall be disallowed if (i) the Entity, on the one hand, and the Debtors or the Reorganized Debtors,
on the other hand, agree or the Bankruptcy Court has determined by Final Order that such Entity or transferee is
liable to turnover any property or monies under any of the aforementioned sections of the Bankruptcy Code and (ii)
such Entity or transferee has failed to turnover such property by the date set forth in such agreement or Final Order.

      EXCEPT AS OTHERWISE AGREED, ANY AND ALL PROOFS OF CLAIM FILED AFTER THE
APPLICABLE CLAIMS BAR DATE SHALL BE DEEMED DISALLOWED AND EXPUNGED AS OF
THE EFFECTIVE DATE WITHOUT ANY FURTHER NOTICE TO OR ACTION, ORDER OR
APPROVAL OF THE BANKRUPTCY COURT, AND HOLDERS OF SUCH CLAIMS MAY NOT
RECEIVE ANY DISTRIBUTIONS ON ACCOUNT OF SUCH CLAIMS, UNLESS SUCH LATE PROOF
OF CLAIM IS DEEMED TIMELY FILED BY A BANKRUPTCY COURT ORDER ON OR BEFORE THE
LATER OF (1) THE CONFIRMATION HEARING AND (2) 45 DAYS AFTER THE APPLICABLE
CLAIMS BAR DATE.

C.        Amendments to Claim

         On or after the Effective Date, except as otherwise provided herein, a Claim may not be filed or amended
without the prior authorization of the Bankruptcy Court or the Reorganized Debtors, and, to the extent such prior
authorization is not received, any such new or amended Claim filed shall be deemed disallowed and expunged
without any further notice to or action, order or approval of the Bankruptcy Court.

                                                    ARTICLE IX.

                              CONDITIONS PRECEDENT TO EFFECTIVE DATE

A.        Conditions Precedent to Effective Date

          The following shall be satisfied or waived as conditions precedent to the Effective Date:

         1. The Bankruptcy Court shall have approved the Disclosure Statement, in a manner acceptable to the
Debtors, the Prepetition Agent and the Required Consenting Lenders, as containing adequate information with
respect to the Plan within the meaning of section 1125 of the Bankruptcy Code.

        2. The Plan and all Plan Supplement documents, including any amendments, modifications or
supplements thereto, shall be reasonably acceptable to the Debtors, the Prepetition Agent and the Required
Consenting Lenders.


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         3. The Confirmation Order shall have been entered and become a Final Order in form and in substance
reasonably satisfactory to the Debtors, the Prepetition Agent and Required Consenting Lenders. The Confirmation
Order shall provide that, among other things, the Debtors or the Reorganized Debtors, as appropriate, are authorized
and directed to take all actions necessary or appropriate to consummate the Plan, including, without limitation,
entering into, implementing and consummating the contracts, instruments, releases, leases, indentures and other
agreements or documents created in connection with or described in the Plan.

         4. All documents and agreements necessary to implement the Plan, including, without limitation, the New
Second Priority Term Loan Agreement and the Exit Credit Agreement shall have (a) been tendered for delivery and
(b) been effected or executed. All conditions precedent to such documents and agreements shall have been satisfied
or waived pursuant to the terms of such documents or agreements.

         5. All actions, documents, certificates and agreements necessary to implement this Plan shall have been
effected or executed and delivered to the required parties and, to the extent required, filed with the applicable
governmental units in accordance with applicable laws.

B.        Waiver of Conditions

         The Debtors or the Reorganized Debtors, as applicable, with the consent of the Prepetition Agent and the
Required Consenting Lenders, may waive any of the conditions to the Effective Date set forth above at any time,
without any notice to parties in interest and without any further notice to or action, order or approval of the
Bankruptcy Court, and without any formal action other than proceeding to confirm the Plan. The failure of the
Debtors or Reorganized Debtors, as applicable, or the Prepetition Agent and the Required Consenting Lenders to
exercise any of the foregoing rights shall not be deemed a waiver of any other rights, and each such right shall be
deemed an ongoing right, which may be asserted at any time.

C.        Effect of Non Occurrence of Conditions to the Effective Date

         If the Effective Date does not occur, the Plan shall be null and void in all respects and nothing contained in
the Plan or the Disclosure Statement shall: (1) constitute a waiver or release of any claims by or Claims against or
Equity Interests in the Debtors; (2) prejudice in any manner the rights of the Debtors, any Holders or any other
Entity; or (3) constitute an admission, acknowledgment, offer or undertaking by the Debtors, any Holders or any
other Entity in any respect.

                                                    ARTICLE X.

                    SETTLEMENT, RELEASE, INJUNCTION AND RELATED PROVISIONS

A.        Compromise and Settlement

          Pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rule 9019 and in consideration for the
distributions and other benefits provided pursuant to the Plan, the provisions of the Plan shall constitute a good faith
compromise of all Claims, Equity Interests, and controversies relating to the contractual, legal, and subordination
rights that a Holder of a Claim may have with respect to any Allowed Claim or Interest, or any distribution to be
made on account of such Allowed Claim or Interest. The entry of the Confirmation Order shall constitute the
Bankruptcy Court’s approval of the compromise or settlement of all such Claims, Equity Interests, and
controversies, as well as a finding by the Bankruptcy Court that such compromise or settlement is in the best
interests of the Debtors, their Estates, and Holders of Claims and Equity Interests and is fair, equitable, and
reasonable. In accordance with the provisions of the Plan, pursuant to section 363 of the Bankruptcy Code and
Bankruptcy Rule 9019(a), without any further notice to or action, order, or approval of the Bankruptcy Court, after
the Effective Date, the Reorganized Debtors may compromise and settle Claims against them and Causes of Action
against other Entities.




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B.        Subordinated Claims

          The allowance, classification, and treatment of all Allowed Claims and Equity Interests and the respective
distributions and treatments under the Plan take into account and conform to the relative priority and rights of the
Claims and Equity Interests in each Class in connection with any contractual, legal, and equitable subordination
rights relating thereto, whether arising under general principles of equitable subordination, section 510(b) of the
Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code, the Reorganized Debtors reserve
the right to re-classify any Allowed Claim or Interest in accordance with any contractual, legal or equitable
subordination relating thereto. No Holder of a Senior Subordinated Note Claim shall receive any distribution on
account of such Senior Subordinated Note Claim, and all Senior Subordinated Note Claims shall be extinguished.

C.        Discharge of Claims and Termination of Equity Interests

          Pursuant to and to the fullest extent permitted by section 1141(d) of the Bankruptcy Code, and except as
otherwise specifically provided in the Plan, the distributions, rights and treatment that are provided in the Plan shall
be in full and final satisfaction, settlement, release, and discharge, effective as of the Effective Date, of all Claims
(including any Intercompany Claims resolved or compromised after the Effective Date by the rReorganized
Debtors), Equity Interests, and Causes of Action of any nature whatsoever, including any interest accrued on Claims
or Equity Interests from and after the Commencement Date, whether known or unknown, against, liabilities of,
Liens on, obligations of, rights against, and Equity Interests in, the Debtors, the Reorganized Debtors or any of their
assets or properties, regardless of whether any property shall have been distributed or retained pursuant to the Plan
on account of such Claims and Equity Interests, including demands, liabilities, and Causes of Action that arose
before the Effective Date, any liability (including withdrawal liability) to the extent such Claims or Equity Interests
relate to services performed by the employees of the Debtors prior to the Commencement Date and arise from a
termination of employment or a termination of any employee or retiree benefit program regardless of whether such
termination occurred prior to or after the Effective Date, any contingent or non-contingent liability on account of
representations or warranties issued on or before the Effective Date, and all debts of the kind specified in sections
502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case whether or not: (1) a Proof of Claim or Interest
based upon such Claim, debt, right, or Interest is filed or deemed filed pursuant to section 501 of the Bankruptcy
Code; (2) a Claim or Interest based upon such Claim, debt, right, or Interest is Allowed pursuant to section 502 of
the Bankruptcy Code; or (3) the Holder of such a Claim or Interest has accepted the Plan. Except as otherwise
provided herein, any default by the Debtors or their Affiliates with respect to any Claim or Interest that existed
immediately prior to or on account of the filing of the Chapter 11 Cases shall be deemed cured on the Effective
Date. The Confirmation Order shall be a judicial determination of the discharge of all Claims and Equity Interests
subject to the Effective Date occurring.

D.        Release of Liens

          Except as otherwise provided in the Plan or in any contract, instrument, release or other agreement or
document entered into or delivered in connection with the Plan, on the Effective Date and concurrently with the
applicable distributions made pursuant to Article III hereof and, in the case of a Secured Claim, satisfaction in full of
the portion of the Secured Claim that is Allowed as of the Effective Date, all mortgages, deeds of trust, Liens,
pledges or other security interests against any property of the Estates shall be fully released and discharged, and all
of the right, title and interest of any Holder of such mortgages, deeds of trust, Liens, pledges or other security
interests shall revert to the Reorganized Debtors and their successors and assigns.

E.        Debtor Release

         Pursuant to section 1123(b) of the Bankruptcy Code, and except as otherwise specifically provided in
the Plan, for good and valuable consideration, including the service of the Released Parties in facilitating the
expeditious reorganization of the Debtors and the implementation of the restructuring contemplated by the
Plan, effective as of the Effective Date, the Debtors, the Reorganized Debtors and any Person seeking to
exercise the rights of the Estates, including, without limitation, any successor to the Debtors or any estate
representative appointed or selected pursuant to section 1123(b)(3) of the Bankruptcy Code shall be deemed
to forever release, waive and discharge the Released Parties of any and all claims, obligations, rights, suits,
damages, Causes of Action, remedies and liabilities whatsoever, including any derivative claims asserted on

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behalf of the Debtors, whether known or unknown, foreseen or unforeseen, liquidated or unliquidated,
contingent or fixed, existing or hereafter arising, in law, at equity or otherwise, whether for tort, contract,
violations of federal or state securities laws or otherwise, including, without limitation, those that any of the
Debtors, the Reorganized Debtors, the Estates or their Affiliates would have been legally entitled to assert in
their own right (whether individually or collectively) or on behalf of the Holder of any claim or Equity
Interest, based on or relating to, or in any manner arising from, in whole or in part, the Debtors, the Estates,
the conduct of the Debtors’ businesses, the Chapter 11 Cases, the purchase, sale or rescission or the purchase
or sale of any Security of the Debtors or the Reorganized Debtors, the subject matter of, or the transactions
or events giving rise to, any Claim or Equity Interest that is treated in the Plan, the business or contractual
arrangements between any of the Debtors and any Released Party, the restructuring of claims and Equity
Interests prior to or in the Chapter 11 Cases, the negotiation, formulation or preparation of the Plan, the
Plan Supplement, the Disclosure Statement or related agreements, instruments or other documents, or upon
any other act or omission, transaction, or occurrence taking place on or before the Effective Date of the Plan,
other than claims or liabilities arising out of or relating to any act or omission of a Released Party that
constitutes criminal conduct, willful misconduct or gross negligence.

         Notwithstanding anything to the contrary herein, the foregoing “Debtor Release” shall not operate to
waive or release any Causes of Action of any Debtor: (1) arising under any contract, instrument, agreement,
release or document delivered pursuant to the Plan, including, without limitation, the Exit Credit Agreement,
New Second Priority Term Loan Agreement or the Shareholders Agreement or documents, agreements or
instruments executed in connection therewith or (2) expressly set forth in and preserved by the Plan, the Plan
Supplement or related documents.

         Entry of the Confirmation Order Shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each of the related provisions and
definitions contained herein, and further, shall constitute the Bankruptcy Court’s finding that the Debtor
Release is: (1) in exchange for the good and valuable consideration provided by the Released Parties, (2) a
good faith settlement and compromise of the claims released by the Debtor Release; (3) in the best interests of
the Debtors and all Holders of Claims and Equity Interests; (4) fair, equitable and reasonable; (5) given and
made after reasonable investigation by the Debtors and after notice and opportunity for hearing; and (6) a
bar to any of the Debtors or the Reorganized Debtors asserting any claim released by the Debtor Release
against any of the Released Parties.

F.        Releasing Party Release

         Except as otherwise specifically provided in the Plan, for good and valuable consideration, including
the service of the Released Parties in facilitating the expeditious reorganization of the Debtors and the
implementation of the restructuring contemplated by the Plan, effective as of the Effective Date, the Releasing
Parties (regardless of whether a Releasing Party is a Released Party) shall be deemed to forever release,
waive and discharge the Released Parties of any and all claims, obligations, rights, suits, damages, Causes of
Action, remedies and liabilities whatsoever, including any derivative claims asserted on behalf of a Debtor,
whether known or unknown, foreseen or unforeseen, liquidated or unliquidated, contingent or fixed, existing
or hereafter arising, in law, at equity or otherwise, whether for tort, contract, violations of federal or state
securities laws or otherwise, including, without limitation, those that any of the Debtors, the Reorganized
Debtors, the Estates or their Affiliates would have been legally entitled to assert in their own right (whether
individually or collectively) or on behalf of the Holder of any Claim or Equity Interest, based on or relating
to, or in any manner arising from, in whole or in part, the Debtors, the Estates, the conduct of the Debtors’
businesses, the Chapter 11 Cases, the purchase, sale or rescission or the purchase or sale of any Security of
the Debtors or the Reorganized Debtors, the subject matter of, or the transactions or events giving rise to, any
Claim or Equity Interest that is treated in the Plan, the business or contractual arrangements between any of
the Debtors and any Released Party, the restructuring of Claims and Equity Interests prior to or in the
Chapter 11 Cases, the negotiation, formulation or preparation of the Plan, the Plan Supplement, the
Disclosure Statement or related agreements, instruments or other documents, or upon any other act or
omission, transaction, or occurrence taking place on or before the Effective Date of the Plan, other than
claims or liabilities arising out of or relating to any act or omission of a Released Party that constitutes
criminal conduct, willful misconduct or gross negligence.

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         Notwithstanding anything contained herein to the contrary, the foregoing release does not release
any post-Effective Date obligations of any party under the Plan or any document, instrument, agreement
(including those set forth in the Plan Supplement) executed to implement the Plan.

         Entry of the Confirmation Order Shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the consensual Releasing Party Release, which includes by reference each of the
related provisions and definitions contained herein, and further, shall constitute the Bankruptcy Court’s
finding that the Releasing Party Release is: (1) in exchange for the good and valuable consideration provided
by the Released Parties, (2) a good faith settlement and compromise of the claims released by the Releasing
Parties; (3) in the best interests of the Debtors and all Holders of Claims and Equity Interests; (4) fair,
equitable and reasonable; (5) given and made after notice and opportunity for hearing; and (6) a bar to any
of the Releasing Parties asserting any Claim released by the Releasing Party Release against any of the
Released Parties.

          Notwithstanding anything in the Plan, no Person shall be discharged, released, or relieved from any
liability with respect to the Pension Plan as a result of the Chapter 11 Cases or the Plan, nor shall the PBGC,
the Pension Plan or any other Person be enjoined or precluded from enforcing any liability with respect to
the Pension Plan as a result of the Chapter 11 Cases, the provisions of the Plan or confirmation of the Plan.

G.        Exculpation

        Upon and effective as of the Effective Date, the Debtors and their directors, officers, employees,
attorneys, investment bankers, financial advisors, restructuring consultants and other professional advisors
and agents will be deemed to have solicited acceptances of this Plan in good faith and in compliance with the
applicable provisions of the Bankruptcy Code , including section 1125(e) of the Bankruptcy Code.

          Except with respect to any acts or omissions expressly set forth in and preserved by the Plan, the
Plan supplement or related documents, the Exculpated Parties shall neither have nor incur any liability to
any Entity for any prepetition or postpetition act taken or omitted to be taken in connection with, or arising
from or relating in any way to, the Chapter 11 Cases, including, without limitation, the operation of the
Debtors’ businesses during the pendency of these Chapter 11 Cases; formulating, negotiating, preparing,
disseminating, implementing and/or effecting the Restructuring Support Agreement, the DIP Credit
Agreement, the Disclosure Statement and the Plan (including the Plan Supplement and any related contract,
instrument, release or other agreement or document created or entered into in connection therewith); the
solicitation of votes for the Plan and the pursuit of Confirmation and Consummation of the Plan; the
administration of the Plan and/or the property to be distributed under the Plan; the offer and issuance of any
securities under the Plan, including pursuant to the Rights Offering; and or any other prepetition or
postpetition act taken or omitted to be taken in connection with or in contemplation of the restructuring of
the Debtors. In all respects, each Exculpated Party shall be entitled to rely upon the advice of counsel
concerning his, her or its respective duties under, pursuant to or in connection with, the Plan.

         Notwithstanding anything herein to the contrary, nothing in the foregoing “Exculpation” shall (1)
exculpate any Person or Entity from any liability resulting from any act or omission constituting fraud,
willful misconduct, gross negligence, criminal conduct, malpractice, misuse of confidential information that
causes damages or ultra vires acts as determined by a Final Order or (2) limit the liability of the professionals
of the Exculpated Parties to their respective clients pursuant to N.Y. Comp. Codes R. & Regs. tit. 22 § 1200.8
Rule 1.8(h)(1) (2009).

H.        Injunction

         The satisfaction, release and discharge pursuant to this Article IX of the Plan shall also act as an
injunction against any Person commencing or continuing any action, employment of process or act to collect,
offset, or recover any claim or Cause of Action satisfied, released, or discharged under the Plan or the
Confirmation Order to the fullest extent authorized or provided by the Bankruptcy Code, including, without
limitation, to the extent provided for or authorized by sections 524 and 1141 thereof.


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                                                 ARTICLE XI.

          ALLOWANCE AND PAYMENT OF CERTAIN ADMINISTRATIVE EXPENSE CLAIMS

A.        Administrative Claims

        All requests for payment of an Administrative Claim that accrued on or before the Effective Date
that were not otherwise paid in the ordinary course of business must be filed with the Bankruptcy Court and
served on the Debtors no later than sixty (60) days from the Effective Date (the “Administrative Claim Bar
Date”). A notice setting forth the Administrative Claim Bar Date will be filed on the Bankruptcy Court’s
docket and posted on the Debtors’ restructuring website at http://www.kccllc.net/readers. Further notice of
the Administrative Claim Bar Date will be provided as may be directed by the Bankruptcy Court. No request
for payment of an Administrative Claim need be filed with respect to an Administrative Claim previously Allowed by
Final Order.

         The Reorganized Debtors, in their sole and absolute discretion, may settle Administrative Claims in
the ordinary course of business without further Bankruptcy Court approval. The Debtors may also choose to
object to any Administrative Claim no later than ninety (90) days from the Administrative Claim Bar Date,
subject to extensions by the Bankruptcy Court or on motion of a party in interest approved by the
Bankruptcy Court.

        Unless the Debtors or the Reorganized Debtors (or other party with standing) object to a timely-filed
and properly served Administrative Claim, such Administrative Claim will be deemed allowed in the amount
requested. In the event that the Debtors or the Reorganized Debtors object to an Administrative Claim, the
parties may confer to try to reach a settlement and, failing that, the Bankruptcy Court will determine
whether such Administrative Claim should be allowed and, if so, in what amount.

        Any requests for payment of Administrative Claims that are not properly filed and served by the
Administrative Claim Bar Date shall not appear on the Claims Register maintained by the Noticing and
Claims Agent and shall be disallowed automatically without the need for any objection from the Debtors or
the Reorganized Debtors or any action by the Bankruptcy Court.

B.        A. Professional Claims.

        1.       Final Fee Applications. All final requests for Professional Compensation and Reimbursement
Claims shall be filed no later than forty-five (45) days after the Effective Date. After notice and a hearing in
accordance with the procedures established by the Bankruptcy Code and prior Bankruptcy Court orders, the
Allowed amounts of such Professional Compensation and Reimbursement Claims shall be determined by the
Bankruptcy Court.

          2.      Payment of Interim Amounts. Except as otherwise provided in the Plan, Retained Professionals
shall be paid pursuant to the Interim Compensation Order.

         3.        Professional Fee Escrow Account. On the Effective Date, the Reorganized Debtors shall fund the
Professional Fee Escrow Account with Cash equal to the aggregate Professional Fee Reserve Amount (defined
below) for all Retained Professionals. The Professional Fee Escrow Account shall be maintained in trust for the
Retained Professionals with respect to whom fees or expenses have been held back pursuant to the Interim
Compensation Order. [Such funds shall not be considered property of the Reorganized Debtors.] The remaining
amount of Professional Compensation and Reimbursement Claims owing to the Retained Professionals shall be paid
in Cash to such Retained Professionals by the Reorganized Debtors from the Professional Fee Escrow Account,
without interest or other earnings therefrom, when such Claims are Allowed by a Bankruptcy Court order. When all
Professional Compensation and Reimbursement Claims have been paid in full, amounts remaining in the
Professional Fee Escrow Account, if any, shall be paid to the Reorganized Debtors.




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         4.       Professional Fee Reserve Amount. To receive payment for unbilled fees and expenses incurred
through the Effective Date, the Retained Professionals shall estimate their Accrued Professional Compensation (net
of any unapplied retainer amounts) prior to and as of the Effective Date and shall deliver such estimate to the
Debtors on or before the Effective Date. If a Retained Professional does not provide such estimate, the Reorganized
Debtors may estimate the unbilled fees and expenses of such Retained Professional; provided, however, that such
estimate shall not be considered an admission or limitation with respect to the fees and expenses of such Retained
Professional. The total amount so estimated as of the Effective Date shall comprise the “Professional Fee Reserve
Amount.”

         5.       Post-Effective Date Fees and Expenses. Except as otherwise specifically provided in the Plan,
from and after the Effective Date, each Reorganized Debtor shall pay in Cash the reasonable legal fees and expenses
incurred by that Reorganized Debtor after the Effective Date in the ordinary course of business and without any
further notice to or action, order or approval of the Bankruptcy Court. Upon the Effective Date, any requirement
that Retained Professionals comply with sections 327 through 331 and 1103 of the Bankruptcy Code in seeking
retention or compensation for services rendered after such date shall terminate, and each Reorganized Debtor may
employ and pay any Retained Professional in the ordinary course of business without any further notice to or action,
order or approval of the Bankruptcy Court.

         6.       Substantial Contribution Compensation and Expenses. Except as otherwise specifically provided
in the Plan, any Entity that requests compensation or expense reimbursement for making a substantial contribution
in the Chapter 11 Cases pursuant to sections 503(b)(3), (4), and (5) of the Bankruptcy Code must File an application
and serve such application on counsel for the Debtors or Reorganized Debtors, as applicable, and as otherwise
required by the Bankruptcy Court, the Bankruptcy Code, and the Bankruptcy Rules.

B.        Other Administrative Claims

         All requests for payment of an Administrative Claim must be filed with the Voting and Claims Agent and
served upon counsel to the Debtors or Reorganized Debtors, as applicable. The Reorganized Debtors may settle and
pay any Administrative Claim in the ordinary course of business without any further notice to or action, order, or
approval of the Bankruptcy Court. In the event that any party with standing objects to an Administrative Claim, the
Bankruptcy Court shall determine the Allowed amount of such Administrative Claim. Notwithstanding the
foregoing, no request for payment of an Administrative Claim need be filed with respect to an Administrative Claim
previously Allowed by Final Order.

C.        Statutory Fees

          All fees and charges assessed against the Estates under chapter 123 of title 28 United States Code, 28
U.S.C. §§ 1911 1930, payable pursuant to 28 U.S.C.§ 1930, as determined by the Bankruptcy Court at a hearing
pursuant to section 11238 of the Bankruptcy Code, shall be paid for each quarter (including any fraction thereof)
until the Chapter 11 Cases are converted, dismissed or closed, whichever occurs first.

                                                 ARTICLE XII.

                                        RETENTION OF JURISDICTION

        Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, the
Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or related to, the Chapter 11
Cases and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including jurisdiction to:

        1.        Allow, disallow, determine, liquidate, classify, estimate or establish the priority, secured or
unsecured status, or amount of any Claim or Interest, including the resolution of any request for payment of any
Administrative Claim and the resolution of any and all objections to the secured or unsecured status, priority,
amount, or allowance of Claims or Equity Interests;




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         2.       Decide and resolve all matters related to the granting and denying, in whole or in part, any
applications for allowance of compensation or reimbursement of expenses to Retained Professionals authorized
pursuant to the Bankruptcy Code or the Plan;

         3.       Resolve any matters related to: (a) the assumption, assumption and assignment, or rejection of any
Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor may be liable
and to hear, determine, and, if necessary, liquidate, any Cure or Claims arising therefrom, including Cure or Claims
pursuant to section 365 of the Bankruptcy Code; (b) any potential contractual obligation under any Executory
Contract or Unexpired Lease that is assumed; and (c) any dispute regarding whether a contract or lease is or was
executory or expired;

         4.       Ensure that distributions to Holders of Allowed Claims and Equity Interests are accomplished
pursuant to the provisions of the Plan;

        5.      Adjudicate, decide or resolve any motions, adversary proceedings, contested or litigated matters,
and any other matters, and grant or deny any applications involving a Debtor that may be pending on the Effective
Date;

          6.        Adjudicate, decide or resolve any and all matters related to Causes of Action;

          7.        Adjudicate, decide or resolve any and all matters related to section 1141 of the Bankruptcy Code;

       8.       Enter and implement such orders as may be necessary or appropriate to execute, implement, or
consummate the provisions of the Plan and all contracts, instruments, releases, indentures, and other agreements or
documents created in connection with the Plan or the Disclosure Statement;

        9.      Enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a) of
the Bankruptcy Code;

         10.       Resolve any cases, controversies, suits, disputes or Causes of Action that may arise in connection
with the interpretation or enforcement of the Plan or any Entity’s obligations incurred in connection with the Plan;

        11.        Issue injunctions, enter and implement other orders or take such other actions as may be necessary
or appropriate to restrain interference by any Entity with enforcement of the Plan;

         12.      Resolve any cases, controversies, suits, disputes or Causes of Action with respect to the releases,
injunctions, and other provisions contained in the Plan and enter such orders as may be necessary or appropriate to
implement such releases, injunctions, and other provisions;

          13.     Resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
repayment or return of distributions and the recovery of additional amounts owed by the Holder of a Claim or
Interest for amounts not timely repaid;

         14.     Enter and implement such orders as are necessary or appropriate if the Confirmation Order is for
any reason modified, stayed, reversed, revoked or vacated;

         15.      Determine any other matters that may arise in connection with or relate to the Plan, the Disclosure
Statement, the Confirmation Order, or any contract, instrument, release, indenture, or other agreement or document
created in connection with the Plan or the Disclosure Statement;

          16.       Enter an order or final decree concluding or closing the Chapter 11 Cases;

          17.       Adjudicate any and all disputes arising from or relating to distributions under the Plan;




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         18.      Consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
inconsistency in any Bankruptcy Court order, including the Confirmation Order;

         19.      Determine requests for the payment of Claims and Equity Interests entitled to priority pursuant to
section 507 of the Bankruptcy Code;

         20.       Hear and determine disputes arising in connection with the interpretation, implementation, or
enforcement of the Plan, or the Confirmation Order, including disputes arising under agreements, documents or
instruments executed in connection with the Plan (other than any dispute arising after the Effective Date under, or
directly with respect to, the Exit Credit Agreement, the New Second Priority Term Loan Agreement and any
intercreditor agreement, which disputes shall be adjudicated in accordance with the terms of such agreements);

        21.      Hear and determine matters concerning state, local, and federal taxes in accordance with sections
346, 505, and 1146 of the Bankruptcy Code;

          22.      Hear and determine all disputes involving the existence, nature, or scope of the Debtors’
discharge, including any dispute relating to any liability arising out of the termination of employment or the
termination of any employee or retiree benefit program, regardless of whether such termination occurred prior to or
after the Effective Date;

          23.       Enforce all orders previously entered by the Bankruptcy Court; and

          24.       Hear any other matter not inconsistent with the Bankruptcy Code.

                                                    ARTICLE XIII.

                     MODIFICATION, REVOCATION AND WITHDRAWAL OF THE PLAN

A.        Modification of Plan

         Subject to the limitations contained in the Plan and the Restructuring Support Agreement, and in
accordance with the Restructuring Support Agreement: (1) the Debtors reserve the right, in accordance with the
Bankruptcy Code and the Bankruptcy Rules, to amend or modify the Plan prior to the entry of the Confirmation
Order, including amendments or modifications to satisfy section 1129(b) of the Bankruptcy Code; and (2) after the
entry of the Confirmation Order, the Debtors or the Reorganized Debtors, as the case may be, may, upon order of
the Bankruptcy Court, amend or modify the Plan, in accordance with section 1127(b) of the Bankruptcy Code, or
remedy any defect or omission or reconcile any inconsistency in the Plan in such manner as may be necessary to
carry out the purpose and intent of the Plan.

B.        Effect of Confirmation On Modifications

          Entry of a Confirmation Order shall mean that all modifications or amendments to the Plan since the
solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional
disclosure or resolicitation under Bankruptcy Rule 3019.

C.        Revocation of Plan

          Subject to the Restructuring Support Agreement and conditions to the Effective Date, the Debtors reserve
the right to revoke or withdraw the Plan prior to the entry of the Confirmation Order and to file subsequent plans of
reorganization. If the Debtors revoke or withdraw the Plan, or if entry of the Confirmation Order or the Effective
Date does not occur, then: (1) the Plan shall be null and void in all respects; (2) any settlement or compromise
embodied in the Plan, assumption or rejection of executory contracts or leases effected by the Plan, and any
document or agreement executed pursuant hereto shall be deemed null and void; and (3) nothing contained in the
Plan shall: (a) constitute a waiver or release of any claims by or against, or any Equity Interests in, such Debtor or



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any other Entity; (b) prejudice in any manner the rights of the Debtors or any other Entity; or (c) constitute an
admission of any sort by the Debtors or any other Entity.

                                                    ARTICLE XIV.

                                         MISCELLANEOUS PROVISIONS

A.        Immediate Binding Effect

         Notwithstanding Bankruptcy Rules 3020(e), 6004(g) or 7062 or otherwise, upon the occurrence of the
Effective Date, the terms of the Plan and the Plan Supplement shall be immediately effective and enforceable and
deemed binding upon the Debtors, the Reorganized Debtors and any and all Holders of Claims or Equity Interests
(irrespective of whether Holders of such Claims or Equity Interests are deemed to have accepted the Plan), all
Entities that are parties to or are subject to the settlements, compromises, releases, discharges, and injunctions
described in the Plan or herein, each Entity acquiring property under the Plan and any and all non-Debtor parties to
Executory Contracts and Unexpired Leases with the Debtors.

B.        Additional Documents

         On or before the Effective Date, the Debtors may File with the Bankruptcy Court such agreements and
other documents as may be necessary or appropriate to effectuate and further evidence the terms and conditions of
the Plan. The Debtors or Reorganized Debtors, as applicable, and all Holders of Claims or Equity Interests
receiving distributions pursuant to the Plan and all other parties in interest shall, from time to time, prepare, execute,
and deliver any agreements or documents and take any other actions as may be necessary or advisable to effectuate
the provisions and intent of the Plan.

C.        Payment of Statutory Fees

         All fees payable pursuant to section 1930 of title 28 of the United States Code, as determined by the
Bankruptcy Court at a hearing pursuant to section 11238 of the Bankruptcy Code, shall be paid for each quarter
(including any fraction thereof) until the Chapter 11 Cases are converted, dismissed or closed, whichever occurs
first.

C.        D. Reservation of Rights

         Except as expressly set forth herein, the Plan shall have no force or effect unless and until the Bankruptcy
Court enters the Confirmation Order. Neither the filing of the Plan, any statement or provision contained herein, nor
the taking of any action by a Debtor or any other Entity with respect to the Plan shall be or shall be deemed to be an
admission or waiver of any rights of: (1) any Debtor with respect to the Holders of Claims or Equity Interests or
other Entity; or (2) any Holder of a Claim or an Equity Interest or other Entity prior to the Effective Date.

D.        E. Successors and Assigns

          The rights, benefits and obligations of any Entity named or referred to herein shall be binding on, and shall
inure to the benefit of, any heir, executor, administrator, successor or assign of such Entity.

E.        F. Service of Documents

          Any pleading, notice or other document required by the Plan to be served on or delivered to the Debtors
shall be sent by overnight mail to:

                            Debtors                                             Counsel to Debtors
           The Reader’s Digest Association, Inc.                                Kirkland & Ellis LLP



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                   1 Reader’s Digest Road                                    601 Lexington Avenue.

               Pleasantville, New York, 10570                              New York, New York 10022

      Attn: Andrea Newborn, Senior Vice President,                Attn: Paul M. Basta and Nicole L. Greenblatt
         General Counsel and Corporate Secretary
              Special Counsel to the Debtors                                  United States Trustee
         Curtis, Mallet-Prevost, Colt & Mosle LLP                       Office of the United States Trustee
                                                                      for the Southern District of New York
                                                                          33 Whitehall Street, 21st Floor
                       101 Park Avenue
                                                                           New York, New York 10004
                                                                              Attn: Andrea Schwartz
                New York, New York 10178

                   Attn: Steven J. Reisman
             Counsel to the Agent for the
                                                                     Counsel to the Creditors’ Committee
     Debtors’ Prepetition and Postpetition Lenders
           Simpson Thacher & Bartlett LLP                         Otterbourg, Steindler, Houston & Rosen, P.C.
                425 Lexington Avenue
              New York, New York 10017
                                                                                 230 Park Avenue
                Attn.: Sandeep Qusaba

                                                                         New York, NYNew York 10169

                                                                   Attn.: Scott L. Hazan and David M. Posner

         After the Effective Date, the Debtors are authorized to limit the list of Entities receiving documents
pursuant to Bankruptcy Rule 2002 to those Entities who have filed renewed requests for service.

         In accordance with Bankruptcy Rules 2002 and 3020(c), within ten (10) Business Days of the date of entry
of the Confirmation Order, the Debtors shall serve thea Nnotice of Confirmation by United States mail, first class
postage prepaid, by hand, or by overnight courier service to all parties served with notice of the Confirmation
Hearing Notice; provided, however, that no notice or service of any kind shall be required to be mailed or made
upon any Entity to whom the Debtors mailed aserved the notice of the Confirmation Hearing Notice, but received
such notice returned marked “undeliverable as addressed,” “moved, left no forwarding address” or “forwarding
order expired,” or similar reason, unless the Debtors have been informed in writing by such Entity, or are otherwise
aware, of that Entity’s new address.

         To supplement the notice described in the preceding sentence, within twenty (20) days of the date of the
Confirmation Order the Debtors shall publish the Noticenotice of the Confirmation once inHearing on one
occasion in the national editions of The Wall Street Journal (National Edition)and USA Today. Mailing and
publication of the Nnotice of the Confirmation Hearing in the time and manner set forth in the this paragraph shall
be good and sufficient notice under the particular circumstances and in accordance with the requirements of
Bankruptcy Rules 2002 and 3020(c), and no further notice is necessary.

F.        G. Term of Injunctions or Stays

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the Confirmation
Order) shall remain in full force and effect until the Effective Date. All injunctions or stays contained in the Plan or
the Confirmation Order shall remain in full force and effect in accordance with their terms.

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G.        H. Entire Agreement

         On the Effective Date, the Plan and the Plan Supplement supersede all previous and contemporaneous
negotiations, promises, covenants, agreements, understandings, and representations on such subjects, all of which
have become merged and integrated into the Plan.

H.        I. Governing Law

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and
Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving effect
to the principles of conflict of laws, shall govern the rights, obligations, construction, and implementation of the
Plan, any agreements, documents, instruments, or contracts executed or entered into in connection with the Plan
(except as otherwise set forth in those agreements, in which case the governing law of such agreement shall control),
and corporate governance matters; provided, however, that corporate governance matters relating to Debtors or
Reorganized Debtors, as applicable, not incorporated in New York shall be governed by the laws of the state of
incorporation of the applicable Debtor or Reorganized Debtor, as applicable.

I.        J. Exhibits

           All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. Except as otherwise provided in the Plan, such exhibits and documents included in
the Plan Supplement shall be filed with the Bankruptcy Court on or before the Plan Supplement Filing Date or the
Solicitation Date, as applicable. After the exhibits and documents are filed, copies of such exhibits and documents
shall have been available upon written request to the Debtors’ counsel at the address above or by downloading such
exhibits and documents from the Debtors’ private website at http://www.kccllc.net/readers or the Bankruptcy
Court’s website at www.nysb.uscourts.gov. To the extent any exhibit or document is inconsistent with the terms of
the Plan, unless otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of the Plan
shall control.

J.        K. Nonseverability of Plan Provisions upon Confirmation

         If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, consistent with the original purpose of the term or
provision held to be invalid, void or unenforceable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
provisions of the Plan will remain in full force and effect and will in no way be affected, impaired, or invalidated by
such holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial determination and shall
provide that each term and provision of the Plan, as it may have been altered or interpreted in accordance with the
foregoing, is: (1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted or
modified without the consent of the Debtors and the Administrative Agent; and (3) nonseverable and mutually
dependent.

K.        L. Closing of Chapter 11 Cases

         The Reorganized Debtors shall, promptly after the full administration of the Chapter 11 Cases, File with the
Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of the Bankruptcy
Court to close the Chapter 11 Cases.

L.        M. Conflicts

        Except as set forth in the Plan, to the extent that any provision of the Disclosure Statement, the Plan
Supplement, or any other order (other than the Confirmation Order) referenced in the Plan (or any exhibits,
appendices, supplements, or amendments to any of the foregoing), conflict with or are in any way inconsistent with
any provision of the Plan, the Plan shall govern and control


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M.        N. Dissolution of Creditors’ Committee

         On the Effective Date, the Creditors’ Committee shall dissolve, and the members thereof shall be released
and discharged from all rights and duties arising from, or related to, the Chapter 11 Cases; provided, however, that
after the entry of the Confirmation Order, the Creditors’ Committee’s functions shall be restricted to, and the
Creditors’ Committee shall not be heard on any issue except, obtaining a Final Order of the Bankruptcy Court
authorizing or approving Accrued Professional Compensation of its Retained Professionals.

N.        O. Section 1125(e) Good Faith Compliance

        The Debtors, Reorganized Debtors, the Prepetition Agent, the DIP Agent and the Creditors’ Committee,
and each of their respective Representatives, shall be deemed to have acted in “good faith” under section 1125(e) of
the Bankruptcy Code.

O.        P. Further Assurances

          The Debtors, Reorganized Debtors, all Holders of Claims receiving distributions hereunder and all other
parties-in-interest shall, from time to time, prepare, execute and deliver any agreements or documents and take any
other actions as may be necessary or advisable to effectuate the provisions and intent of the Plan or the Confirmation
Order.

P.        Q. No Stay of Confirmation Order

         The Confirmation Order shall contain a waiver of any stay of enforcement otherwise applicable, including
pursuant to Bankruptcy Rule 3020(e) and 7062.

Q.        R. Waiver or Estoppel

          Each Holder of a Claim or an Interest shall be deemed to have waived any right to assert any argument,
including the right to argue that its Claim or Interest should be Allowed in a certain amount, in a certain priority,
secured or not subordinated by virtue of an agreement made with the Debtors or their counsel, or any other Entity, if
such agreement was not disclosed in the Plan, the Disclosure Statement or papers filed with the Bankruptcy Court
prior to the Confirmation Date.




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          Respectfully submitted, as of the date first set forth above,

                                                      The Reader’s Digest Association, Inc. (on behalf of itself and
                                                      all other Debtors)

                                                      By:    /s/ Thomas A. Williams
                                                      Name: Thomas A. Williams
                                                      Title:   Senior Vice President and Chief Financial Officer




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